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1                  IN THE UNITED STATES DISTRICT COURT
2                 FOR THE NORTHERN DISTRICT OF GEORGIA
3                                   ATLANTA DIVISION
4
5      DONNA CURLING, et al.                            )
                                                        )
6                          Plaintiffs                   )
                                                        )
7                               vs.                     )Case No.
                                                        )1:17-CV-2989-AT
8      BRAD RAFFENSPERGER, et al.                       )
                                                        )
9                          Defendants                   )
       ______________________________)
10
11
12
13
14
15
16              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF
17                              JUAN GILBERT, Ph.D.
18                           Friday, October 29, 2021
19                                        Volume I
20
21
22     Reported by:
       CARLA SOARES
23     CSR No. 5908
24     Job No. 4871592
25     Pages 1 - 289

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1                IN THE UNITED STATES DISTRICT COURT
2               FOR THE NORTHERN DISTRICT OF GEORGIA
3                               ATLANTA DIVISION
4
5      DONNA CURLING, et al.                      )
                                                  )
6                       Plaintiffs                )
                                                  )
7                            vs.                  )Case No.
                                                  )1:17-CV-2989-AT
8      BRAD RAFFENSPERGER, et al.                 )
                                                  )
9                       Defendants                )
       ______________________________)
10
11
12
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14
15
16                  VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF
17     JUAN GILBERT, Ph.D., Volume I, taken on behalf of
18     Plaintiffs, beginning at 10:06 a.m., and ending at
19     5:31 p.m., on Friday, October 29, 2021, before CARLA
20     SOARES, Certified Shorthand Reporter No. 5908.
21
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1      APPEARANCES VIA VIDEOCONFERENCE:
2
3      For the Curling Plaintiffs:
4                   MORRISON & FOERSTER LLP
5                   BY:    DAVID D. CROSS, Attorney at Law
6                   BY:    VERONICA ASCARRUNZ, Attorney at Law
7                   2100 L Street, NW, Suite 900
8                   Washington, DC 20037
9                   202.887.1500
10                  dcross@mofo.com
11                  vascarrunz@mofo.com
12
13
14     For Defendant Secretary of State Brad Raffensperger:
15                  ROBBINS
16                  BY:    CAREY MILLER, Attorney at Law
17                  500 14th Street, NW
18                  Atlanta, Georgia 30318
19                  678.701.9381
20                  cmiller@robbinsfirm.com
21
22
23
24
25

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1      APPEARANCES VIA VIDEOCONFERENCE (Continued):
2
3      For Defendant Fulton County:
4                     FULTON COUNTY ATTORNEY'S OFFICE
5                     BY:      DAVID LOWMAN, Attorney at Law
6                     151 Pryor Street, Suite 4038
7                     Atlanta, Georgia 30303
8                     404.612.4000
9                     david.lowman@fultoncountyga.gov
10
11
12     ALSO PRESENT:           Kevin Skoglund
13                             Duncan Buell
14                             Marilyn Marks
15                             Susan Greenhalgh
16                             Philip Stark
17                             J. Alex Halderman
18                             David Campbell, Video Operator
19                             Neil Martin, Veritext Concierge
20
21                                        --o0o--
22
23
24
25

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9      Exhibit 1                                                               10
10                  Declaration of Dr. Juan Gilbert
11
12     Exhibit 2                                                               41
13                  Document entitled "Georgia Voter
14                  Verification Study"
15
16     Exhibit 3                                                               56
17                  United States Patent,
18                  No. US 11.036,442 B2
19
20     Exhibit 4                                                           141
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22                  scientists prefer paper ballots"
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4                   Document labeled "Exhibit A"
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1                                  REFERENCED EXHIBITS
2                                     EXHIBIT               PAGE
3                                                (None)
4
5
6                          INSTRUCTIONS NOT TO ANSWER
7                                       PAGE            LINE
8                                           90                5
9                                             --o0o--
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1              Witness Location:          Gainesville, Florida
2                         Friday, October 29, 2021
3                                   10:06 a.m.
4
5                          P R O C E E D I N G S
6                   THE VIDEO OPERATOR:            Good morning.          We are
7      going on the record at 10:06 a.m. Eastern Time on
8      October 29th, 2021.
9                   This is Media Unit No. 1 of the
10     video-recorded deposition of Dr. Juan Gilbert, taken
11     by counsel for the plaintiff, in the matter of Donna
12     Curling, et al., versus Brad Raffensperger, et al.,
13     filed in the United States District Court for the
14     Northern District of Georgia, Atlanta Division.
15     This is a remote Zoom deposition.
16                  My name is David Campbell from the firm
17     Veritext, and I'm the videographer.                  The court
18     reporter today is Carla Soares, also from Veritext.
19                  I am not authorized to administer an oath,
20     I'm not related to any party in this action, nor am
21     I financially interested in the outcome.
22                  All attorneys' presences will be noted on
23     the stenographic record.             And with that, will the
24     court reporter please swear in the witness, and we
25     can proceed.

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1                            JUAN GILBERT, Ph.D.,
2      having been administered an oath, was examined and
3      testified as follows:
4                   MR. CROSS:        Before we begin the
5      questioning, is everybody on -- does everybody here
6      have access to the Exhibit Share or is it only the
7      lawyers and the witness?
8                   VERITEXT CONCIERGE:            Everybody should have
9      access.
10                  MR. CROSS:        Okay.     We need -- can we go
11     off the record?        I didn't realize that.
12                  THE VIDEO OPERATOR:            Okay.      Going off the
13     record at 10:07.
14                  (Recess, 10:07 a.m. - 10:09 a.m.)
15                  THE VIDEO OPERATOR:            Back on the record at
16     10:09.
17                                 EXAMINATION
18     BY MR. CROSS:
19              Q   Good morning, Dr. Gilbert.
20              A   Good morning.
21              Q   Can you hear me okay?
22              A   Yes, I can.
23              Q   Is there any reason why you feel you
24     cannot testify truthfully and completely today?
25              A   No.

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1              Q     Okay.     Have you been deposed before?
2              A     Yes.
3                    (Exhibit 1 was marked for identification
4              and is attached hereto.)
5      BY MR. CROSS:
6              Q     Okay.     Can you pull up Exhibit 1, which
7      should be a copy of your most recent declaration?                       I
8      think it's July 16, 2021.              Just let me know when you
9      have it.
10             A     Okay.     I'm refreshing the exhibit, waiting
11     on it to refresh.
12                   You said Exhibit 1?
13             Q     Yes.     It should be the only exhibit in
14     there right now, other than -- I think there was a
15     test or something.
16             A     Okay.     Let's see.        I see it.       Let me see
17     if I can open that.           I've got it.
18             Q     If you just look at it, you can see at the
19     end there's your signature on it.
20                   Do you recognize this as a copy of your
21     July 16, 2021, declaration in this case?
22             A     Yes, it appears to be a copy of it.
23             Q     Okay.     And one of the things you did in
24     this declaration was to respond to a report that
25     Dr. Alex Halderman had submitted in this case on

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1      July 1 of 2021; is that right?
2              A     Yes.
3              Q     Okay.     You understood when you prepared
4      this declaration that one of the things that
5      Dr. Halderman had done for his report was to examine
6      election equipment that had been provided by Fulton
7      County, right?
8              A     I don't recall if that was done at this
9      time or not.         I have to go back and look.               But I
10     believe I was made aware that he had gotten the
11     equipment, but I can't remember exactly when he had
12     gotten it and if this particular declaration
13     responded to him having that equipment.
14             Q     Do you recall writing a declaration that
15     responded to his analysis of the Fulton County
16     election equipment?
17             A     I recall this declaration that I'm looking
18     at.    Let's see.       Let me walk through this.
19                   In looking at this document, I do not see
20     a reference to Fulton County, so I don't know if
21     this is the response to Fulton County directly.
22             Q     Take a look at paragraph 9 on page 3.
23             A     Paragraph 9.         I'm there.
24             Q     Do you see at the end the reference to
25     Dr. Halderman, it says, "For example, Dr. Halderman

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1      provides a picture of an actual ballot in his
2      report," and you cite Halderman report on page 15?
3                    Do you see that?
4              A     Yes.
5              Q     Does that help refresh your recollection
6      that you were responding in part to his report where
7      he examined election equipment provided for this
8      case?
9              A     I'm responding to the referenced report.
10     If that is the same report, then yes.
11             Q     Okay.     And we'll look at Dr. Halderman's
12     report.      I'll represent to you that he provided that
13     report on July 1, 15 days before your declaration
14     here.
15                   Does that help your recollection at all?
16             A     Not really, but somewhat.               I mean, it's
17     cited there.         That's what I was referencing.
18             Q     Did you -- Dr. Halderman's July 1, 2021,
19     report, did you read that carefully?
20             A     Yes.     I read what was given to me.                 Yes.
21             Q     Were you given the entire report?
22             A     I assume I was given the entire report.
23     How would I know if the report was incomplete?                        Is
24     there an incomplete report that says it's
25     incomplete?       I don't recall reading something that

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1      said, "incomplete report."
2               Q    You said you read what was given to you.
3      I just wanted to confirm that, to your
4      understanding, what was given to you was
5      Dr. Halderman's complete July 1 report; is that
6      right?
7               A    Yes.
8               Q    Did I understand correctly, you reviewed
9      that report carefully before responding to it,
10     right?
11              A    Yes.
12              Q    But nowhere in your July 16 declaration do
13     you indicate that you've conducted any examination
14     of any election equipment used in Georgia; is that
15     right?
16              A    Correct.       I have not examined any
17     equipment.
18              Q    You did not think that was relevant to
19     respond to Dr. Halderman's analysis, examining that
20     equipment?
21              A    In my response, no.
22              Q    Why not?
23              A    I only responded to things that I could
24     respond to without having examined the equipment
25     using the expertise that I have in the area.

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1              Q     Why didn't you examine the equipment
2      yourself so that you could respond to his precise
3      findings where he examined the equipment?
4              A     I was not provided the equipment.
5              Q     Did you ask for it?
6              A     No.
7              Q     Why not?
8              A     I believe I mentioned this in the
9      declaration or previous declarations.                    I was not
10     aware that that was an option for me to have
11     equipment given the nature of past cases where this
12     equipment was never given to experts.                    So it's
13     just -- it's something that never crossed my mind.
14             Q     That's an exchange that you and I had in
15     the September hearing where I asked you in September
16     of last year why you did not look at the equipment.
17     But you knew as of July this year when you prepared
18     your declaration that Dr. Halderman had access to
19     election equipment from Fulton County; right, sir?
20             A     I believe so, looking at that declaration,
21     yes.
22             Q     Even though you knew Dr. Halderman had
23     access, even though you were reviewing and
24     responding to his report regarding that access, you
25     did not think it was relevant to ask for access to

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1      the equipment yourself?
2              A     No.
3                    MR. MILLER:        Objection to form.            Asked and
4      answered.
5      BY MR. CROSS:
6              Q     You think it's appropriate for an expert
7      who's opining on the security and reliability of an
8      election system not to actually examine that system
9      for himself?
10             A     Yes.
11             Q     You don't actually -- in your declaration
12     from July of this year, you don't actually offer any
13     disagreement with any of Dr. Halderman's findings
14     based on his analysis of that equipment; correct,
15     sir?
16             A     Can you elaborate on what finding in
17     particular, or specific findings?
18             Q     Any of them.
19             A     I need to know exactly which findings.
20             Q     Okay.     Well, direct me to your -- a
21     portion of your July 16 declaration where you
22     disagree with any of his findings in his July 1
23     report.
24             A     I don't understand -- you said disagree
25     with any of his findings.

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1                     It would be helpful to know what
2      finding -- what finding you're referencing.
3               Q     Any of them.
4                     MR. MILLER:       Objection.        Form.
5                     THE WITNESS:        Paragraph 14.         Well, that's
6      Dr. Appel.
7                     Halderman.       Paragraph 15.         "Dr. Halderman
8      asserts he has tested various methods of hacking and
9      that those methods are generally undetectable."
10                    Again, Dr. Appel likewise asserts the same
11     thing.       "I am not aware that Dr. Halderman has
12     provided equipment marred by 'un-detectable' hacks
13     to any other independent researcher," so there's
14     one.
15     BY MR. CROSS:
16              Q     And what finding by Dr. Halderman are you
17     disagreeing with there?
18              A     Dr. Halderman asserts he has tested
19     various methods of hacking and that those methods
20     are generally undetectable.               That's the one.
21              Q     So you're offering an opinion that the
22     methods of hacking that Dr. Halderman has said are
23     generally undetectable based on his examination of
24     the equipment --
25                    MR. MILLER:       Objection.        Misstates

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1      testimony.
2                    MR. CROSS:        I wasn't done.          Let me try the
3      question again.
4              Q     You say here, "Dr. Halderman asserts he
5      has tested various methods of hacking and that those
6      methods are generally undetectable."
7                    Do I understand that you're saying in
8      paragraph 15 you disagree with that finding?
9              A     Yes.     And my disagreement is that to say
10     that they're undetectable, I'm looking for evidence
11     that they were -- for example, he had a machine, he
12     hacked it, and then he handed it off to a third
13     party, and the third party could not identify the
14     hack.
15             Q     But he did that; right, sir?
16             A     Who was the third party?
17             Q     You, Dr. Gilbert.           He provided you his
18     report.      You had access to the same equipment
19     through the state.           You just chose not to do it;
20     isn't that right, sir?
21                   MR. MILLER:        Objection to form.
22                   THE WITNESS:         No, I was not given the
23     equipment.
24     BY MR. CROSS:
25             Q     Let's just be really clear here.

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1                    You never asked for access to the
2      equipment that Dr. Halderman had access to, correct?
3              A     Correct.
4                    MR. MILLER:        Objection.        Asked and
5      answered.
6      BY MR. CROSS:
7              Q     So you decided to respond to his findings
8      based on hours and hours of analysis of election
9      equipment without ever yourself examining that
10     equipment; is that right, sir?
11             A     I responded without examining that
12     equipment.
13             Q     And then in paragraph 15, you criticize
14     him for saying he did not make his equipment
15     available to another independent researcher to
16     verify his findings when, in fact, that's exactly
17     what he was expecting from you; right, sir?
18             A     I can't -- I can't confirm that.                  I was
19     never contacted by you or Dr. Halderman offering
20     such a hack solution to determine if I could
21     identify the hack.           That was never presented to me.
22     So I don't think that's an accurate claim to say he
23     offered that to me.
24                   Can you tell me when that was offered to
25     me, when he offered that to me?

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1               Q    Dr. Gilbert, when you received
2      Dr. Halderman's July 1 report, you were tasked with
3      responding to that report on behalf of the state,
4      right?
5               A    Yes.
6               Q    And one of the criticisms you make in
7      paragraph 15 is that he should have made the
8      equipment available to another independent
9      researcher to assess his findings, including whether
10     the methods of hacking are undetectable, right?
11                   MR. MILLER:        Objection.        Asked and
12     answered.
13                   THE WITNESS:         The -- to make a statement
14     that they're generally undetectable, I would expect
15     some evidence to support that.
16     BY MR. CROSS:
17              Q    And by "evidence," you mean having an
18     independent researcher test his theory; that's what
19     you write here, right?
20              A    That's -- yes, that would be my preferred
21     method.      Yes.
22              Q    And you are an independent researcher in
23     computer security who could have tested his theory
24     by examining the equipment; isn't that right, sir?
25              A    I am an independent researcher

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1      specializing in election security, not computer
2      security.
3               Q    What's the difference that you're drawing
4      there?
5               A    Computer security can cover networks and
6      all kinds of computing devices.                 I have expertise in
7      election security, not computer security.
8               Q    Do you not have, in your view, the
9      expertise you would need to test Dr. Halderman's
10     theory about the hackability of this equipment and
11     whether that's detectable?
12              A    No, I didn't say I don't have that
13     expertise.       My expertise is in election systems and
14     technology security.            You used the term "computer
15     security," and I said that does not apply to me.
16              Q    Okay.     So let's try this again.
17                   You state in paragraph 15 that
18     Dr. Halderman should have had another independent
19     researcher test his theory that the hacks are, in
20     fact, undetectable and not correctable; right, sir?
21              A    Yes.
22                   MR. MILLER:        Asked and answered.
23     BY MR. CROSS:
24              Q    Do you have the necessary expertise to
25     test this theory in the way that you say it should

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1      be done?
2               A    I believe I have the expertise, and there
3      are others who have the expertise as well.
4               Q    So why did you not do that?
5               A    It was never provided to me.
6                    As you said, which I think is an
7      inaccurate claim, that he offered it to me, that was
8      never offered to me.            It was never provided to me.
9      Therefore, it did not happen.                It was never offered
10     to me.
11              Q    Dr. Gilbert, I'm having a hard time
12     following your testimony because you say on the one
13     hand it was not offered to you, but you also admit
14     you never asked for it.             So help me understand.
15                   You didn't review or examine the election
16     equipment here.         Is it because no one offered it to
17     you or is it because you never asked for it?
18                   MR. MILLER:        Asked and answered.
19                   THE WITNESS:         Both.
20     BY MR. CROSS:
21              Q    Why didn't you ask the state which engaged
22     you to give you access to the same equipment or
23     similar election equipment that Dr. Halderman had
24     access to?
25                   Can somebody mute, whoever is making

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1      noise?
2                     Go ahead, Dr. Gilbert.
3               A     As I mentioned, it didn't cross my mind to
4      do so.       And the examination, I'm not sure what I was
5      examining.
6                     The only thing that would make sense to me
7      is if I was given the equipment that he had
8      allegedly hacked, and then -- in an attempt to
9      identify it or correct it.
10                    I wouldn't be given the equipment and then
11     attempting to hack the equipment.                  I wouldn't be
12     trying to break the equipment.
13              Q     Right.     But you could test his theory in
14     the way that you say it should have been done in
15     paragraph 15; right, sir?
16              A     No.
17              Q     Why not?
18              A     Because, again, the protocol -- I'm sorry,
19     maybe I wasn't clear on this -- is Dr. Halderman
20     should do the hack, and then an independent
21     researcher should be given that and identify.                       It
22     shouldn't be someone who tries to replicate his
23     hack.
24                    In that scenario, I think that is
25     unrealistic because the obvious thing would be to

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1      say, "Oh, they didn't do it right.                   They didn't hack
2      it right."       Or "Of course they found it.                They
3      hacked it, and then they knew where it was."
4                    Does that make -- I hope that makes sense.
5              Q     Why did it not occur to you to ask for
6      access to the election equipment when you knew, at
7      least by September of last year, that Dr. Halderman
8      had access to this equipment for the purpose of
9      examination for this case?
10             A     I don't -- I'm not going to hack the
11     equipment, so I had no motivating factor to hack it.
12                   As I mentioned, it didn't occur to me to
13     ask for it.       Number two, I'm not -- I don't hack
14     equipment.       I don't break things.
15                   In my area of election security, I secure
16     technology and fix things.               I'm not the person who
17     breaks them.        Dr. Halderman specializes in that, so
18     I -- I wouldn't be the one to get it and then try --
19     you know, find vulnerabilities and exploit
20     vulnerabilities and break things.                  That's not what I
21     do.
22             Q     And what do you mean, you wouldn't be the
23     one to explore vulnerabilities with the election
24     equipment?
25                   MR. MILLER:        Objection.        Misstates

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1      testimony.
2                    THE WITNESS:         As I said, I fix things.
3      That's what I do.          I secure them.
4                    I'll give you an example.               Dr. Halderman
5      did a study whereby he found 6.6 percent of
6      participants did not notice or speak up that a
7      vote -- only 6.6 percent noticed that their vote had
8      been flipped.        That's a vulnerability that he
9      alleges in his study, and he found that.                     So he --
10     he found something that was wrong.
11                   And I created and designed a solution to
12     that that secured that now.               In fact, it turned out
13     coincidentally that only 6.6 percent of my
14     participants did not notice and could not identify
15     the hack.
16                   So we're on opposite ends of election
17     security.      He breaks things, and I'm the one who
18     fixes them or repairs them or secures election
19     security systems.          That's the difference.
20     BY MR. CROSS:
21             Q     The Michigan study that you just
22     referenced from Dr. Halderman, you're not offering
23     an opinion that that study is inaccurate, right?
24             A     No.
25             Q     What I'm still having a hard time with,

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1      Dr. Gilbert, you keep saying it did not occur to you
2      to examine the election equipment even though you
3      knew Dr. Halderman was examining it.
4                    Can you explain that to me?                Why would it
5      not occur to you to look at election equipment where
6      you are tasked with responding to the expert who has
7      himself examined that equipment?
8                    MR. MILLER:        Objection.        Asked and
9      answered.
10                   THE WITNESS:         Because I didn't see it as a
11     necessity.       I wasn't going to get the equipment and
12     break the equipment or replicate his hacks.
13     BY MR. CROSS:
14             Q     But couldn't -- there's no other analysis
15     you could have done with the equipment to respond to
16     his report?
17             A     The analysis that I have done I feel is
18     sufficient to respond to his report.
19             Q     But you've done no analysis of any
20     election equipment used in the State of Georgia; is
21     that correct, sir?
22                   MR. MILLER:        Objection.
23                   THE WITNESS:         I have not had access to any
24     equipment in the State of Georgia.
25     ///

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1      BY MR. CROSS:
2              Q     But you could have had access if you had
3      asked for it.
4                    Do you understand that?
5              A     I take it that you are correct, that I
6      could now.
7              Q     You mentioned that the issue that the
8      Michigan study found about voters largely not
9      verifying their ballots, you have a new BMD system
10     that you say addresses or corrects that problem; is
11     that right?
12             A     Yes.
13             Q     Why did you create that new system?
14             A     I created it to advance the state of
15     ballot-marking devices.             I have been working in this
16     space since 2000, and I have done innovations in
17     this space of election technology, so I'm advancing
18     the state of the art.            That's one.
19                   Number two, I did it to hopefully remedy
20     these concerns about voter verification.                     That was
21     my other motivating factor.
22             Q     And why is it important to remedy those
23     concerns?
24             A     So that, no offense, you and I don't have
25     to have this conversation again.

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1              Q     Meaning so voters like my clients will
2      have confidence in their vote and won't bring cases
3      like this?
4              A     Meaning we will eliminate these concerns
5      from any perspective.            But that doesn't legitimize
6      that the concerns are at the level expressed, as
7      always expressed.
8              Q     If an election security expert came in and
9      offered opinions that your new system was unreliable
10     without ever having actually examined that system,
11     would that strike you as reasonable?
12                   MR. MILLER:        Objection to form.
13                   THE WITNESS:         Definitely.        I would say
14     definitely, because that happens constantly.
15                   You referenced Dr. Appel.               Dr. Appel has
16     done that I'd say at least 50 times during the year
17     that I was building this.              That's exactly what he
18     was doing.       He was deeply engaged with me in
19     conversations around this particular technology.
20     That is actually a standard practice in the field, I
21     would argue strongly.
22     BY MR. CROSS:
23             Q     Let me ask a more precise question because
24     I'm not just talking about responding to a concept,
25     okay?

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1                      If an election security expert came in and
2      said that your new BMD system has a fundamental flaw
3      in the software itself, in the code, would you
4      expect them to actually take the time to examine
5      that code?
6               A      No.     Again, that's -- this is standard.
7      This happens constantly in our field.                    And there are
8      several people in this field who do that.                      That's
9      where they start.           That's exactly what they do
10     constantly.
11                     And if you look at elections technology,
12     prior to this case, as I stated earlier, there were
13     several cases where access was not granted to these
14     particular machines, and these statements were made
15     that, you know, there could be vulnerabilities in
16     these machines, and never had access to them.                       This
17     is standard protocol, I would argue, definitely for
18     years.
19              Q      I think we're missing each other,
20     Dr. Gilbert, because you keep talking about "could,"
21     okay?        Let's get more concrete.
22                     You understand in this case Dr. Halderman
23     is not offering an opinion that there could be or
24     might be vulnerabilities with the election equipment
25     in Georgia.           He's actually examined it and concluded

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1      that they exist.
2                    Do you understand that?
3                    MR. MILLER:        Object to form.
4                    THE WITNESS:         I don't -- I'm kind of
5      confused because when Dr. Halderman says that there
6      is a -- for example, let's go back to the Michigan
7      study.
8                    Voters can verify their ballots, but he
9      claimed that they didn't verify their ballots.                        So
10     that is a "definitely could" scenario.
11                   I'm not aware that Dr. Halderman provided
12     evidence or claimed that the machines had been
13     altered.      So what Dr. Halderman was providing was
14     that they could be altered if these particular
15     protocols that he was suggesting were followed and
16     there were no remedies.             And he claimed that
17     generally no one would be able to find them.                        But
18     again, that has not been tested, to my knowledge.
19     BY MR. CROSS:
20              Q    We're still missing each other here,
21     Dr. Gilbert.
22                   Do you understand that Dr. Halderman has
23     spent hours examining the election equipment
24     provided to him that's used in Georgia and has found
25     that specific vulnerabilities exist in that

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1      equipment today?          He's not saying they might
2      exist --
3                    MR. MILLER:        Objection.        Asked and
4      answered.
5      BY MR. CROSS:
6              Q     -- he's saying they do exist.
7                    Do you understand that?
8              A     I understand that's what he said.
9              Q     And you did not undertake any analysis to
10     determine whether he's right about that; isn't that
11     right, sir?
12             A     I did not get the equipment and analyze
13     the equipment.
14             Q     Nowhere in your July 16 declaration do you
15     offer an opinion that it would be appropriate for
16     the State of Georgia to continue to use the election
17     equipment if Dr. Halderman is right in his findings,
18     correct?
19             A     I don't recall saying that directly in my
20     declaration, but I -- I could go back and look at it
21     if you want me to right now.
22             Q     Sure.     Why don't you take a look and tell
23     me if that's there.
24             A     If you go to paragraph 16, paragraph 16, I
25     would say that answers your question in that I'm

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1      saying that they -- they are -- they can still be
2      used, and they have advantages over hand-marked
3      paper ballots.
4                    So I didn't directly word it the way that
5      you said it, but I think that Georgia can proceed
6      with the BMDs.
7              Q     So you're offering an opinion in this case
8      that even if Dr. Halderman is right about every
9      finding in his report, his July 1 report, you think
10     it's appropriate as an election security expert for
11     the State of Georgia to continue to use that system
12     without taking any remedial measures at all; is that
13     your opinion, sir?
14                   MR. MILLER:        Object to form.
15                   THE WITNESS:         No.
16     BY MR. CROSS:
17             Q     What did I get wrong?
18             A     I think they can proceed with the BMDs,
19     but they can take precautions; the recommendations
20     as far as voters verifying their ballots, and those
21     actions can be instituted in different ways.                        They
22     could hopefully accomplish more verification.                        But
23     yes, so that's where you got it wrong.
24             Q     Is it your opinion that Georgia can
25     proceed -- it would be appropriate for Georgia to

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1      continue to use the current election equipment if
2      the state takes some sort of precautionary measures
3      to address Dr. Halderman's findings?
4                    MR. MILLER:        Objection.        Misstates.
5                    THE WITNESS:         Yes.
6      BY MR. CROSS:
7              Q     And what measures should it take?
8              A     The most important is on the voter
9      verification and looking at strategies to increase
10     voter verification.
11                   And then there's probably strategies -- I
12     have to go back and look at some of his claims, but
13     looking at verifying the equipment and as far as
14     making sure no additional apparatus is added to the
15     equipment.
16                   But there are things that I'd have to go
17     back and review to do a point-by-point
18     recommendation.
19             Q     When you say "voter verification
20     strategies," what specific strategies are you saying
21     Georgia should implement in order to continue to use
22     its election equipment in light of Dr. Halderman's
23     findings?
24             A     One, reminding them to verify before they
25     scan their ballot.           That's the top one.            And prior

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1      to, reminding them to verify.
2              Q     What else?
3              A     Those would be my initial recommendations.
4                    There's actually a report that came out of
5      Rice University that had some, and if I'm not
6      mistaken, there were additional recommendations in
7      the Michigan paper as well.
8              Q     What about auditing?             Is your opinion that
9      the state should do anything with auditing to
10     proceed with the election equipment in light of
11     Dr. Halderman's findings?
12             A     I think we -- we recommended a
13     risk-limiting audit, RLA.              That's been recommended.
14     And I believe Georgia is instituting that.
15             Q     When you say "we," who do you mean?
16             A     I serve as a member of a National
17     Academies report.          We strongly recommended RLAs.
18             Q     In fact, the recommendation there was an
19     RLA on every contest, right?
20             A     I don't know if it was on every contest.
21     I'd have to go back and look.
22                   Auditing is not my area of expertise.                 I
23     am supporting our recommendation.                  But I'd have to
24     go back and review the report to confirm whether we
25     said on every contest or not.

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1              Q     Certainly you would not expect that
2      auditing only a single statewide contest every two
3      years would be sufficient to address Dr. Halderman's
4      findings with this equipment, right?
5                    MR. MILLER:        Object to form.
6                    THE WITNESS:         As I stated, auditing is not
7      my area of expertise, and I would allow other
8      members of the committee and other experts to make
9      that decision.
10     BY MR. CROSS:
11             Q     Dr. Philip Stark is a widely recognized
12     expert on election audits, right?
13             A     Yes.
14             Q     What remedial measure should the state
15     take to verify QR codes in order to continue using
16     this election equipment in light of Dr. Halderman's
17     findings?
18                   MR. MILLER:        Object to form.
19                   THE WITNESS:         The verification of a QR
20     code is to -- you can -- the QR code can be verified
21     against the human-readable portion of the text.                     So
22     you could scan it and determine that it is a match
23     to that text.
24                   To my understanding, I have not seen a QR
25     code that's self-modifiable whereby it changes

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1      itself after it's been scanned.                 Therefore, you'd
2      have evidence that there's a difference between the
3      QR code and the actual human-readable text.
4      BY MR. CROSS:
5              Q      And what specific steps are you
6      recommending should be taken to test that?
7                     MR. MILLER:       Objection.        Misstates.
8                     THE WITNESS:        I have not given a specific
9      recommendation as of this time.                 I could develop
10     that.       That hasn't been something I've worked on,
11     but that's something I could develop if necessary.
12                    I would hope the election administration
13     would do that.
14     BY MR. CROSS:
15             Q      When you say "do that," do what?
16             A      Determine the protocol for comparing the
17     QR code against the human-readable text.
18             Q      You understand Georgia currently has no
19     protocol for that, right?
20             A      I was not aware if they did or did not.
21             Q      So that's not something you considered for
22     your opinions in this case; is that fair?
23             A      I don't understand that question.
24             Q      It's okay.       I'll withdraw it.
25                    Are there any other remedial measures

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1      Georgia should take before proceeding with the
2      current election equipment in light of
3      Dr. Halderman's findings?
4              A     I can't think of anything at this time.
5      I'd have to go back and review, again, his report
6      and do a point-by-point measure.
7                    And I would also say that the RLA is --
8      again, getting at the QR code, the RLA would also be
9      a measure to identify differences between QR codes
10     and the human-readable portion of the text.
11             Q     One of the measures you said the state
12     should take is reminding voters to verify their
13     ballots before they're scanned or tabulated, right?
14             A     Yes.
15             Q     Do you understand Georgia already requires
16     that?
17             A     I may have read that.             It wasn't at the
18     top of my mind.
19             Q     Given that Georgia already requires that,
20     why would you expect that to have a meaningful
21     impact on the security and reliability of this
22     election system?
23             A     Reminding voters did show some improvement
24     on voters verifying their ballots.
25             Q     In fact, the Rice study and the Michigan

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1      study you cited both show that it has a very, very
2      small improvement, if any, right?
3              A     I would say it has an improvement.
4              Q     Okay.     Let me ask my question again.
5                    The Rice study and the Michigan study that
6      you cite both show that it has a very small impact
7      on improving voter verification, right?
8                    MR. MILLER:        Objection.        Asked and
9      answered.
10                   THE WITNESS:         I would say it has an impact
11     on improving voter verification.
12     BY MR. CROSS:
13             Q     How much?
14             A     Sufficient.
15             Q     Sufficient by what measure?
16             A     So I mentioned to you that Dr. Halderman
17     had done the Michigan study and then the Rice study.
18     And I mentioned to you that I am an election
19     security expert that works opposite of
20     Dr. Halderman.         Halderman breaks things, and I
21     secure things.
22                   And I mentioned to you that I created a
23     transparent voting technology that addresses or
24     eliminates this concern of voters verifying their
25     ballot.

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1                      I conducted a study here in Gainesville,
2      Florida, similar to the protocol that Dr. Halderman
3      used.        And one of the observations that came out of
4      this was -- another thing that I believe I've put in
5      my declarations is that there's an assumption made
6      that if 6.6 percent -- only 6.6 percent of the
7      people notice that their vote was flipped, that
8      that's sufficient to change the outcome of an
9      election such that it goes undetected, that no one
10     would know what happened.
11                     And in my studies, I noticed that you
12     cannot underestimate the human condition.                      And what
13     I mean by that is, people are vocal.                    When a
14     person's vote is inaccurately recorded, there's an
15     assumption that people walk away and won't speak up.
16                     So the ability to actually identify a
17     problem in an election is not proportional to a
18     percentage necessarily of those who can actually
19     verify.
20                     So it takes, from my observation and my
21     study I just ran, a much smaller percentage to
22     actually be vocal to identify that something is
23     wrong.
24              Q      Okay.   So Dr. Gilbert, let me bring you
25     back to my question.

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1                    When you say that providing reminders to
2      voters to verify their ballot provides some
3      sufficient improvement, what metric are you using
4      for "sufficient" that's accepted in the field of
5      election security?
6              A     I'm using the metric that I observe that
7      voters are vocal, which would not be accepted in the
8      field because this is something that's just been
9      identified this year.
10                   And in the election security community,
11     for example, Dr. Halderman and others, again, their
12     goal is to break things and show vulnerabilities.
13     And from my understanding, they don't have a
14     background like I do on the human center computing
15     side to understand the human condition and the
16     impact of that on an election.
17             Q     The study that you're talking you
18     conducted, is that the study that you performed on
19     your new BMD prototype?
20             A     Yes.
21             Q     So this was not a study that was performed
22     using the BMD equipment that Georgia currently uses;
23     correct, sir?
24             A     Correct.
25             Q     Even in the study that you did with your

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1      new BMD prototype, you found that many voters, even
2      when they noticed an error, often would not speak
3      up, correct?
4              A     That's not absolutely correct.
5                    They confirmed that they didn't speak up
6      because it was a study.             That is a documented effect
7      called the Hawthorne effect, which is when people
8      are being studied, they behave differently than when
9      they do in reality.
10                   And I documented that, and we have a paper
11     that will be published next month with all these
12     findings.      But I did present this in a lecture for
13     Princeton University.
14             Q     So you've not conducted a study on whether
15     or the extent to which voters will even speak up to
16     poll workers that they found an error on their
17     ballot in an actual election; right, sir?
18             A     I have not, and to my knowledge, no one
19     has done that study.
20             Q     But we do know that the Georgia Secretary
21     of State had a study commissioned looking at voter
22     verification in actual elections in 2020, correct?
23             A     Which study is this?             I'm -- can you --
24             Q     Let me pull it up for you.
25             A     Okay.

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1                    MR. CROSS:        It should be in the "Marked
2      Exhibits" folder.          I'm not sure exactly how to
3      change the exhibit name.              Here we go.
4                    (Exhibit 2 was marked for identification
5              and is attached hereto.)
6      BY MR. CROSS:
7              Q     Do you see Exhibit 2?
8              A     Let me refresh.          I don't see it.
9                    MR. MILLER:        David, just for your
10     awareness, they're not labeled as Exhibit 1 -- the
11     first one is, but there's no Exhibit 2.
12                   MR. CROSS:        Say again?
13                   MR. MILLER:        I'm just saying, for your
14     awareness, the files are not labeled Exhibit 2, like
15     the file name.
16                   MR. CROSS:        I just renamed it.           It should
17     show up now as Exhibit 2.
18                   MR. MILLER:        Okay.
19                   THE WITNESS:         Okay.     I found it.
20     BY MR. CROSS:
21             Q     Okay.     So if you can open that, let me
22     know when you have it, Dr. Gilbert.
23             A     Got it.
24             Q     Do you see that this is -- it says
25     "Georgia Voter Verification Study, January 22nd,

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1      2021"?
2               A    I see that.
3               Q    Do you understand that this is a study
4      that was actually commissioned by the Georgia
5      Secretary of State looking at actual elections in
6      certain counties in 2020?
7               A    I do not understand that as I have not
8      read this, so I don't.             All I have is the title that
9      I can see, and all I can gather is what I can gather
10     from the title.
11              Q    In fact, you don't reference this study in
12     your July 16 report, correct?
13              A    I don't believe so.            I'm looking at this
14     trying to see if I've seen this.
15                   Okay.     Yeah, I don't believe I reference
16     this study.       Georgia, University of Georgia.                   No.
17                   The study that I recall was, I believe, a
18     study in Tennessee where people were observing
19     whether or not individuals were verifying their
20     ballots off of a BMD, and they were recording the
21     amount of time spent.
22                   But I don't recall this particular study.
23              Q    Were you aware that the state had
24     commissioned this study and that at least a draft of
25     the report was available six months before you

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1      issued your declaration on behalf of the state in
2      this case?
3               A    I do not.       I don't -- I'm looking at this.
4      I don't recall this study.               I don't recall getting
5      this study.
6               Q    Do you recall that Dr. Stark,
7      Dr. Halderman and Dr. Appel all discussed this study
8      in their declarations in response to your July 16
9      declaration?
10              A    I don't recall that.
11              Q    So even though all three of them
12     emphasized this study in their response to your
13     declaration, you never read it before this moment?
14              A    I don't believe I've read this study.                   It
15     does not look familiar to me.                I'm trying to go
16     through it and see.           I don't -- I don't recall this
17     study.
18              Q    Have you read the reply declarations from
19     those three experts in response to your July
20     declaration?
21              A    I may have.        I don't know.          If we could
22     look at one, I could tell you if I've seen it
23     before.
24              Q    So you didn't review those, for example,
25     in preparation for your deposition today?

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1              A     I don't know if I did.              I reviewed several
2      documents, and I don't know if those were particular
3      documents that I reviewed.
4              Q     You said a moment ago that you have an
5      expertise on human factors that Dr. Halderman
6      doesn't have.        I just want to make sure I understand
7      that.
8                    Is your testimony that you're an expert on
9      human factors, not cybersecurity in the way that
10     Dr. Halderman is?
11                   MR. MILLER:        Object to form.
12                   THE WITNESS:         I am an expert in human
13     center computing and elections technology,
14     specializing in the accessibility, usability, and
15     security of those systems, in particular, securing
16     them and fixing problems, not hacking them.
17                   I would say, and you have to ask
18     Dr. Halderman, if he considers himself an
19     expertise -- has expertise in human center computing
20     or human computer interaction would be the question
21     you could ask him.
22                   From my observation and knowledge of his
23     research and what he does, I would say he does not
24     have that.       His expertise, again, is in -- in
25     particular as it relates to elections, is in

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1      breaking those systems and finding problems and, you
2      know, he -- the way I would classify it is he's on
3      the opposite end of the spectrum.                  He destroys
4      things, and I create things and repair them and fix
5      them.
6      BY MR. CROSS:
7               Q    Would you say the same for Dr. Andrew
8      Appel?
9               A    He -- generally, I would say he doesn't do
10     the human center computing as well.                   I don't think
11     he does.      But again, you could ask him to see if he
12     thinks that's what he does.               I don't think he does.
13              Q    You don't think he does what?
14              A    Human center -- he doesn't have expertise
15     on human computer interaction or the human
16     condition, those kind of things that I also have
17     expertise in.
18              Q    Are you saying that he is of the opposite
19     end of the spectrum from you, like you characterized
20     Dr. Halderman, in the sense that he breaks things
21     and you fix things?
22              A    I would say he's closer to that end, yes.
23              Q    So you disagree with both Dr. Halderman
24     and Dr. Appel that you should have examined the
25     election equipment in responding to Dr. Halderman's

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1      report?      They're both wrong about that?
2                    MR. MILLER:        Object to form.
3                    THE WITNESS:         Do I disagree?         I don't
4      understand the question.              Can you rephrase that,
5      please?
6      BY MR. CROSS:
7               Q    Sure.
8                    As I understand it, you're taking the
9      position that you did not need to examine the
10     election equipment that Dr. Halderman did to respond
11     to his findings about that specific equipment,
12     right?
13              A    Yes.     I did not need to examine the
14     equipment to respond to him.
15              Q    And so to the extent that Dr. Halderman
16     and Dr. Appel opined that you should have looked at
17     the equipment, you just think they're wrong about
18     that, right?
19              A    No, I -- it depends on what thing they
20     wanted me to look at.            It depends on what is it they
21     were hoping I would look at.                That would be my
22     question.      I would need more details as to what
23     specific thing did I need to actually look at.
24              Q    You understand that Dr. Halderman's report
25     describes each of the attacks in technical detail so

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1      that another researcher can replicate and test them,
2      right?
3               A    I believe it describes in detail, and
4      those steps could be followed.                 I don't know if it
5      would give an exact replication.
6               Q    Because you didn't try that, right?
7                    MR. MILLER:        Objection.        Asked and
8      answered.
9                    THE WITNESS:         No, that's not accurate.
10     I'm basing that on my expertise, having a Ph.D. in
11     computer science, knowing that if a person is going
12     to say, "This is how you would hack a system,"
13     following those steps doesn't always work out the
14     same way.
15                   So what you're assuming is that
16     Dr. Halderman's documentation is sufficient to
17     create an exact replication of his demonstrated
18     hack, and I would say I don't agree with that.
19                   Again, my recommendation -- sorry for
20     being redundant -- is that -- and I haven't seen
21     this -- Dr. Halderman institutes a hack, hands off
22     the hacked equipment, because that would be the
23     reality of the matter, to see if someone can
24     identify and repair that hack, whereas someone
25     getting equipment and trying to replicate a hack is

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1      a different scenario.
2                    And again, that's not my expertise.                   I do
3      not hack things.          I secure them as I gave an example
4      of securing a solution that defused or eliminated
5      Dr. Halderman's allegation of a voter verification.
6                    So that's an example of one solution that
7      I've done to remedy a hack that he has observed or
8      said he found.
9      BY MR. CROSS:
10              Q    You said -- you said Dr. Halderman, what
11     he should have done was institute a hack, hand off
12     the hacked equipment to see if someone could
13     identify and repair that hack.
14                   You could have done that with access to
15     the equipment, right?
16                   MR. MILLER:        Objection.        Asked and
17     answered.
18                   THE WITNESS:         I think there are several
19     researchers and election technology administration
20     folks who -- you know, I would phrase this as a
21     study.
22     BY MR. CROSS:
23              Q    Dr. Gilbert, this is not my question.
24              A    I don't understand, then.
25              Q    Okay.     Let me try it again.

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1                      You could have done yourself exactly what
2      you just described should have happened where
3      Dr. Halderman hacks the equipment and hands it off
4      to an independent researcher to replicate and test
5      the hack.        Could you have done that?
6               A      That's not what I said.            I purposely said
7      I don't want to replicate any hack that
8      Dr. Halderman has done.             That's not what I'm trying
9      to do.
10                     What I'm trying to do -- what I said was
11     if he hacked the voting machine, give it to a third
12     party and see if the third party can identify and
13     fix the hack, that's what I said.
14                     I didn't say give a voting machine to a
15     person and then have them try and replicate his
16     hack, and then have them try and say, "I found the
17     hack."        That just doesn't make any sense.
18              Q      Okay.   Let's be precise.            This is what you
19     said:        "My recommendation is that Dr. Halderman
20     institutes a hack, hands off the hacked equipment to
21     see if someone can identify and repair the hack."
22                     Could you have done that yourself with
23     access to the equipment, yes or no, sir?
24              A      No.
25              Q      Why not?

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1               A     Because Dr. Halderman would have to have
2      hacked the equipment first and handed it off to me
3      with that understanding, whereas if I had requested
4      the equipment like he did, I would have gotten a
5      piece of equipment that was not hacked.
6               Q     But you could have had access to the same
7      equipment that he was working on, that he examined,
8      if you had simply asked the state or us or the
9      judge, right?
10                    MR. MILLER:       Objection.        Asked and
11     answered.
12                    THE WITNESS:        I don't -- I guess I could
13     have had access to that equipment, but I would not
14     have access to the hack that Dr. Halderman had
15     instituted.
16     BY MR. CROSS:
17              Q     Why?    You would have access to the same
18     equipment and you'd have his report identifying the
19     specific steps by which he did what he did.
20              A     Because to -- for me to implement a hack,
21     again, there would be steps that I had to follow.
22                    And obviously I would suspect
23     Dr. Halderman would say, "No, he did not do it
24     right.       This is not how I would have done it or I'd
25     recommend doing it."

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1                    Or he would have said, "Oh, that's
2      obvious.      If you institute the hack, then of course
3      you know where the hack is from a study perspective
4      and identifying the hack."
5                    That would be his next -- and you --
6      again, you could always ask him.
7                    If I instituted his hack and then I said,
8      "I found your hack," would he find that acceptable?
9                    I would appreciate Dr. Halderman saying
10     that is an appropriate exercise.
11             Q     Where in your report do you recommend the
12     specific steps that Georgia needs to take to fix
13     each of the problems Dr. Halderman finds in his
14     report with the election equipment?
15                   MR. MILLER:        Object to form.
16                   THE WITNESS:         I don't think I did that.
17     BY MR. CROSS:
18             Q     You said he breaks things, you fix things.
19     And you've not offered any opinion in your
20     declaration about what the state needs to do to fix
21     the problems that he's identified; right, sir?
22                   MR. MILLER:        Object to form.
23                   THE WITNESS:         I gave some recommendations,
24     but I didn't go point by point.                 I did not do a
25     point-by-point counter to say, "This is how you fix

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1      this.        This is how you fix that."
2                      I did not do that.
3      BY MR. CROSS:
4               Q      Why not?     You said that's your expertise,
5      right?        You fix the things that he breaks.                Why
6      didn't you do that in this case?
7               A      I was trying to address the claims that he
8      had made, and I was not making a recommendation to
9      the state at that time.
10              Q      And you're not making any recommendation
11     to the court as to what needs to be done to remedy
12     the problems he finds with the system; right, sir?
13              A      It depends on each problem.              I'd have to
14     go over those problems.
15                     Some of those problems may not come to a
16     level of a particular remedy or a recommendation.
17     So there's -- it just depends on the specific
18     problem.
19              Q      We'll walk through those in a little bit.
20                     You said that reminding voters to verify
21     their ballots before they're tabulated, that that is
22     sufficient to address concerns about the reliability
23     of BMDs.
24                     Did I understand you right?
25              A      No, that's not what I said.              I said that

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1      is one strategy that can be implemented to help
2      voters verify their ballots.
3                    And I mentioned that one voter or a small
4      percentage of voters speaking out can bring
5      awareness to a problem.
6              Q     When you testified earlier that that sort
7      of reminder is sufficient, is a sufficient
8      improvement, sufficient for what then?
9              A     As far as identifying a problem or
10     bringing awareness that there's a problem.
11             Q     So it's not sufficient for remedying the
12     problem; it's just sufficient for identifying that
13     the problem exists; is that right?
14             A     Well, I -- again, the scale of the problem
15     varies.      Again, his study says that only 6.6 percent
16     noticed.
17                   But in a real election contest, we -- we
18     don't have that particular data.                  But at the same
19     time, I think that the numbers will be higher, and
20     then people are more vocal about it.
21             Q     Well, Dr. Gilbert, you may be under the
22     impression we don't have the data in a real election
23     contest because you never bothered to read this
24     January 2021 report that the Secretary of State in
25     Georgia commissioned on actual voter verification in

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1      elections; right, sir?
2                    MR. MILLER:        Objection.        Misstates
3      testimony.
4                    THE WITNESS:         I don't recall reading that,
5      but I would ask that -- was that a replication of
6      the Michigan study or the Rice study or a Florida
7      study in a real election?
8                    I don't believe so in skimming over it,
9      meaning I don't believe they actually flipped votes
10     and calculated how many people caught the flip.
11     BY MR. CROSS:
12             Q     You say that you're an expert on human
13     factors in elections.            Given that, why would you not
14     want to read a study that was commissioned by your
15     client looking at human factors with respect to
16     voter verification in actual elections in the state?
17                   MR. MILLER:        Objection.        Relevance.
18                   THE WITNESS:         I did not say I did not want
19     to read the article.
20     BY MR. CROSS:
21             Q     Okay.     So you want to read it, but you've
22     chosen not to; is that what you're saying?
23             A     No, I didn't say that, either.                 I said I
24     have not read it.          I don't recall reading it.               And I
25     plan to definitely read it.               It's of interest to me.

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1      But I did not read it, and so that's -- that's where
2      I stand on it.
3              Q      Well, if it's not because you don't want
4      to read it, why have you not read it, especially
5      given that three different experts pointed it out in
6      their response to you?
7              A      I have to go back and see where they
8      pointed it out, and I could answer why I didn't read
9      it after reading what they -- what their claims
10     were.
11             Q      If reminding voters to verify their
12     ballots before they're tabulated is sufficient, as
13     you use that term, to address the concerns about the
14     reliability of BMDs, then why have you bothered to
15     create this new BMD, which you said is intended to
16     resolve that concern?
17             A      Because it's an improvement.               By that
18     analogy, you know, we improve technology in a lot of
19     areas that either work or are sufficient or whatever
20     the case would be, but it's an improvement.
21             Q      Why do you need to make an improvement if
22     the measure you've identified is already sufficient?
23             A      Because that's what I do.              I make things
24     work.       I make things better.           I improve upon them.
25     That's the kind of work we do.

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1              Q     You improve things that are already
2      sufficient in the way they currently operate?
3              A     Yes.     We can do that, too.             Yes.
4              Q     Dr. Gilbert, you recognize that BMDs are
5      often nontransparent, right?
6              A     I don't understand what that means.
7              Q     You don't understand what that means?
8              A     No, I do not.         What do you mean by
9      "nontransparent"?
10             Q     Do you agree that BMDs are often hackable?
11             A     No, I do not.
12             Q     Do you agree that BMDs are often overly
13     complex?
14             A     No, I do not.
15                   (Exhibit 3 was marked for identification
16             and is attached hereto.)
17     BY MR. CROSS:
18             Q     All right, Dr. Gilbert.              Grab Exhibit 3 if
19     you would.       It should pop up here in just a minute
20     for you.
21                   Let me know when you have it.
22             A     You said 3?        Okay.      I found it.
23             Q     Do you have it, Dr. Gilbert?
24             A     Yes, I do.
25             Q     Exhibit 3 is a patent dated June 15 of

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1      this year for which you are the inventor; right,
2      sir?
3               A    Yes, this appears to be the patent.
4               Q    Have you seen this patent before?
5               A    This appears to be what we submitted, yes.
6               Q    If you turn to the page -- it looks like
7      it's -- if you go past the figures, so after
8      Figure 6, you'll get to where it starts to describe
9      the patent, and it has "Transparent Interactive
10     Printing Interface."
11                   Do you see that?
12              A    Yes.
13              Q    And this concerns the new BMD prototype
14     that we've been discussing today that you developed,
15     right?
16              A    Yes.
17              Q    Do you see under "Background"?
18              A    Yes.
19              Q    Do you see what's written here in this
20     patent that you helped prepare, and for which you're
21     identified as the inventor, it reads,
22     "Ballot-marking devices (BMDs) such as electronic
23     ballot markers (EBMs) electronically-assisted ballot
24     markers, in voting machines are often
25     nontransparent, hackable, and overly complex."

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1                    That's written here; correct, sir?
2              A     Yes, it is.
3              Q     It also goes on, "Such conventional
4      devices often result in a trade-off between
5      consistency and transparency," right?
6              A     Yes.
7              Q     And at the end it reads, "It is typically
8      difficult or impossible to fully examine and trace
9      the process and result of entering selections for a
10     ballot using conventional BMDs and EMDs."
11                   Do you see that?
12             A     Yes, I do.
13             Q     In preparing the patent for which you're
14     identified as an inventor, were you careful to be
15     accurate and truthful in the information that you
16     included there?
17             A     I was careful to be truthful in the
18     information and as accurate as possible using
19     language that I've seen in other places about BMDs.
20                   These are allegations against BMDs.                   And I
21     would say I don't necessarily agree with all the
22     allegations, but these are common allegations
23     against BMDs.        So I'm stating what is the common
24     allegation against BMDs.              And that's why it's in
25     background, to say these are the common allegations

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1      against BMDs.
2              Q     Dr. Gilbert, nowhere here does it say that
3      these are allegations that you do not believe to be
4      true; right, sir?
5              A     Right.      In a patent submission, I don't
6      think I would say that I don't agree with these or I
7      don't believe these things.               I wouldn't say that in
8      a patent application.
9                    What I'm doing is stating what is commonly
10     said or communicated in the -- in a community around
11     BMD allegations.
12                   These allegations that I am setting forth
13     are -- even right as we're here now -- are the bases
14     for these allegations.             So these are, I would argue,
15     common -- common allegations that are said.
16             Q     Dr. Gilbert, do you understand you're
17     under oath today?
18             A     Yes, I am under oath, and I would say --
19             Q     Do you understand --
20             A     -- they're common allegations.
21             Q     Do you understand that not being truthful
22     under oath today is a felony?
23             A     Yes, sir.
24             Q     Okay.
25                   MR. MILLER:        Object.       This is --

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1      BY MR. CROSS:
2              Q     Are you representing today under oath that
3      what's written here in a patent that you helped
4      prepare for, which you're an inventor, under
5      "Background," that you do not believe those
6      statements to be accurate statements in
7      characterizing BMDs?            Is that your testimony here,
8      sir?
9                    MR. MILLER:        Objection.        Misstates.
10                   THE WITNESS:         I believe those statements
11     to be common allegations.
12     BY MR. CROSS:
13             Q     Can you answer my question?
14             A     I'm answering your question as I
15     understand it.
16                   I believe those to be common allegations
17     that are set forth by the election community against
18     BMDs.
19             Q     The reason those statements are included
20     in the background section of the patent is they are
21     a justification for the invention that you have
22     offered, which is intended to address those
23     concerns; isn't that right, sir?
24                   MR. MILLER:        Objection.        Calls for a legal
25     conclusion.

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1                    THE WITNESS:         No.     I see it as a
2      background of the field.              I didn't -- I don't see it
3      as a common -- I don't understand that.                     No.     It's a
4      background of the field, of what's happening in the
5      field at the current state of submission.
6      BY MR. CROSS:
7              Q     So then if somebody walks into the Patent
8      and Trademark Office and alerts them that
9      Dr. Gilbert does not actually believe BMDs are
10     generally nontransparent, hackable, and overly
11     complex, you don't have any issue with that?                        That's
12     fine?
13             A     I don't have an issue with that.
14             Q     Okay.
15             A     I do not.       My belief is that they are not
16     those things, but that is the common
17     communicated-in-the-field allegation against these
18     particular devices.
19             Q     Again, there's nothing written in this
20     patent that says, "I, Dr. Gilbert, or the people
21     submitting this patent, don't actually believe these
22     statements to be true.             We're just including them
23     because somebody believes them to be true."
24                   We don't see that in here, do we, sir?
25             A     No, you do not.            And I think that

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1      statement is accurate because I don't put my belief
2      in there.      I'm stating what's commonly spoken, the
3      common allegation that's in the field.                    That's what
4      I'm document -- I'm documenting that.
5              Q     Sir, given that you're now saying you
6      believe BMDs are not generally hackable, is it your
7      view that the BMDs that are used in Georgia are
8      unusual in the fact that Dr. Halderman has been able
9      to hack them in a variety of ways?
10             A     So I'm -- let me address that.
11             Q     Can you just answer my question yes or no?
12             A     That is not a yes or no.
13                   MR. MILLER:        David, allow him to respond.
14     BY MR. CROSS:
15             Q     Well, the problem we have, Dr. Gilbert, is
16     you're doing exactly what Judge Totenberg told you
17     at the hearing you cannot do.
18                   When you didn't want to answer her
19     question, she said, "You don't get to change the
20     subject of the question."
21                   So I'd like to you answer my question.
22             A     Generally hackable.            If a BMD is given to
23     a person with knowledge and sufficient time, it is
24     hackable.
25                   To say it's generally hackable, I don't

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1      think that's -- that is a fair statement.                      You have
2      to define what "generally" would mean in the
3      context.
4                    Dr. Halderman, as you told me, had an
5      extended period of time to interrogate and hack the
6      particular machine.           So that -- that's the
7      perspective I'm giving.
8              Q     Do you believe that the BMDs that are used
9      in Georgia, that they are unusual in the degree to
10     which Dr. Halderman has been able to hack them as
11     compared to other BMDs that have been used in
12     elections in the country, yes or no, sir?
13             A     I don't know because I haven't seen
14     Dr. Halderman hack other BMDs.
15             Q     You also don't know because you yourself
16     have never examined any BMD at all with respect to
17     its security; right, sir?
18             A     That's not accurate.
19             Q     Okay.     What BMD have you examined for
20     security other than your own BMDs that you have
21     developed and market?
22             A     That's exactly right.             The ones that I
23     developed as open source and that was used and
24     certified, that's what I have examined, and that
25     would be an example.

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1               Q    You say an example.            But apart from the
2      BMDs that you yourself have developed and market for
3      use in elections, you have not examined the security
4      of any other BMD that's been used in any election in
5      the U.S., right?
6               A    I have not examined the -- have had access
7      to a BMD to examine the security.                  I've had access
8      to examine other features, but not the security.
9                    Again, I don't hack them, so I haven't
10     been given one to say, "Fine.                Can you find this
11     hack?"
12                   That has never happened.
13              Q    What BMDs have you physically examined
14     other than your own?
15              A    ES&S ExpressVote.
16              Q    And when was that?
17              A    I was at Clemson University at the time.
18     I don't remember an exact year, but it had to be
19     between 2010 and 2014, somewhere in there.
20              Q    And those are different from the BMDs that
21     the Dominion provided to the State of Georgia,
22     right?
23              A    Those are different BMDs.
24              Q    The BMDs that you've developed and market
25     for use in elections, do those have the same

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1      vulnerabilities that Dr. Halderman has identified
2      with the Dominion equipment in Georgia?
3              A     The -- I have not created -- I created
4      open source software that runs on commercial
5      off-the-shelf components, or COTS.
6                    So I haven't created my own BMD and
7      marketed a BMD, to be accurate.
8              Q     You developed Prime III.               That's a BMD;
9      right, sir?
10             A     Prime III is software that runs on
11     off-the-shelf components.
12             Q     As a BMD?
13             A     Well, that's one aspect of it.                 It runs --
14     it could run as a BMD.             It can run as a
15     remote-accessible ballot-printing option as well.
16             Q     Does Prime III suffer the same
17     vulnerabilities that Dr. Halderman identifies in his
18     report regarding the Dominion election equipment
19     used in Georgia?
20             A     Can you identify a vulnerability?
21             Q     Any.     Does Prime III contain any of the
22     same vulnerabilities Dr. Halderman has identified?
23             A     It depends on the setup, but I can't think
24     of anything.         But it would depend on the setup.
25                   Prime III is running on the exact same

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1      equipment from a hardware perspective, but it
2      just -- there's a lot of dependencies there.                        Again,
3      it's software that runs on off-the-shelf components,
4      so it would have to be in a particular context.
5              Q     Have you provided Prime III for use with
6      Dominion ICX BMD machines or scanners?
7              A     Not to my knowledge.
8              Q     As you sit here right now, do you have any
9      reason to believe that your Prime III software has
10     any of the same vulnerabilities that exist on that
11     equipment and the software on that equipment?
12             A     If you put Prime III on that equipment,
13     I'm not sure of what -- if it changes the
14     vulnerabilities.          I don't know if it does.              That
15     he -- his claimed vulnerabilities, I don't know that
16     for sure.
17                   So there -- again, it could run on
18     different platforms in different contexts.                      So to
19     try and generalize and say that Prime III would be
20     vulnerable is -- it's inaccurate to do that.                        We'd
21     have to have a specific case.
22             Q     What equipment does Prime III run on in
23     the elections in which it's being used?
24             A     It was being used in New Hampshire.                    It
25     was running on tablets.             I think Dell tablets.              And

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1      they had printers and a headset and a microphone.
2                    It's being used in Butler County, Ohio, as
3      a remote-accessible ballot option where it's running
4      on a web server.
5              Q     And as you sit here, do you believe that
6      the Prime III software that you developed that's in
7      use in both New Hampshire and Ohio suffers any of
8      the same vulnerabilities that Dr. Halderman has
9      identified in his report with respect to the Georgia
10     election equipment?
11                   MR. MILLER:        Objection.        Asked and
12     answered.
13                   THE WITNESS:         I'd have to have a specific
14     context to test that.
15     BY MR. CROSS:
16             Q     I've given you the specific context.
17     New Hampshire and Ohio, actual places where it's
18     used on actual equipment.
19                   As you sit here, do you believe that any
20     of the vulnerabilities Dr. Halderman has identified
21     are present with your software used on that
22     equipment in those elections, yes or no?
23             A     I can't think of any vulnerability that he
24     has identified with Dominion that would apply in one
25     of those -- in a context with Prime III.

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1              Q     The testing that you did with the ES&S BMD
2      years ago, was that cybersecurity testing?
3              A     No, it was accessibility testing.
4              Q     You've never done cybersecurity testing on
5      BMD equipment or software; is that right?
6              A     I don't -- what do you mean by "cyber"?
7                    So I just -- as I explained, I created a
8      transparent voting machine which we did election
9      security testing to get at a vulnerability
10     Dr. Halderman had identified as voters not
11     verifying.       So that's an example where I have done a
12     test of election security, not cybersecurity.
13     Election security.
14             Q     Thank you.        That's a fair distinction.
15     Let me ask a better question.
16                   As I understand it, you have not conducted
17     any test to determine the extent to which any BMD
18     software or hardware can be hacked; is that fair?
19             A     Can be hacked?          I have not hacked any,
20     so -- that's not what I do.               I don't know if that
21     answers your question or not.                But I don't hack
22     these systems.         I said that time and time again.
23                   MR. MILLER:        David, I don't know where you
24     are on your timeline.            Do you want to take a short
25     break and come back, if that's all right with you?

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1                    MR. CROSS:        Yeah, that's great.            Why don't
2      we do that, and we can make sure we are set up on
3      Dr. Halderman's sealed report.
4                    MR. MILLER:        Okay.      Five minutes or so?
5                    MR. CROSS:        Sure.
6                    What do you need, Dr. Gilbert?
7                    THE WITNESS:         Five minutes is fine.
8                    MR. CROSS:        Okay.     All right.        Thank you.
9                    THE VIDEO OPERATOR:            Okay.      Going off the
10     record at 11:27.
11                   (Recess, 11:27 a.m. - 11:43 a.m.)
12                   THE VIDEO OPERATOR:            We are back on the
13     record at 11:43.
14     BY MR. CROSS:
15             Q     Dr. Gilbert, just to pick up a little bit
16     more on what we were talking about before, on voter
17     verification as a means to help address concerns
18     about the reliability of BMDs, just to be clear,
19     that's not a cybersecurity remedy, right?
20             A     That's an election security remedy.
21             Q     Which is not a cybersecurity remedy?
22             A     Yes.     I'm not speaking to anything
23     cybersecurity-wise.           That's not what I do.             I'm not
24     a cybersecurity person.             I do election security from
25     the perspective of solidifying systems, fixing them,

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1      innovating, but I'm not a cybersecurity person.
2              Q     But you also emphasize that risk-limiting
3      audits are also needed to address reliability issues
4      with BMDs, right?
5              A     I think, again, doing a NASEM report,
6      National Academies report, we've recommended
7      risk-limiting audits, and I'm supportive of that
8      recommendation.
9              Q     But RLAs do not have any ability to
10     determine whether an individual vote has been
11     counted correctly, right?
12             A     Yes.     My understanding -- again, I'm not
13     an audit expert -- but my understanding is if you
14     had hand-marked paper ballots and you send them
15     through a scanner, and the scanner gave you a wrong
16     tabulation, that the RLA would catch that improper
17     tabulation.       So then it would essentially get the
18     right outcome.
19             Q     Are you talking about a situation where
20     the QR code does not match the human-readable text?
21             A     Any ballot -- what I said was if you have
22     a hard-marked paper ballot and you send them through
23     a scanner, but the scanner has been compromised and
24     gives you the wrong out -- number, gives you the
25     wrong determination, the RLA should catch that and

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1      give you the right tally.
2               Q     Right.     The right tally, but it's not
3      going to tell you whether any individual ballot was
4      altered, right?
5               A     Would it tell you if an individual ballot
6      was altered?        If I sent a ballot through the
7      scanner -- I guess it would depend.                   Again, I'm not
8      an audit expert.          It just depends on how far you
9      investigate to determine if the ballot was correct.
10                    So in other words, if a hand-marked paper
11     ballot -- if a person made an oval but the scanner
12     recorded that oval improperly, but if you looked at
13     the record of the scanner and the ballot, then you
14     would be able to get the correct record vote.                       So
15     that way -- that's one way you would get a
16     correction.
17              Q     Dr. Gilbert, do you understand that in
18     Georgia, the QR code is the official ballot of
19     record for tabulation?
20                    MR. MILLER:       Object to form.
21                    THE WITNESS:        I believe in prior
22     declarations, I've referenced documents that showed
23     that the human-readable text is what was used in the
24     audit and would be the determining part of the
25     tally.       That is my understanding.

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1      BY MR. CROSS:
2              Q     Do you understand when votes are tabulated
3      in the ordinary course of an election in Georgia,
4      they're tabulated using the QR code for a BMD
5      ballot?      Do you understand that?
6              A     My understanding is that they are put
7      through the tally machine and then they are tallied
8      on the QR code and followed by the -- again, the
9      RLA.    But yes, it does read the QR code.
10             Q     When you say, "followed by the RLA," why
11     do you think there's an RLA of every contest in
12     Georgia?
13             A     I didn't say, "every contest."                 Again, I
14     just said there's an RLA.              And I -- never mind.
15             Q     So when you said that the way votes are
16     tallied in Georgia is they go through -- the QR is
17     tabulated and then it's followed by an audit, that's
18     not accurate except for a single election statewide
19     every two years, right?
20                   MR. MILLER:        Objection.        Calls for a legal
21     conclusion.
22                   THE WITNESS:         I'd have to go back and
23     confirm how it's actually done in Georgia by any
24     statute.
25     ///

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1      BY MR. CROSS:
2               Q    As you sit here today, do you have any
3      reason to believe that Georgia is auditing anything
4      other than a single election statewide every two
5      years?
6               A    I don't -- I don't know.
7               Q    So for any election where Georgia is not
8      conducting an RLA, do you understand that the QR
9      code is the only thing that gets tabulated?
10              A    In any election that they don't do an RLA,
11     then the QR code would be the tabulation that comes
12     from a computer that is a scanner.                   I'm going to
13     refer to it as a scanner.
14              Q    And you understand for any election where
15     there's no RLA but there's a recount, the recount
16     relies on the QR code.             They just run the ballots
17     back through the scanners.
18                   Do you understand that, sir?
19              A    No, I do not.
20                   My understanding, I believe -- again, I
21     have to go back to those previous declarations where
22     I -- my understanding is that they would actually
23     recount the human-readable text.
24              Q    Even in a recount as opposed to a
25     risk-limiting audit?

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1              A     I thought the recount did that.
2              Q     Is that the understanding you have for
3      your opinions?
4              A     Which opinion?
5              Q     The opinions you've offered in this case.
6              A     It depends on the opinion.
7              Q     Is that the understanding you have for any
8      of these opinions you've offered in this case?
9              A     I guess I would have to know what opinion
10     you're asking me about.
11                   In other words, I'm not connecting this to
12     my opinions in any kind of way.                 So the things
13     you're asking me, I'm not following how -- how is
14     this related to my opinions is what I'm asking.
15             Q     You understand that one of the ways that a
16     ballot can be hacked with a BMD is to change both
17     the QR code and the human-readable text; that's a
18     concern that's been raised, right?
19             A     I understand that's a possibility.                    If you
20     can get in and manipulate things, you could
21     manipulate the QR code and/or the human-readable
22     text.
23             Q     And the Rice study and the Michigan study
24     show that very few, if any, voters would be expected
25     to find that change, right?

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1              A     Find what change?
2              Q     That their ballot, even as to the
3      human-readable text, does not accurately reflect all
4      of their selections.
5              A     Those studies suggest that a few number
6      would identify a human-readable change on that
7      ballot.
8              Q     In the scenario where that happened, where
9      both the QR code and the human-readable text has
10     been changed with respect to one or more selections
11     voters made, an RLA would not detect that; right,
12     sir?
13             A     If a human didn't detect the change, then
14     the RLA would not detect it if the QR code and the
15     human-readable text match.
16             Q     In the State of Georgia, even if an RLA
17     were to find -- strike that.
18                   In the State of Georgia, even if an RLA
19     were to generate a different outcome for an election
20     than what was originally reported and certified
21     based on the tabulation of running the ballots
22     through the scanners at the polls, there's no legal
23     authority in Georgia that allows the Secretary of
24     State or anyone to rerun the election, right?
25                   MR. MILLER:        Objection.        Calls for a legal

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1      conclusion.
2                    THE WITNESS:         I don't know.         I'm not an
3      election administrator, so I wouldn't be able to
4      tell you that.
5      BY MR. CROSS:
6              Q     Based on your work in this case as an
7      expert on behalf of the state, having submitted
8      multiple declarations, what remedy is available to
9      voters in the State of Georgia if an RLA were to
10     produce a different election outcome than the one
11     that was originally reported for an election?
12                   MR. MILLER:        Objection.        Calls for a legal
13     conclusion.
14                   THE WITNESS:         I don't know.         I'm not an
15     expert on audits, and I'm not an expert on the
16     policy that follows those.
17                   I am here to talk about ballot-marking
18     devices.      That's my expertise.             Not audits and the
19     policy that follows an audit.
20                   The things that you're asking as far as
21     the RLA, my understanding -- again, I'm not an
22     expert, you can ask the experts -- but those same
23     things would apply to hand-marked paper ballots,
24     meaning -- in other words, just use the word
25     "ballots."

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1                    If ballots -- if the risk-limiting
2      auditing found a problem with the ballots, then what
3      do you do?       The same scenario happens with any
4      ballot.
5      BY MR. CROSS:
6              Q     Of the many vulnerabilities or flaws that
7      Dr. Halderman reports in his July 1, 2021, report,
8      how many of those apply to hand-marked paper
9      ballots?
10             A     I don't recall, but I do recall in my
11     declaration that I discuss hand-marked paper ballots
12     as they relate to ballot-marking devices.
13             Q     So show me in your declaration from July
14     of this year which findings you identify from
15     Dr. Halderman's July 1 report could also occur with
16     hand-marked paper ballots.
17             A     Start at paragraph 6.             It goes to the
18     tampering of the -- it's the scanner.
19                   So if you have hand-marked paper ballots
20     you could tamper with the scanner and again give the
21     wrong outcome.         So it could give you a wrong number.
22     Whereas if you tamper with the QR code and went
23     through a scanner, it would give you a wrong outcome
24     as well.      Both scenarios give you a wrong outcome.
25     If the scanner is compromised, you would get a wrong

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1      outcome.
2              Q     So the only findings in Dr. Halderman's
3      report regarding the security of the Georgia
4      election equipment that you opine in your
5      declaration could apply to hand-marked paper ballots
6      are those that apply to the scanner; is that right?
7              A     I don't know that that's correct.                     That's
8      not what I said.          I gave you an example of one is
9      what I did.       I did not say that is the only one.
10     I'd have to -- I'd have to go through this again.
11     But I gave you -- you asked for one, and I gave you
12     one.
13             Q     All right.        So you've given me that maybe
14     some of his findings regarding scanners could apply
15     to hand-marked paper ballots.
16                   What else in your declaration identifies
17     any findings from Dr. Halderman that would apply to
18     hand-marked paper ballots?
19             A     Let me see.        I have to go through -- hold
20     on.
21                   One of the issues that is pointed out is
22     if -- hand-marked paper ballots, do voters verify
23     them?
24                   So for example, here in 20- -- I think
25     2020 or 2018, the governor's race, voters did not

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1      verify their hand-marked paper ballots, and we had a
2      huge undervote for the Senate race.                   And that was a
3      ballot design issue, we suspect.
4                    So verification as an issue relating to
5      printed ballot-marking device summaries also was an
6      issue for hand-marked paper ballots.                    That's another
7      correlation there.
8              Q     Is it your testimony that one of the
9      failings that Dr. Halderman details in his report
10     with Georgia's election equipment is the lack of
11     voter verification, that that's a cybersecurity
12     problem he identifies with the equipment?
13             A     That is an election security problem that
14     he identifies.
15             Q     Okay.
16             A     He's -- we talked repeatedly about the
17     Michigan study.
18             Q     Let me -- let me try the question again.
19                   Of the specific ways in which
20     Dr. Halderman finds that the Georgia election
21     equipment can be hacked in his July 1 report, how
22     many of those do you indicate in your declaration
23     could also apply to hand-marked paper ballots beyond
24     the ones that you say may apply to scanners?
25             A     I'm not sure -- again, I didn't do a

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1      point-by-point on all of his to compare it to
2      hand-marked paper ballots.               I reference in here
3      hand-marked paper ballots in my declaration to show
4      an area where that is a correlation.
5                    So I didn't elaborate on every single hack
6      that he had to say that it is also a hack of a
7      hand-marked paper ballot and in what way.                      I did not
8      do that.
9              Q     Are you offering an opinion that
10     hand-marked paper ballots -- you keep referring to
11     hacking of hand-marked paper ballots.                    What do you
12     mean by "hacking hand-marked paper ballots"?
13             A     If a voter decides, "I don't like any of
14     the candidates in this contest," that means they
15     don't fill in an oval.             So now you have what's
16     called an undervote.            And an insider could just fill
17     in an oval for whoever they want.                  I refer to that
18     as an undervote hack, the ability to add a vote.
19                   Now, the overvote hack, as I elaborated on
20     in my declaration, also says that if someone filled
21     in the oval for someone, a candidate, a person could
22     fill in an oval for another, causing an overvote,
23     which doesn't give a vote to a candidate but it
24     takes away a vote from a candidate.
25                   I also talk about, again, ballot design.

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1      There's ballot design issues.                You can do things
2      with ballot design to cause outcomes in an election.
3                    So those are things that I reference.
4              Q     But what you just referenced, those are
5      not computer hacks, right?
6              A     No.    The term "hacking" is not exclusive
7      to computers.
8              Q     You testified earlier that Dr. Halderman
9      is an expert on hacking and you're not, which is why
10     you didn't examine his hacking the election
11     equipment.       So now you're saying you are an expert
12     on hacking?
13             A     No, I'm not saying I'm an expert on
14     hacking.
15                   To be able to identify something and say
16     it exists doesn't require expertise.                    So the fact
17     that I can tell you that you can hack paper, meaning
18     the undervote hack or overvote hack, doesn't
19     necessarily say I'm an expert on hacking.                      I'm not
20     professing I'm an expert on hacking.
21             Q     You're not suggesting --
22             A     I'm identifying it.
23             Q     I see.      Okay.     Okay.
24                   The concern you've raised about ballot
25     designs with hand-marked paper ballots, that applies

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1      equally to BMDs, right?
2              A     You can have a poorly designed BMD.                   I
3      don't know that I would say it applies equally, but
4      I would say you can have a poorly designed BMD.
5              Q     In fact, are you aware that in 2020,
6      Georgia, the Secretary of state, reported that they
7      had to change the software -- update the software on
8      the BMDs because of a ballot design issue?                      Were you
9      aware of that?
10             A     No, I don't recall that.
11             Q     You weren't aware that there was an issue
12     reported by the Secretary of State that there were
13     so many candidates in a particular contest that they
14     had to change the software for the BMD in terms of
15     how that ballot gets presented?
16             A     That sounds familiar.             I'd have to go find
17     the article.        But that does sound familiar.
18             Q     That's not -- that's not something you
19     thought about or considered for your opinions in
20     this case; is that right?
21             A     No.
22             Q     Can malware or hacking cause voters to
23     write the wrong votes on a hand-marked paper ballot?
24                   MR. MILLER:        Object to form.
25                   THE WITNESS:         I don't know that there's

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1      such a thing as malware on paper.
2      BY MR. CROSS:
3              Q     Is there any form of hacking you're aware
4      of in the way you're using that term that can cause
5      voters to write the wrong selections on a paper
6      ballot?
7              A     Yes.     We can design it so that they can
8      write -- in the year 2000, in the State of Florida,
9      we had a presidential election, and we were using
10     hand-marked paper ballots, and several voters left
11     having voted for the wrong person because of a
12     ballot design issue.
13                   So yes, you can design a paper ballot and
14     have voters mark the wrong person.
15             Q     And you're -- sorry.
16             A     Yes, that is accurate and has been
17     documented.
18             Q     And you're calling that hacking?
19             A     I call it -- we call it hacking or ballot
20     design.      The term -- I don't have a particular term
21     for it.
22                   What I'm saying is paper has issues, and
23     I'm showing you the issues.
24             Q     I'm asking a very precise question,
25     Dr. Gilbert.

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1                    Is there any form of hacking -- hacking --
2      that can cause a voter to fill in a vote in a
3      contest that they do not intend?
4              A     Yes.
5              Q     Okay.     What's that?
6              A     I gave you an example.              Florida 2000 did
7      exactly that.         Yes.
8              Q     Okay.     So you -- it's your opinion that in
9      Florida in 2000, whoever designed the ballot
10     designed it in a way deliberately to cause voters to
11     do that; they were hacking the votes that voters
12     cast so that the voters would fill in votes they did
13     not intend; is that your opinion?
14                   MR. MILLER:        Objection.
15                   THE WITNESS:         No, no.      I didn't say --
16     BY MR. CROSS:
17             Q     How is that hacking?             How is that hacking?
18             A     As I mentioned, I used the term "hacking"
19     or "bad design."          It's intentional or unintentional.
20                   The term is -- to me, it's not important.
21     What I'm showing you is that there are issues with
22     paper, meaning paper can cause -- to answer your
23     question, paper can cause a voter to select the
24     wrong person or have the wrong entry.                    Yes.       That
25     was your question.           Yes, paper can do it, and we

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1      have seen that.
2              Q     That was not my question.               I'm going to
3      try it one more time.            I'll remind you of what Judge
4      Totenberg told you.           You don't get to change the
5      subject of the question, Doctor.
6                    MR. MILLER:        Objection.        David --
7      BY MR. CROSS:
8              Q     My question to you is, can you offer any
9      way in which a hand-marked -- in which hacking --
10     okay, I'm not talking about just your general view
11     on the unreliability or the issues that come up with
12     paper ballots marked by hand.
13                   Can you identify any way in which hacking
14     can cause a voter to make a selection on a ballot
15     they did not intend, yes or no?
16                   MR. MILLER:        Objection.        Asked and
17     answered.
18                   THE WITNESS:         Yes.
19     BY MR. CROSS:
20             Q     Okay.     And what is the form of hacking
21     that you're talking about?
22             A     I can design a ballot in such a way that
23     it would cause them to incorrectly record their
24     mark, options.
25             Q     And that's true for both a BMD and a

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1      hand-marked paper ballot; is that right?
2               A    It's possible, yes, for both.
3               Q    Are you talking about designing it in that
4      way with the intent of making voters select
5      something other than they intended, or are you
6      saying that would just be an inadvertent consequence
7      of the design, or both?
8               A    I'm saying it could happen either way.
9                    I don't know the intention of the
10     individual who's done it.              I have not interviewed a
11     person who's done it to determine if it was
12     intentional or not.           I can only tell you it has
13     actually happened; therefore, we have evidence that
14     this has occurred.
15              Q    But you're not aware of any instance where
16     it's been established that a ballot was designed
17     with the intent of causing voters that voted by hand
18     to vote for a candidate they did not intend to,
19     right?
20              A    I am not aware of any documented case
21     where someone purposely did that.                  I am not aware of
22     a documented case.
23              Q    You're aware that -- sorry.                I just got an
24     echo for a second.
25                   Doctor, are you aware that in Florida in

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1      2006, there was a poor ballot design on an
2      electronic interface for elections that caused many
3      thousands of undervotes?
4              A     Yes, I'm aware of that.              Sarasota.
5              Q     In fact, the magnitude of the undervotes
6      potentially could have changed the outcome of that
7      congressional race given the magnitude.
8                    Are you aware of that possibility?
9              A     Yes, I am aware.           And that was a DRE, if
10     I'm not mistaken.
11             Q     Are you familiar with Michael Shamos?
12             A     Yes, I know him.
13             Q     Do you communicate with him regularly?
14             A     No, I do not.
15             Q     Have you communicated with him about this
16     case or the issues in this case?
17             A     No.
18             Q     Were you aware that the state engaged him
19     as an expert in this case before you?
20             A     I don't -- I don't recall that.                  I know
21     Michael has been on other cases that I've been on,
22     so I don't know.
23             Q     So you haven't reviewed any of his
24     testimony, written or oral, for your opinions in
25     this case; is that right?

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1              A      No.
2              Q      I gather you're not aware that he
3      testified in this case on behalf of the state that
4      he advises not using QR codes for BMDs; you were not
5      aware of that?
6              A      No, I was not aware of that.
7              Q      And you disagree with Dr. Shamos on that?
8              A      I think that you can do it without the QR
9      code.       I think that's a solution that would get rid
10     of a lot of these issues that we're discussing.                     So
11     I think it's feasible to do that.
12                    Since you're asking about QR code, I guess
13     I'll be full disclosure here.
14                    I have a forthcoming -- a paper under
15     review where we've created something called informed
16     optical character recognition, IOCR, that has given
17     100 percent accuracy in OCR for ballots.                     So that's
18     a forthcoming solution in probably 2022.                     So I have
19     worked in this area as well.
20             Q      Are you aware that the Dominion equipment
21     that's used in Georgia currently already has the
22     ability to scan and count the human-readable portion
23     of the BMD ballot rather than the QR code?
24             A      I can't remember -- I get them mixed up.
25     I can't remember if they had that, but I don't

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1      know -- I haven't seen any data to see how accurate
2      it is, how it works.            I haven't seen any of that.
3              Q     That's not something you considered for
4      your opinions; is that right?
5              A     I haven't seen it, so I don't know that I
6      can opine on that as far as Dominion's -- how they
7      do it, the accuracy.            I don't have any knowledge of
8      that.
9              Q     Do you share Dr. Shamos's recommendation
10     against using QR codes with BMDs for elections in
11     the United States?
12             A     I think BMDs can -- QR codes can be used,
13     so I'm not totally against them.                  But I think -- if
14     I had my choice, I would recommend not using them to
15     eliminate all these discussions and concerns around
16     them.
17             Q     Looking at paragraph 15 of your July
18     declaration again -- and if you need to pull that up
19     again, Dr. Gilbert, feel free.                 It's --
20             A     I got it.
21             Q     Okay.
22             A     Okay.     I got it.        Yeah.
23             Q     Where you indicate here that you're not
24     aware that Dr. Halderman has provided equipment
25     marred by undetectable hacks to any other

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1      independent researcher to test his theory that it
2      is, in fact, undetectable and not correctable, did
3      you recommend to your client, the Secretary of
4      State's office in this case, that they do that?
5                    MR. MILLER:        Dr. Gilbert, I'm going to
6      instruct you not to answer that question on the
7      basis of privilege.
8      BY MR. CROSS:
9              Q     Are you declining to answer?
10             A     I decline.
11             Q     Have you made any recommendations to
12     anyone that this independent research that you
13     identified in paragraph 15, that that should occur
14     in the State of Georgia for its election system?
15             A     I don't recall.
16             Q     And why would you not make that
17     recommendation as an election security expert who's
18     concerned about the reliability of elections in
19     Georgia and elsewhere?
20             A     My understanding is getting access to the
21     equipment for general studies like that is a
22     complicated matter, as I mentioned before.
23             Q     But you now know that it's available here
24     just as it was to Dr. Halderman.                  I think we've been
25     over this, right?

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1              A      The fact that the machine is available, as
2      I mentioned, is only available if Dr. Halderman has
3      it first.       Dr. Halderman -- it does no good -- if
4      Dr. Halderman and I get the same equipment and I
5      institute the hack, and then I say, "I found the
6      hack," again, I would ask Dr. Halderman, would he
7      accept that ruling?
8                     If he's willing to accept that, I would be
9      very happy to get machines and institute his hack
10     and then be able to report whether or not I found
11     that.
12                    To me, that's not a scientific way to do
13     this.       And I don't think Dr. Halderman would agree
14     to that.
15             Q      Let me make sure I understand.
16                    You're saying you don't think
17     Dr. Halderman would agree that you should get access
18     to the same equipment he had, institute the same
19     steps that he took, to determine whether you find
20     the same hack that he found?
21             A      Institute the same things, and then say,
22     "Oh, I found it and corrected it"?                   Yeah, I don't
23     think he -- I don't see him agreeing to that.
24             Q      And what basis do you have for believing
25     that Dr. Halderman would not agree to that?

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1              A     Because Dr. Halderman does research in
2      these areas, and I don't think this is a proper
3      research protocol.           It doesn't make sense.
4                    In other words, if I'm going to implant a
5      hack, of course I know where the hack is.                      How can I
6      then declare that I found the hack?                   That doesn't --
7      I don't know how that would work.
8                    But I would love the opportunity for
9      Dr. Halderman to answer that question.                    If
10     Dr. Halderman was -- and if I'm wrong, I'd be happy
11     to take Dr. Halderman's advice, and I would follow
12     his protocol, implement his hack, and then tell him
13     if I could find his hack.
14             Q     Do you understand that Dr. Halderman has
15     repeatedly offered to Dominion to do exactly what
16     you're suggesting, that they look at his report,
17     they go step by step through it, and determine
18     whether his findings are accurate?
19                   MR. MILLER:        Objection.        Lack of
20     foundation, misstatement.
21                   THE WITNESS:         I'm not -- I'm not -- I
22     don't know that.          I can't -- I don't know that he's
23     done that.
24     BY MR. CROSS:
25             Q     So take as a given that Dr. Halderman has

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1      repeatedly offered to Dominion to provide them his
2      report, to meet with them, and to even work with
3      them to test or validate his findings and even take
4      remedial measures.
5                    Would that affect your view on whether he
6      would agree to allow you or another independent
7      researcher to do that?
8              A     I don't -- that has no pending on my view
9      of whether he would do that.                Those are independent.
10     I don't know that that matters on my view.
11             Q     You offer the view that you thought he
12     would not allow anyone to do that, and yet he's
13     offered it to Dominion.             Does it affect your view?
14             A     No, you misinterpreted what I said.                   That
15     is not what I said.
16                   What I said is Dr. Halderman -- I do not
17     believe he would agree to the following:                     I would
18     get a machine.         I would follow his steps to
19     implement a hack.          Then I would report if I found
20     that hack on that machine, and if I corrected that
21     hack on that machine.
22                   I don't think he would be in line to allow
23     such an experiment.           I don't know how else to make
24     it more clear.
25             Q     That's exactly what he's offered to

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1      Dominion.       I will represent to you and ask you to
2      take it as an assumption.
3                     Does that change your view if you assume
4      what I've told you to be true?
5                     MR. MILLER:       Objection.        Asked and
6      answered.
7                     THE WITNESS:        Change my view?          What view
8      are you -- I don't understand what you ask to
9      change.
10                    My view is that Dr. Halderman would not
11     support an individual following his steps and then
12     saying they found the attack.                That is my view.
13     BY MR. CROSS:
14             Q      And I'm telling you that he has offered
15     exactly that to Dominion on numerous occasions.
16                    And so in light of that, if you just take
17     that as a given, does it change your view that he's
18     unwilling to have anyone do that?
19             A      Well, if he's done that, then obviously
20     he's not unwilling.           I never said he was unwilling
21     to do that.       I said to my knowledge, it has not been
22     done.       That exercise, to my knowledge, has not been
23     done.
24                    But I think that's an exercise that should
25     be done in the future in general -- in general

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1      terms, and I think that's an area where
2      Dr. Halderman and I probably could work together in
3      the future.
4              Q     Do you have any understanding as to why
5      Georgia Secretary of State's office has refused to
6      do that themselves with an independent researcher?
7              A     I do not.
8              Q     Do you have any understanding as to why
9      Dominion has refused to do that?
10             A     I do not.
11             Q     Do you have any understanding as to why
12     Fulton County has refused to do that?
13             A     I do not.
14             Q     Are you aware of any protocols or steps
15     that Georgia takes in the ordinary course that would
16     detect any of the hacks that Dr. Halderman reports
17     in his July 1 declaration or his July 1 report?
18             A     I can't recall all the steps that they
19     take off the top of my head as far as their testing
20     and verification steps.             That's not something I have
21     in memory, so it's hard for me to answer that
22     question to say were they aligned with things he's
23     done.
24             Q     You don't address that in your July 2021
25     declaration, correct?

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1              A     I do not.
2              Q     The analysis or testing that you suggest
3      in paragraph 15 of your report, what steps would you
4      describe should be taken for an independent
5      researcher who would do that work?                   What should they
6      do?
7              A     All right.        So what I would recommend
8      is -- and this is a very important question -- I
9      think that Dr. Halderman would have particular
10     voting equipment.          He would institute his hack.
11     That particular voting equipment would be sent to a
12     third party, and then the third party would be --
13     would use that equipment, and then try to identify
14     if there's any alterations or any issues with the
15     equipment.
16                   If they identify anything, they would
17     document it, and they would document any resolutions
18     that they took to eliminate it.
19                   That's at a very high level, but that
20     would be the protocol, I would think.
21                   And then they would report that back to
22     Dr. Halderman, and Dr. Halderman would acknowledge
23     if they found everything, if anything, et cetera.
24     So that's the way that I would anticipate something
25     like that occurring.

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1              Q     Are you aware that no one at the Secretary
2      of State's office has actually reviewed
3      Dr. Halderman's report?
4              A     No, I'm not aware of that.
5              Q     Does that surprise you?
6              A     I don't have an opinion either way.                   I
7      don't know.
8              Q     Given the many findings Dr. Halderman has
9      about the security of the election equipment used in
10     Georgia, wouldn't you expect those who are
11     responsible for administering elections to at least
12     read the report to determine whether they need to
13     address any of those findings?
14                   MR. MILLER:        Objection.        Asked and
15     answered.
16                   THE WITNESS:         I don't -- I don't have an
17     opinion.      I think someone should read it.                  I don't
18     know who.      I don't know the protocols of chain of
19     custody and how those things work in the State of
20     Georgia, so I can't answer that directly because I
21     don't -- these are things that I don't know and are
22     outside of my expertise.
23     BY MR. CROSS:
24             Q     We talked about the Michigan and Rice
25     voter verification studies, and one thing you

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1      pointed out about those was that they did not occur
2      in a real election, right?
3               A    Right.
4               Q    And then we talked about the Georgia voter
5      verification study that the Secretary of State
6      commissioned.        One of the things you pointed out
7      about that is they didn't flip votes like they did
8      in the Michigan and Rice studies, right?
9               A    I haven't read it, but I suspect they
10     didn't flip the votes.
11              Q    Is it your opinion that the only way to
12     conduct a valid study of voter verification is to do
13     it in an actual election where you're flipping
14     votes?
15                   MR. MILLER:        Objection to form.
16                   THE WITNESS:         No.
17     BY MR. CROSS:
18              Q    So you're not suggesting that that's
19     required, right?
20              A    No, I am not.
21              Q    And the study that you've talked about
22     today that you performed with your new BMD prototype
23     has the same condition as the Michigan and Rice
24     studies in that that was not conducted in a real
25     election, right?

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1              A     Correct.
2              Q     Are you aware that you're the only expert
3      in this case retained by defendants that, to our
4      knowledge, has even read Dr. Halderman's July 1
5      report?
6              A     I was not aware.
7              Q     Does that concern you?
8              A     You just informed me.             I haven't had a
9      chance to form an opinion on it.                  I don't know.          I'd
10     have to think about it.
11             Q     As you sit here today as an election
12     security expert, does that raise any concern for
13     you?
14             A     I don't know.         I'd like to hear more
15     context around why that is.               It generates questions
16     for me, and I don't know.              I don't have an opinion
17     at this point.         It's something I have to digest and
18     then think about.
19             Q     What questions does it generate?
20             A     First of all, why is that the case?                   Is
21     there -- there may be a justification for that.                          I
22     don't know.
23             Q     What justification comes to mind?
24             A     I don't have one.
25                   MR. MILLER:        Objection.        Relevance.

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1       BY MR. CROSS:
2                Q   I'm sorry.        You said, "I don't have one"?
3                A   Yeah.     I don't have one.            I'm not
4       speculating.        I don't know.         I would want to know.
5       I don't want to speculate.
6                Q   Understood.
7                    Do you still have your July declaration in
8       front of you?
9                A   I can get it.         Yes.
10               Q   Just let me know when you have it.
11               A   I have it.
12               Q   Okay.     So take a look at paragraph 6.
13                   Do you see that?
14               A   Paragraph 6?         Let me get there.           I am
15      there.
16               Q   If you look at the end of paragraph 6, the
17      last two sentences, do you see that you wrote, "As I
18      have also stated before, even under a hand-marked
19      ballot system, computers must still be utilized,
20      e.g., scanners and voter registration systems.
21      Accordingly, this general statement is largely
22      irrelevant"?
23                   Do you see that?
24               A   Yes.
25               Q   And the general statement you're referring

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1       to is in the preceding sentence which reads, "I
2       agree that any computer can be hacked with enough
3       access and knowledge of a determined malicious
4       actor."
5                      Right?
6                A     Right.
7                Q     Are you offering an opinion that there are
8       no increased risks with BMDs over hand-marked paper
9       ballots even though BMDs include at least two
10      additional computer components, the BMD and the
11      printer?
12                     MR. MILLER:      Object to form.
13                     THE WITNESS:       I am offering that risk
14      exists with computing devices.                Therefore, there's a
15      risk in both.
16      BY MR. CROSS:
17               Q     And one of the important things to do --
18      sorry.       Strike that.
19                     One of the things to do that's important
20      as an election security expert is to evaluate the
21      level of risk, not just whether risk exists at all;
22      you'd agree with that?
23               A     Yes.
24               Q     And you don't dispute that BMD systems
25      pose greater risk than hand-marked paper ballots in

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1       terms of manipulation through the computer equipment
2       because there's extra equipment, right?
3               A      I -- I take issue with that from the
4       perspective of just counting and saying that there's
5       more computer equipment, therefore, there's more
6       risk.       I don't agree with that.            I don't agree with
7       that analogy.
8               Q      One of the things that you point out is
9       that with hand-marked paper ballots, an insider can
10      alter votes where there are undervotes or overvotes,
11      for example, right?
12              A      Yes.
13              Q      And an insider can also alter votes in a
14      BMD system; we're agreed on that, right?
15              A      Can you give me the scenario by which
16      you're referencing that?
17              Q      Sure.    Any of the ways that Dr. Halderman
18      identifies in his July 1 report.
19              A      In the ways that he designated, an insider
20      with a certain level of technical expertise could
21      certainly do that versus with a hand-marked paper
22      ballot, 100 percent of the people inside can do
23      that.
24              Q      Taking the undervote, for example, where
25      a -- a situation where, on a hand-marked paper

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1       ballot, a voter does not fill in any selection for a
2       particular contest, that's what we're talking about,
3       right?
4                A   Yes.
5                Q   And so you're saying in that situation, an
6       insider could come in with a pen and fill in a vote
7       for that -- that voter that that voter did not
8       intend, right?
9                A   Correct.
10               Q   And you've posited in the past that that
11      takes, say, at least two to five seconds to do that,
12      right?
13               A   Correct.
14               Q   And the insider has to do that one ballot
15      at a time, right?
16               A   Correct.
17               Q   And the insider has to have access to each
18      ballot, the paper ballot, that they are
19      manipulating, right?
20               A   Right.      That's the point.           Yes.
21               Q   And they have to have access to each of
22      those ballots in an environment where they're not
23      going to be detected, right?
24               A   Correct.
25               Q   And so for an insider to -- strike that.

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1                     For an election where the contest is
2       decided by, let's say, a 20,000-vote differential,
3       over 10,000 votes would have to be altered, flipped,
4       to reverse the outcome of that election, right?
5               A     The margin of victory is 20,000 votes.                    So
6       if you alter 10,000 of one, yes, that would break
7       even.
8               Q     Well, 10,000 would break even.                 10,001
9       would flip the result, right?
10              A     Correct.
11              Q     And in the world where we've got
12      hand-marked paper ballots and an insider that's
13      changing maybe undervotes or overvotes in that
14      election, they're going to need at least two to five
15      seconds with over 10,000 ballots in an environment
16      where they have access to each ballot and they can
17      do it undetected, right?
18              A     That sounds right.
19              Q     With the hacks that Dr. Halderman
20      identifies in his report, an insider could
21      mass-change 10,000 -- hundreds of thousands of votes
22      in a matter of minutes with access to the election
23      equipment, right?
24              A     It depends on which hack you're
25      identifying.

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1               Q    There are hacks that he identifies in his
2       report that allow that, right?
3               A    It depends on which hack.               Can you tell me
4       which hack you're referencing?
5               Q    We're going to get to that.                But right now
6       I'm trying not to get into the sealed stuff.                       I
7       just -- I just -- do you agree that there are hacks
8       identified in Dr. Halderman's report, at least one
9       or more hacks, that would allow an insider to change
10      votes on a mass scale, thousands, tens of thousands
11      or hundreds of thousands of votes, in a matter of
12      minutes with malware?
13                   MR. MILLER:        Objection.        Asked and
14      answered.
15                   THE WITNESS:         Again, I need to know the
16      specific hack.        I -- I don't want to claim that that
17      is the case without knowing the hack.
18      BY MR. CROSS:
19              Q    As you sit here, you don't remember
20      whether there are any such hacks in his report?
21              A    I need the context.            I don't -- I need the
22      context.
23              Q    What about a hack where the malware
24      changes the QR code and flips it from the intended
25      selection by the voter?            Are you with me?

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1                A     Okay.
2                Q     You understand that that is a hack that is
3       included in his report, right?
4                A     Okay.
5                Q     And you understand that an insider that is
6       able to put that malware into the system could do
7       that in a matter of minutes and change votes on a
8       mass scale, right?
9                      MR. MILLER:      Object to form.
10                     THE WITNESS:       I don't know on a mass
11      scale.       An insider could do that and -- again, it
12      depends on the hack.
13                     So my colleagues, Dr. Halderman,
14      Dr. Appel, several of them have said to me
15      repeatedly, when we do have the opportunity to talk,
16      that if they were going to hack an election, they
17      wouldn't change every vote.              They'd selectively
18      change.
19                     So when you say change a certain quantity,
20      that's why I need more context.                Because even they
21      won't admit that they're changing every vote from a
22      candidate to another candidate.
23                     So to say that it's a large scale, to say
24      that it would change a certain number, I need more
25      specifics, and then I can answer your question

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1       accurately.
2                      Because the context that I've been given
3       by them repeatedly is that, "No, no, no, no, no.
4       The reason no one is going to detect is because we
5       don't change all of them all the time.                   We don't
6       change that frequently."
7                      So I hear that from them repeatedly.                   And
8       then your line of questioning suggests something
9       otherwise, so I need you to be specific so we have
10      this accurately recorded.
11      BY MR. CROSS:
12               Q     All right.      Let's do it this way:               You've
13      got an insider who's changing votes on a hand-marked
14      paper ballot that takes them two to five seconds at
15      least, right?
16               A     Okay.
17               Q     Okay.   So let's say an average of 3.5
18      seconds.       We'll split it right down the middle.                   Are
19      you with me?
20               A     Okay.
21               Q     So we've got 10,000 votes that are getting
22      changed every 3.5 seconds, right?                 That gets us to
23      about 2,800 seconds.           We divide that by 60, we get
24      to 47 -- make sure I get this right.                   Hold on.
25      Sorry.       I did that wrong.        I'll do this again.

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1                      Right.     So 10,000 ballots at three and a
2       half seconds would be 35,000 seconds on average to
3       change 10,000 ballots, right?
4                A     Okay.
5                Q     Okay.
6                      MR. MILLER:      Object to form.
7       BY MR. CROSS:
8                Q     And we divide that by 60, we get to over
9       583 minutes.         Divide by 60 again, we get to almost
10      ten hours that it would take an insider to change
11      ballots in the way that you've suggested for
12      hand-marked paper ballots, which they would have to
13      do in an environment where they have access to the
14      ballots for ten hours and can do it undetected,
15      right?
16               A     Right.     According to your analysis, that
17      scenario plays out.
18               Q     Do you understand that Dr. Halderman has
19      identified hacks -- for example, one that's commonly
20      discussed with these types of BMDs is changing --
21      flipping the QR code in a way that that could happen
22      in minutes, right, where an insider can embed the
23      malware in the BMD within minutes and flip 10,000
24      votes?       You understand that, right?
25               A     No.     So let me make sure I understand what

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1       you're asking.
2                    Someone inserts malware that's going to
3       change the QR code, so it's going to change 10,000
4       votes and only 10,000 votes.
5                    So what happens if that particular
6       precinct only has 5,000 votes?                So it changed all
7       5,000 votes.        And is it changing the QR code and the
8       human-readable text or just the QR code?
9                    There's so many -- I need more context.                   I
10      don't know how else to put it.
11              Q    Okay.     All right.        We'll come back to it
12      when we walk through Dr. Halderman's report.
13                   Do you have your declaration in front of
14      you again?
15              A    Yes.
16              Q    Okay.     In paragraph 8, you write, "Neither
17      of the Curling experts offer any scientific research
18      regarding voters' proclivity to review hand-marked
19      paper ballots to ensure their ballots are marked and
20      will count as intended."
21                   Do you see that?
22              A    Yes.
23              Q    And you don't identify any such research
24      yourself, right?
25              A    Right.

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1               Q    And we agree that any error on a
2       hand-marked paper ballot at the time the voter
3       completes the ballot is caused by the voter, right?
4               A    No.
5               Q    Okay.     How is that not accurate?
6               A    In Florida in the year 2000, there was a
7       ballot design that caused errors that were not the
8       fault of the voter.          That's an example.
9               Q    The ballot design caused the voter to fill
10      in a selection they did not intend; is that what
11      you're saying?
12              A    Exactly.
13              Q    But the selection that appeared on the
14      ballot was manually entered by the voter with a pen
15      or pencil, right?
16              A    Correct.
17              Q    Paragraph 9, do you have that in front of
18      you?
19              A    Yes, I do.
20              Q    Do you see five lines down, you write,
21      "Time spent reviewing a ballot, however, has little
22      to do with whether it was actually verified"?
23                   Do you see that?
24              A    Yes.
25              Q    Is that something you really believe?                 You

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1       stand by that claim?
2               A    I -- I do stand by the claim that time
3       spent reviewing doesn't guarantee accuracy of that
4       review.
5               Q    That's not -- sorry.
6               A    So again, I mention in studies that I've
7       seen, there's been this assumption because there was
8       thought that people didn't spend a lot of time,
9       whatever that is, that they could not have
10      accurately reviewed their ballot.                 And I don't agree
11      with that.
12              Q    But what you just said is not what you
13      wrote here, right?          You didn't write anything about
14      guaranteeing.       What you wrote is "Time spent
15      reviewing a ballot, however, has little to do with
16      whether it was actually verified."
17                   Do you stand by that statement?
18              A    Yeah, I do, because you can review a
19      ballot and not review the entire ballot.                    You can
20      spend a lot of time looking at a particular contest.
21      You can -- there's so many different ways that time
22      spent can not be an accurate measure of reviewing
23      the ballot.
24              Q    So it's your opinion that whether a voter
25      spends one second versus, say, 30 seconds reviewing

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1       a ballot tells us nothing at all about the
2       likelihood of whether that voter has accurately
3       verified the selections; is that your opinion, sir?
4               A    No, I don't say "nothing at all."                     I won't
5       say "nothing at all."
6               Q    In fact, it can tell us a lot, right?                     We
7       can reasonably conclude that someone who spent only
8       a second or less reviewing a two-page ballot that
9       has lots of contests has very likely not verified
10      the accuracy of all those contests, right?
11              A    I won't agree with that.               I would want
12      data to support that.
13                   I think there's scenarios where -- that a
14      small amount of time could result in an accurate
15      verification.       In particular, if the voter voted
16      party -- straight party.             That's -- and again, it
17      depends on the design of the ballot summary.
18      There's things that can make less time spent and
19      easier verification.
20              Q    So you think that a two-page ballot that
21      has numerous contests on both pages, on the front
22      and back, even for a voter who voted the same party
23      on every selection, that they could reliably review
24      that for every contest in under a minute -- I'm
25      sorry -- in under one second?               That's what you're

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1       saying?
2               A      Under a second?         I have to see it.            That's
3       a challenge, but again, I would honestly -- I think
4       that is a challenge.            I think that is a challenge.
5       For less than a second, I think that could be a
6       challenge.
7               Q      Did you -- sorry.          I may have asked you
8       this before.
9                      Did you review Dr. Philip Stark's response
10      to your declaration in this case?
11              A      I don't recall.         I may have.        I don't
12      know.       It just depends.        Can you tell me what the
13      particular question or context is?                   And then I could
14      tell you if I recall that.
15              Q      Do you recall that he cited studies of
16      reading that report rates of about 138 words per
17      minute to 600 words per minute for college students
18      depending on the goal?             Do you recall that?
19              A      Yes, I do.
20              Q      And the studies also indicated for general
21      tasks, a typical rate is 300 words per minute.
22                     Do you see that?
23              A      Yes.
24              Q      He then walked through exactly what you've
25      just described about looking at data on the degree

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1       and speed at which individuals can read, and
2       indicated that for a typical ballot in Georgia in
3       the recent elections, it's going to take a lot more
4       than one second to verify each contest.
5                    Do you recall that?
6                    MR. MILLER:        Objection.        Lack of
7       foundation.
8                    THE WITNESS:         I don't understand the
9       question.     Do I recall -- I recall the minutes, but
10      I don't understand your question.
11      BY MR. CROSS:
12              Q    Do you recall that he pointed out that
13      exemplar ballots contained between 16 contests in
14      Clark County as one example he cites and 27 contests
15      in Oconee County?         Do you remember that?
16              A    I don't remember that, but that doesn't
17      sound unusual.
18              Q    He points out that five seconds to review
19      27 contests would be only 0.185 seconds per contest.
20                   Do you see that?
21              A    I don't see it, but I understand the math
22      behind it.
23              Q    Okay.     As you sit here today, you don't
24      dispute any of the analysis that he provides in his
25      declaration responding to you on the amount of time

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1       that it would take, based on the studies that were
2       conducted on reading rates, to verify ballots in
3       Georgia election, right?
4               A    No, I absolutely dispute it, and on the
5       basis that Dr. Stark is a brilliant statistician,
6       and I'm not surprised by these numbers.                    But again,
7       they forget the human condition.
8                    So notice that in all the things you just
9       read, you said, "reading."              "Read."      "Reading."
10      "Read."     "Reading."       You used that word several
11      times, and so did he.           You assume that you have to
12      read the ballot to confirm and verify the
13      selections.
14                   So there's a notion we call sight words,
15      meaning kids learn to read using sight words,
16      identifying words upon sight.               You don't actually
17      have to read the line to identify that anomaly on
18      the line.     You can identify anomalies by looking at
19      them, not necessarily reading them.
20                   Now, I don't recall him having data on
21      identification of anomalies upon sight, which is the
22      more accurate way to look at this, versus how --
23      what it takes to read text and things like that.
24                   So that's why I would object to his -- I
25      think the numbers are correct in the context of

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1       reading, but I don't think this exercise is a
2       reading exercise.
3               Q    In the Georgia Secretary of State
4       commissioned study on actual elections for voter
5       verification, are you aware that it found that more
6       than half of voters observed either spent no time at
7       all reviewing their ballot or did so for less than
8       one second?      Were you aware of that?
9               A    I don't recall that.
10              Q    So in a contest like Oconee, in an
11      election like in Oconee County where there are 27
12      contests, are you offering an opinion that voters
13      could verifiably -- sorry.              Strike that.
14                   In an election like in Oconee County where
15      there were 27 contests, are you offering an opinion
16      that voters can typically, reliably verify their
17      selection on each of those 27 contests by reviewing
18      their ballot in under one second?
19                   Is that an opinion you're offering in this
20      case, sir?
21                   MR. MILLER:        Objection.        Form.
22                   THE WITNESS:         No, that is not my opinion.
23      BY MR. CROSS:
24              Q    Take a look at paragraph 12 of your
25      declaration, please.

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1               A    Okay.     Got it.
2               Q    Here, you posit a hypothetical based on, I
3       think it's the Michigan study, where you take the
4       6.6 percent from in paragraph 12 at the end.
5                    Do you see that?
6               A    Yes.
7               Q    And you say, "But that means the other
8       6.6 percent that did notice," which, in your
9       hypothetical, would be 832 votes based on the
10      Trump/Biden election in 2020, you say that for those
11      voters, they "simply did not say anything or
12      otherwise simply corrected their ballot and thought
13      nothing of it then or since."
14                   Do you see that?
15              A    Yes.
16              Q    You say, "I find this unlikely in light of
17      my experience, qualifications, and recent work in
18      the field in relation to my transparent BMD
19      prototype."
20                   Do you see that?
21              A    Yes.
22              Q    At the end of that paragraph, you write,
23      "Even still, it would mean there are 832 spoiled BMD
24      ballots from that 2020 Biden/Trump election," right?
25              A    Yes.

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1               Q      But you don't indicate anywhere in your
2       declaration how many spoiled ballots there were in
3       that election, right?
4               A      Right.     I don't have that data.
5               Q      Did you ask the state for it?
6               A      I don't recall.         I don't think so.            I
7       don't recall.
8               Q      You didn't think it was relevant for your
9       analysis in saying that 832 spoiled ballots might
10      indicate something, and you didn't want to know
11      whether that number of spoiled ballots actually
12      exist in the election?
13              A      I've searched for it.            I couldn't find the
14      data.       I didn't ask the state, but I searched for
15      it, and I couldn't find that data.
16              Q      Why didn't you ask the state or Fulton
17      County?
18              A      I don't know.        It didn't occur to me to
19      ask them.
20              Q      Would it surprise you to learn that in the
21      Biden/Trump presidential election, there were a lot
22      more than 832 spoiled ballots?
23              A      No, it wouldn't surprise me if there were
24      more than that number of spoiled ballots, but
25      specifically whether those spoiled ballots

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1       specifically had a vote for Biden.                   How many spoiled
2       ballots had Biden on them?               That's the bigger
3       question.
4                Q    And that's not a question you posed to
5       your clients, right?
6                A    I have not.
7                Q    And have you recommended to anyone that
8       they should look into that to determine whether
9       there are 832 spoiled ballots or more with Biden on
10      them?
11               A    No, I have not.
12               Q    You don't think that's something somebody
13      should take a look at?
14                    MR. MILLER:        Objection.
15                    THE WITNESS:         I think someone could take a
16      look at it, but you -- I understand your position on
17      this, but you completely ignored the previous
18      comment, which is, if that many people had their
19      votes switched, and again, from my experience, in
20      particular, a vote where they were voting for Trump
21      and it switched to Biden, there would have been
22      chaos.
23                    And so I don't recall chaos on election
24      day around votes being switched from Trump to Biden.
25      I don't see that scenario playing out, where people,

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1       from my experience, would have just taken that and
2       not gone crazy with it.
3                    So that's why I didn't raise it as an
4       issue, but I don't think there's any scenario where
5       this could have played out.
6       BY MR. CROSS:
7               Q    Do you know how many Georgia voters voted
8       for -- voted in the presidential contest in 2020?
9               A    I don't know off the top of my head.                  I
10      had that data at one time.
11              Q    Do you know what percentage 832 voters
12      would be of that total?
13              A    I know it's very small.              I don't remember.
14              Q    A lot less than 1 percent, right?
15              A    Okay.
16              Q    I mean, you don't dispute that, right?
17              A    I don't -- I don't have the numbers.                  If
18      you'd like, I can Google and ask how many people
19      voted in Georgia, and that would give me the number,
20      and then I could get a percentage directly off of
21      that number.
22              Q    Are you aware that Georgia has deployed
23      over 30,000 BMDs across the state for that election?
24              A    I was not aware of the exact number.                  I
25      know it was in the thousands, but I didn't know the

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1       exact number.
2               Q     And do you recall that Dr. Appel explains
3       in his response to your declaration that with over
4       30,000 BMDs and 832 spoiled ballots, that would
5       amount to only a single spoiled ballot for at least
6       every 36 BMDs across the entire state on average?
7       Do you recall that?
8               A     Vaguely.       I don't recall off the top of my
9       head.
10              Q     And he went on to explain that in that
11      scenario, most BMDs would have no spoiled ballots
12      from any voter claiming an error on the ballot, and
13      a handful of BMDs would have only one such spoiled
14      ballot.
15                    Do you remember that?
16              A     Vaguely, but -- okay.
17              Q     So it's your testimony in this case that
18      if voters reported a single spoiled ballot with
19      respect to only every 36 BMDs across the entire
20      state, that that would lead to chaos in the
21      election; that's what you're saying?
22                    MR. MILLER:        Objection.
23                    THE WITNESS:         That's not what I'm saying.
24                    What I'm saying is if -- actually, that
25      scenario is actually more true than you probably

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1       imagine.     A single voter whose vote is flipped can
2       lead to chaos.
3                    And so, again, ignoring the human
4       condition, I understand that statistically it seems
5       that it morphs in reality from a statistical
6       perspective.       But again, you're ignoring the human
7       condition.
8                    To flip those number of votes, and
9       people just ignore it, I don't think that's a
10      reality.     That is not reality.             Based on -- when I
11      did my study with the transparent voting machine, I
12      did a combination of a Florida 2018 and a Florida
13      2020 ballot that had the presidential election on
14      it, and flipping votes disproportionately higher at
15      the top of the ballot with the presidential
16      election.     And flipping those votes caused reactions
17      that would not have gone unnoticed, and that's even
18      in the study.
19                   So for my observation as an expert in this
20      field dealing with human subjects and human studies
21      in the real world, this would have been catastrophic
22      if that was observed.
23                   So the number -- what percentages
24      statistically, although we can minimize them, you
25      cannot minimize the human condition and the reaction

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1       to these things, which I think a lot of my
2       colleagues, in particular those on the cybersecurity
3       side, would do that.             And on the, you know, security
4       side, that's how they see the world.                    I understand
5       that.        But that's not reality.
6       BY MR. CROSS:
7                Q      Again, in the study you keep talking about
8       on your pilot BMD, many of the people who
9       participated in that study did not report an error
10      even when they saw the error on the flipped ballot,
11      right?
12               A      Yes.    Those people reported that they
13      didn't speak up because it was a study, and then
14      they were able to successfully tell me immediately
15      which one was flipped.             So they accurately saw it.
16               Q      Well, let's be clear.
17                      Even among those who reported an error,
18      many of them did not identify the error correctly,
19      right, in your study?
20               A      No.    No, no.     I had 151 participants.
21      Only one participant said there was an error and
22      could not identify it.             A 67-year-old white female
23      who was just playing with the system was the only
24      one who said, "Yeah, there was an error," and could
25      not identify it.          Only one.

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1               Q    Maybe we'll look at that later.
2                    Just so I understand, you're saying that
3       in your -- in the study, there was only one
4       participant who identified an error on their ballot,
5       or had it pointed out to them that there was an
6       error, and they identified the error incorrectly?
7               A    They could not identify the error.
8               Q    Okay.
9               A    They could not identify it.
10              Q    Okay.     So let's make sure we're talking
11      about the same thing.
12                   I thought in your study, one of the things
13      you found was that even for participants that
14      reported an error on the ballot, at least some of
15      them, more than one, did not identify the error
16      correctly.      Am I wrong about that?
17              A    Yeah, you're wrong.
18              Q    Okay.
19              A    There was only one participant who said,
20      "Yeah, there was an error."
21                   And I said, "Well, can you tell me where
22      the contest flipped?"
23                   She could not do it.             There was only one.
24              Q    Okay.     And you talked about the human
25      condition a lot.

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1                     In the real world of an election and using
2       your hypothetical of 832 spoiled ballots, what basis
3       do you have to believe that a single voter, over the
4       course of an entire election day, voting on a BMD,
5       who reports one ballot where they thought that the
6       result was flipped for a single contest, that a poll
7       worker would raise that concern to election
8       officials and to the point that someone would think,
9       "Hey, we need to investigate whether the system has
10      been hacked"?
11                    What's your basis for believing that that
12      is a plausible scenario?
13                    MR. MILLER:        Object to form.
14                    THE WITNESS:         So I ran this study.             I have
15      data.     I observed the reaction to votes being
16      flipped for the presidential contest in particular.
17      Those reactions were not subtle, number one.
18                    Number two, leading up to the election,
19      there were allegations that the election would be
20      stolen.      So voters all were prepped for mischief,
21      and in many voters' minds, that this thing was fixed
22      and in my study, voters said that.
23                    I had a participant in particular tell me,
24      after I did the study, "So that's how they stole the
25      election," quote/unquote.

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1                      So what -- the scenario that I am giving
2       you, that I am 100 percent confident that would have
3       played out, would have been a voter would have gone
4       to the media, would have gone to others.                    This would
5       have blown up that the machines were flipping votes.
6       There's no way that this would have gone unnoticed.
7                      In particular, in Georgia, in the year
8       2020, no.       There's no scenario where that would have
9       gone through -- the human condition would not have
10      allowed that with all that was happening before the
11      election, during, and afterwards.
12      BY MR. CROSS:
13               Q     Again, the study that we're talking about
14      here that you keep referring to is on your new BMD
15      prototype, right?
16               A     Exactly.
17               Q     Is it your understanding that no one
18      reported at any point in the 2020 presidential
19      election that their vote was flipped on a BMD?
20               A     No.   My understanding -- I have not heard
21      reports of a vote being flipped or votes being
22      flipped in Georgia on the Dominion BMD.
23               Q     But you have heard reports of -- I'm
24      sorry.       Strike that.
25                     You have heard reports of voters claiming

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1       that their vote was flipped on voting election
2       equipment in other states, right?
3               A    Yes, of votes being flipped on screen, I
4       have heard that, and I've done a video on YouTube to
5       address that.
6                    So since you brought that up, that's
7       another example of the work I do in election
8       security to fix and secure things.
9                    There was an allegation that votes were
10      being flipped, and the community and election
11      security and cybersecurity went to the code and
12      looked deep into the system.
13                   And when I saw what was happening, it's
14      what I call a finger roll, where they were
15      inadvertently touching the bottom of a button for
16      another candidate.          And we designed a solution to
17      that, and our solution has never had a vote flipped.
18                   So again, solved.
19              Q    Are you aware of any situation where a
20      state or county has conducted an investigation to
21      determine whether their election system was hacked
22      based on a complaint from a voter or poll worker
23      that the system did not accurately record the vote
24      that was cast by the voter?
25              A    That I'm not aware of.              And I'm not

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1       surprised by that for many -- before BMDs, we had
2       DREs.       And with DREs, there would be no way for a
3       voter to determine if their vote was recorded at all
4       or accurately or inaccurately.                 So that doesn't
5       surprise me from that perspective.
6               Q      But BMDs have been in use in a variety of
7       locations for at least a few years, and you're not
8       aware of any such investigation, right?
9               A      I am not aware of any such investigation.
10              Q      Again, returning to your hypothetical in
11      your declaration -- sorry -- with the 832 spoiled
12      ballots, what would you expect would happen if 832
13      voters in that election falsely claimed -- they were
14      lying -- that their ballots had been flipped by the
15      BMD?
16              A      Well, I don't know the protocols in the
17      state, so I can't say what would actually occur.
18                     I have recommendations that I could give
19      to help with that, but again, I would say I know
20      protocols had to -- if they don't exist, they will
21      exist for these scenarios given what happened in
22      Arizona, which was using hand-marked paper ballots,
23      and allegations of ballot stuffing and all kinds of
24      other things proliferated in an election with
25      hand-marked paper ballots.

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1                Q   Are you talking about the recent election?
2                A   Yes.
3                Q   And they conducted an audit --
4                A   Yes.
5                Q   -- with the hand-marked paper ballots, not
6       only verifying the results, but actually found that
7       there were additional ballots for Biden that had not
8       been counted, right?
9                A   Yes.     That's what happened.             But my point
10      is that a false accusation of tampering I suspect is
11      just the new normal or a temporary normal, that
12      that's going to happen.
13               Q   One more reason why we need election
14      equipment that is as secure as it reasonably can be,
15      right?
16               A   I -- I agree with that statement, and --
17               Q   In fact, that's why you've offered
18      developing your BMD prototype, right, is to --
19      that's the improvement you're offering with that
20      prototype, is to address these types of concerns; is
21      that fair?
22               A   I think that's fair.             I'm trying to
23      improve the environment so that we can do some of
24      those things.
25                   And I'm working on the next evolution of

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1       your question.        Dr. Appel and others have asked me
2       that -- brought that scenario to me, meaning if
3       indeed someone makes a claim that this machine is
4       hacked, what do the election administrators do?                         So
5       I'm working on that now.
6                    So I will say this for the record:                    In
7       2022, I will have a resolution to that as well, and
8       I'm hopeful that Dr. Halderman and the others here
9       will participate in that evaluation.                   I'm hopeful
10      they will do that.
11              Q    And you've sort of anticipated where I was
12      going to go with the -- as you put it, the evolution
13      of my question.
14                   In this -- and maybe this is where you're
15      going to go in 2022.
16                   But the question I will ask, I guess, is,
17      in today's environment with the election system that
18      currently exists in Georgia, do you have some view
19      on how the Secretary of State or the county is
20      supposed to determine when it's appropriate to
21      conduct an investigation of whether the system has
22      been hacked or not?
23                   Because you've testified that a single
24      vocal voter saying their vote is flipped plausibly
25      should lead to that investigation, but the state and

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1       counties could find themselves conducting all sorts
2       of investigations every time somebody makes a claim,
3       right?
4                    MR. MILLER:        Objection.        Calls for
5       speculation.
6                    THE WITNESS:         I have some work that I'm
7       doing in that area which is confidential at the time
8       that I'm not privy to talk about, unfortunately.
9                    But to kind of help with that question,
10      that is something that needs to be addressed.                      I
11      don't -- I don't know what the protocols are in
12      Georgia or any place where, you know, these things
13      happen with paper ballots.              They just spoil it, and
14      you do it over.        And that's -- that's essentially
15      what happens if there's a mistake found.
16                   But, like, in Florida in 2018 when all
17      those undervotes happened, and South Florida,
18      Broward County, some people spoiled their ballots or
19      had an issue, and they were able to get it right.
20      But no one thought that, "Wait a minute, we have a
21      problem here."
22                   So it can happen on both sides.
23      BY MR. CROSS:
24               Q   I think you testified a moment ago that
25      with DREs, there would be no way to determine

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1       whether a vote was flipped because there's no paper
2       trail.        But that's true of BMDs as well, right?
3                       If a voter comes and says, "Hey, this
4       ballot flipped my vote," the poll worker has no
5       ability to determine whether that's accurate looking
6       at the ballot or looking at the BMD, right?
7                A      In the current state, meaning the current
8       state of BMDs, if that was to happen, the poll
9       worker could not determine if it was a mistake on
10      the voter's part or the -- an error or anything like
11      that.        I don't know how they would determine it by
12      just looking at the paper itself.
13                      MR. MILLER:      David, I'm not sure where you
14      are on your outline, but at an appropriate time, I
15      think a short lunch break might be good.
16                      MR. CROSS:      Sure.     We're almost at a
17      breaking point.
18               Q      Do you mind just a few more minutes,
19      Dr. Gilbert?
20               A      I'm fine.
21               Q      Okay.   So take as an assumption based on
22      what I was able to look up that approximately
23      5 million voters voted in the presidential election
24      in Georgia in 2020.           Okay?
25               A      Okay.

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1                Q   Do I understand correctly that it's your
2       opinion that if a small number, say as few as one, I
3       think you said, voters were to report to a poll
4       worker that they thought the BMD flipped their vote
5       in that election, you expect that that would spur
6       the state into an investigation to determine whether
7       the election system itself was hacked and flipping
8       votes.
9                    Do I understand that right?
10                   MR. MILLER:        Objection.        Misstates
11      testimony.
12                   THE WITNESS:         Right.      That's -- okay.
13      What I'm saying is that a vocal person who had one
14      vote flipped could make a difference in getting an
15      investigation started.
16                   Now, it's unlikely that only one would
17      speak up.     Based on the evidence of my study, I
18      don't think -- especially in 2020 in that
19      election -- and by the way, the 5 million that
20      you're quoting, if I'm not mistaken, that includes
21      both in-person and absentee ballots.
22                   So I don't know what the total in-person
23      who actually voted with the BMD would have been.                       I
24      don't know that tally.            But I don't think the
25      5 million is all BMD, if I'm not incorrect on that.

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1                     But yeah, I think that what I'm getting
2       at, the point that I'm making is a small number of
3       individuals whose votes get flipped would speak up,
4       and this would -- I don't know what the protocols
5       are or the steps are.            Again, that's something we're
6       working on, what to do when this occurs.                     But I
7       don't know what the scenarios are currently in place
8       for something like this.
9                     MR. CROSS:        Let's go off the record.
10                    THE VIDEO OPERATOR:            Okay.      Going off the
11      record at 1:08.
12                    (Recess, 1:08 p.m. - 1:45 p.m.)
13                    THE VIDEO OPERATOR:            Back on the record at
14      1:45.
15      BY MR. CROSS:
16              Q     Dr. Gilbert, we've talked about a couple
17      of ways that you've identified where hand-marked
18      paper ballots can be altered such as with changing
19      undervotes and overvotes, right?                  We talked about
20      that today?
21              A     Right.
22              Q     That can only happen after the ballots
23      have been tabulated in a system where the ballots
24      are tabulated on the scanner in the polls, right?
25              A     It happens whenever the opportunity

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1       presents itself.         So it depends on the precinct and
2       how they handle their ballots.                If they -- do the
3       voters automatically do it?              Is it a centralized
4       tally?       It just depends on the scenario.
5                Q     So let's talk about a specific scenario, a
6       scenario in which Georgia has voters vote on
7       hand-marked paper ballots at the polls.                    That voter
8       takes that ballot, walks over to the scanner in
9       exactly the way they do today, and puts it into the
10      scanner themselves.
11                     The only way that that vote could be
12      altered or that ballot could be altered in the way
13      that you've described would be after it runs through
14      the scanner and is tabulated, right?
15               A     In that particular scenario, that seems to
16      be the case.
17               Q     And so whatever alteration might happen to
18      that ballot after it's tabulated would not affect
19      the outcome of that election based on the results
20      that come out of the tabulation of the ballots,
21      right?
22               A     Not necessarily.
23                     My understanding is that certain margins
24      require an audit or recount; therefore, it would
25      have an impact.

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1               Q    Only if it was within the margin that
2       required an audit or a recount, right?
3               A    On that scenario, I think that's right.                   I
4       haven't thought this in detail to see if there's a
5       way to circumvent direct insertion into the scanner,
6       but my initial thoughts are yes.                 If it's outside
7       the margin, it would -- no one would know that it
8       was modified and it would never get tallied as
9       modified.
10              Q    And because Georgia law doesn't provide
11      any provision whereby a different result in an audit
12      allows the election results to be set aside, even
13      if -- even if the audit comes up with a different
14      result because of manipulation after the ballot is
15      initially tabulated, there's no way to change the
16      election outcome, right?
17                   MR. MILLER:        Objection.        Calls for a legal
18      conclusion.
19                   THE WITNESS:         I don't know.
20      BY MR. CROSS:
21              Q    That's not something you've considered for
22      your opinions in this case; is that fair?
23                   MR. MILLER:        Same objection.
24                   THE WITNESS:         I don't -- again, I'm here
25      to talk about ballot-marking devices and not the

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1       policies and protocols that the state has adopted.
2                    I'm not familiar with how that would work
3       as far as what the rules are on that particular
4       case, so I don't know.
5       BY MR. CROSS:
6               Q    How can you offer an opinion on whether
7       the state should continue to use its BMDs without
8       understanding the particular policies and protocols
9       that are in place in the state to secure that system
10      and to verify that votes are counted as intended?
11                   MR. MILLER:        Objection.        Misstates
12      testimony.
13                   THE WITNESS:         I can offer an opinion on
14      the technology with respect to its security,
15      accessibility, usability, in the context of voters
16      and common protocols.           And, you know, as far as
17      policies around, you know, audits, what triggers an
18      audit and things like that, that's not my area, and
19      how that would work, I don't know.
20                   So that's how I can give expertise in this
21      matter.
22      BY MR. CROSS:
23              Q    When you say you can offer an opinion on
24      the technology with respect to its security, you
25      don't mean cybersecurity, right?

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1                A     Again, I am an expert in election
2       security.       I am not using the term "cybersecurity."
3                      Could you define "cybersecurity" as it
4       relates to elections?
5                Q     That's exactly what I was going to ask
6       you, Dr. Gilbert.
7                      When you say that you're an expert in
8       election security but not cybersecurity, what's the
9       distinction you're drawing?
10               A     Cybersecurity would be, like, hacking
11      banks.       Typically, as an example, people who hack a
12      bank and steal money, that's an area that I would
13      classify as cybersecurity.
14                     Election security involves paper ballots
15      and overvote hacks, as I described, or undervote
16      hacks.       Cybersecurity doesn't involve paper at all.
17      Election security does.
18                     So those are just some examples of
19      differences from my perspective.
20               Q     So you're an expert on election security
21      with respect to, like you said, things like hacking
22      the paper, but not on the cybersecurity that gets to
23      the computer equipment that's used in elections?
24               A     No, I did not say that.            No.
25      Cybersecurity -- so this is a question.

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1                     What you're saying, security as it relates
2       to computers is cybersecurity.                 Is that what you're
3       saying?
4               Q     Yes.
5               A     I disagree.        No, I do not agree with that.
6               Q     You think cybersecurity is something other
7       than security that relates to computers?
8               A     No.     Cybersecurity relates to computers,
9       but not all computing situations are a form of
10      cybersecurity.         I don't view it that way.
11                    Election security, election systems, I
12      would not classify as cybersecurity.
13              Q     Really?
14              A     Not all --
15              Q     You're going to stand by that?
16              A     I don't classify -- so valid marking
17      device security.          I could see, like, online voting.
18                    Online voting, I could see people -- my
19      colleagues have always said that's cybersecurity
20      because it's a network and things like that.                        I
21      don't -- I do not classify election security as
22      cybersecurity.         I would not call it that.               It's much
23      broader than just the computers.                  I wouldn't do
24      that.
25              Q     Okay.     Don't election security experts,

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1       like those in this case and others, routinely talk
2       about needing to address cybersecurity
3       vulnerabilities with election systems that use
4       computer equipment?
5               A    Yes, they do.         Absolutely they do because
6       they are cybersecurity experts.                Exactly.       Thank
7       you.    That's exactly right.            They I would classify
8       as cybersecurity experts.             They hack things that are
9       not election systems.           They work with computers that
10      are not election systems.             Yes.     I would classify
11      them as such.       Cybersecurity, that's who they are.
12              Q    But those same experts routinely work with
13      election security -- election systems and, in fact,
14      focus on election systems, many of them, right?
15              A    I wouldn't say "many."              I would say
16      Dr. Halderman may focus, but --
17              Q    What about Rich DeMillo?               Are you familiar
18      with him?
19              A    Vaguely.       I don't know what all Rich works
20      on, so I can't speak to Rich's background.
21                   But there's so many of them who just tap
22      into elections when it's hot, but they're doing all
23      kinds of things in the cybersecurity space outside
24      of that.
25              Q    Are you familiar with Wenke Lee?

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1               A    With who?
2               Q    Wenke Lee, W-E-N-K-E.
3               A    I don't think so.
4               Q    Are you familiar with the SAFE Commission
5       in the State of Georgia?
6               A    I've seen it, but I don't know much about
7       it.
8               Q    Are you aware that when Governor Kemp was
9       Secretary of State, he created a commission called
10      the SAFE Commission which was supposed to look at
11      whether to -- one of the things it was supposed to
12      look at was whether to replace the DRE system with a
13      new election system that would be secure and
14      reliable and how they might do that?
15                   MR. MILLER:        Objection to form.
16      BY MR. CROSS:
17              Q    Have you ever heard of that?                Do you know
18      what I'm talking about?
19              A    I don't think so.
20              Q    Do you consider yourself a computer
21      scientist?
22              A    Yes.     I have a Ph.D. in computer science
23      and a master's degree in computer science.
24                   (Exhibit 4 was marked for identification
25              and is attached hereto.)

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1       BY MR. CROSS:
2               Q    Grab the next -- it's going to be
3       Exhibit 4.      It should pop up.           Just let me know when
4       you have it.
5               A    Okay.     I found it.         Exhibit 4, got it.
6               Q    Do you see that this is an article
7       entitled "Why computer scientists prefer paper
8       ballots," published on January 10 of 2019?
9               A    Okay.     I see it.
10              Q    Do you see the author is indicated as
11      Wenke Lee, a professor at Georgia Tech?
12              A    Okay.
13              Q    Do you see that he indicates here, "Today,
14      Georgia's 'Secure, Accessible and Fair Elections
15      (SAFE) Commission' delivered to the state
16      legislature a final recommendation for new, more
17      reliable election equipment"?
18                   Do you see it?
19              A    Yes, I see that.
20              Q    And he goes on to say, "I was honored to
21      serve as a cybersecurity expert for the SAFE
22      Commission to help improve a process at the very
23      core of democracy - secure elections and the right
24      to a private vote."
25                   Do you see that?

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1                A      Yes.
2                Q      And do you understand that when Governor
3       Kemp was the Secretary of State, he personally
4       selected Wenke Lee to serve as a cybersecurity
5       expert on the SAFE Commission specifically to help
6       determine a more -- new and more reliable election
7       equipment?
8                A      Okay.
9                Q      Do I understand correctly that you think
10      cybersecurity experts don't have the necessary
11      expertise to opine on election security?
12                      MR. MILLER:      Objection.
13                      THE WITNESS:       No, I never said that.           No,
14      that's incorrect.
15      BY MR. CROSS:
16               Q      In fact, we agree that cybersecurity
17      experts like Wenke Lee, Dr. Halderman, Dr. Appel,
18      have the necessary expertise to evaluate the
19      security of election equipment like BMDs in Georgia,
20      right?
21                      MR. MILLER:      Object to form.
22                      THE WITNESS:       No, I didn't say that,
23      either.
24                      Dr. Appel, Dr. Halderman, I would agree
25      with.        I know them.     I don't know Dr. Lee and his

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1       background, so I cannot speak to his credentials.
2                    The fact that he was appointed to some
3       commission and given a title does not guarantee he
4       knows what he's doing or his credentials.                     So I
5       can't speak to that.           I'm sorry.
6       BY MR. CROSS:
7                Q   No, no.      That's fair.         That's fair.
8                    You're not disputing that experts like
9       Dr. Halderman and Dr. Appel have the necessary
10      computer science expertise to evaluate the security
11      of election systems like that used in Georgia,
12      right?
13               A   No, I do not dispute that.                In fact, if I
14      was asked the question, "I have an election system.
15      We need someone to evaluate the security of it to
16      find vulnerabilities," at the top of my list would
17      be Appel, Halderman.           That's where I would start.
18               Q   Now, if you look here, if you continue on
19      in Exhibit 4, Dr. Lee goes on to say, "I ultimately
20      chose to vote against the Commission's final report
21      even though we agreed on many points."
22                   Do you see that?
23               A   Yes.
24               Q   If you go to the next paragraph, he
25      writes, "The SAFE Commission was charged with

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1       studying options for Georgia's next voting system."
2                    Do you see that?
3               A    Yes.
4               Q    Do you understand that the SAFE Commission
5       recommended the BMD system that ultimately was
6       adopted by the state, a BMD system with QR codes?
7               A    Okay.     I guess so.
8               Q    You just don't know one way or the other?
9               A    Yeah, I don't know one way or the other.
10              Q    Do you know whether Dr. Lee objected as
11      the cybersecurity expert on the SAFE Commission to
12      the state adopting the BMD system that it has today?
13              A    Until today, I don't think I've ever heard
14      that name, so I cannot say that I know.
15              Q    So before today, were you aware that the
16      state previously engaged two election security
17      experts, Michael Shamos and Wenke Lee, and both of
18      them advised against the election system, the BMD
19      system that the state uses today?
20                   MR. MILLER:        Object to form.
21                   THE WITNESS:         I was not aware of that.
22      BY MR. CROSS:
23              Q    Before today, you were not aware that you
24      were the only election security expert the state has
25      engaged -- of the election security experts the

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1       state has engaged who still endorses the system
2       that's used today?          You didn't know that?
3                A     No, I didn't.       I was not aware of that.
4                Q     Does that affect your opinions at all on
5       whether the -- the state should continue to use the
6       current election system in some form?
7                A     No, it doesn't.
8                      And just point of verification.                If I'm
9       not mistaken, Dr. Halderman's declaration did not
10      say that -- they said keep the system, but only have
11      people with disabilities use it.
12                     So they didn't reject using it in the
13      state.       Is that correct?
14               Q     Well, that's a question for Dr. Halderman,
15      and I'll let him answer that.               I'm happy to give you
16      my understanding, but I suspect Mr. Miller does not
17      want me to testify here today.
18               A     So let me make it a broader question.
19               Q     Okay.
20               A     Can you find me the election security
21      expert who says that BMDs should not be used by
22      anyone ever?       Find me that individual.
23                     Because my understanding, Appel,
24      Halderman, the entire community was supportive of
25      them, but only for people with disabilities.

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1                    But I would appreciate if you could
2       document for the record who Wenke Lee or whoever --
3       find me the individual that says they should not be
4       used by anyone.
5               Q    Is it your understanding that election
6       security experts like Dr. Halderman and Dr. Appel,
7       that they support the use of reasonably secure BMDs
8       for those who need them, but they otherwise think
9       that hand-marked paper ballots are the most reliable
10      election system?
11                   Is that a fair statement of how you
12      understand their views?
13                   MR. MILLER:        Object to form.
14                   THE WITNESS:         I would -- I think they
15      would say hand-marked paper ballots should be used
16      by everyone except people with disabilities.                       I
17      think that's where they stand on this.                   BMDs should
18      only be used by people who have a disability.
19      BY MR. CROSS:
20              Q    But you understand --
21              A    That's my understanding.
22              Q    And you understand their view, though, is
23      not just any BMDs, but the BMDs themselves still
24      should be reasonably secure and reliable, right?
25              A    I hope, Mr. Cross, that you are right.                    I

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1       would like to make sure this is known on the record,
2       what you just said, which is that Dr. Halderman,
3       Appel, et cetera, have a notion of a secure or
4       reasonably secure BMD.
5                    I have never heard them use that language,
6       and I would love to see documentation of what they
7       see as a secure, reasonably secure BMD.
8               Q    It's your position that Dr. Halderman and
9       Dr. Appel have never offered an opinion that BMDs
10      can be appropriate for those who need them, people
11      with particular disabilities?
12              A    It's my opinion that Dr. Halderman -- none
13      of them -- no one on the election security side, who
14      comes from a cybersecurity background in particular,
15      has ever declared any computing system secure as far
16      as I know, especially in elections.
17                   So I would love to see Dr. Halderman or
18      any of them document what is a reasonably secure
19      BMD.
20              Q    You understand evaluating the
21      reasonableness of the security of a BMD when it's
22      used for only a very, very small portion of voters
23      is a different analysis than when it's used for all
24      voters, right?
25              A    I understand that's the ideal situation

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1       that they propose.
2                    But as in my declaration, I made it clear,
3       for example, BMDs have empowered people with
4       disabilities.       And in many places, the number of
5       people who vote on a BMD with a disability exceeds
6       the margin of victory.
7                    So as I explained, that actually weakens
8       election security because that's an easier target.
9                    So again, I would love to see, if it
10      exists, any of them to tell me what is a reasonably
11      secure BMD for people with disabilities.                    What would
12      they accept?
13              Q    Well, how about a BMD that addresses all
14      the vulnerabilities that Dr. Halderman has
15      identified with the Dominion BMD?
16              A    Again, I would love to have Dr. Halderman
17      on the record saying that.              I don't believe -- so I
18      could be wrong, but I don't believe he can say that.
19      I don't think he will say that.
20                   Dr. Halderman's expertise is breaking
21      things.     If something is fixed, I don't think he's
22      happy with that.         So I would love to see any of
23      them -- find me one of your experts that's willing
24      to document what a reasonably secure -- even if we
25      address them, I suspect they would say it's possible

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1       to address them maybe.            They may say that as a way
2       to avoid that.        But there's no way they would claim
3       a reasonably secure BMD.
4                    If such a scenario existed, meaning they
5       actually believed there was something reasonable,
6       that would have been documented by now.                    We've been
7       doing -- dealing -- going around in this case alone
8       for how many months, and they've never proposed that
9       or never said that.
10              Q    So how about paragraph 17 of Dr. Appel's
11      reply declaration where he points out that
12      "Dr. Gilbert discusses the use of BMDs by voters
13      with disabilities.          Indeed, voters with severe or
14      total vision impairment will have difficulty
15      verifying a BMD printed ballot.                Therefore, voters
16      with disabilities who use a BMD are at least as
17      vulnerable to BMD hacking as any other voters.                     In
18      my opinion, it would be a reasonable policy to
19      preserve several options for voters with
20      disabilities.       Voting by mail on a hand-marked paper
21      ballot, perhaps with the assistance of a person they
22      trust to mark the ballot, voting by BMD, and so on.
23      But that is not a reason to needlessly subject
24      voters who can mark a paper ballot by hand to the
25      risk of their vote being stolen by computer

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1       hacking."
2                    Do you recall reading that in his
3       declaration?
4               A    Vaguely.       I don't know if I read it, but
5       we talk a lot, so I've heard him say those things
6       before.     And I always reply the same way.
7                    If it's okay for me to have someone mark
8       my ballot on my behalf, how would you like it if we
9       required everyone to have that?                Why is it okay for
10      one population but not another when it's perfectly
11      capable of marking their ballot independently?
12                   So again, it doesn't address the issue
13      that I point out, which is that because the number
14      of people with disabilities is increased, your
15      original question here dealt with a small number of
16      people, but that has exploded.
17                   The two paces out of the two in the sense
18      that these people have been empowered, and now they
19      vote in larger numbers, which exceeds a lot of
20      margins of victory.
21              Q    Let's pause on that because you keep
22      saying that, and it's just not accurate, as
23      Dr. Appel points out in his declaration, right?
24                   You're using an overall aggregate number
25      of people with disabilities voting in elections

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1       rather than looking at the number who actually need
2       to vote on BMDs, right?
3                A      No.    I don't -- there's data that comes
4       out of Rutgers that records how many people vote
5       with a disability.           We've gotten that data in the
6       past.        I don't have that off the top of my head.
7                Q      A disability of any kind, right?
8                A      I have to go look, but it may be
9       disability of any kind.
10               Q      In fact, if you look at your declaration,
11      and look at paragraph 14, you indicate that Georgia
12      has an estimated 700 -- sorry.                 Try that again.
13                      You state that "Georgia has an estimated
14      797,000 eligible voters that are disabled, and their
15      recent report estimates that disabled voters'
16      turnout rate was 62.8 percent of those Georgians who
17      voted in 2020."
18                      Do you see that?
19               A      Yes.
20               Q      You go on to say that "In 2020
21      approximately 500,516 disabled Georgians voted in
22      2020.        This number is, of course, well beyond the
23      margin of victory in the presidential election,"
24      right?
25               A      Yes.

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1               Q    As Dr. Appel points out in his response,
2       that is remarkably misleading because only a tiny
3       fraction of those people with disabilities could not
4       vote on hand-marked paper ballots.
5                    That is a fact; right, sir?
6               A    No, I don't agree with that.                Because at
7       the same time, he's actually making another error,
8       which is, there are people who don't have a
9       proclaimed disability who also need it, but they
10      don't say they have a disability.
11                   So to say that there are people with a
12      disability who don't need it, you don't -- you've
13      got to account for the people who claim they don't
14      have one who do need it.
15              Q    Where in your declaration do you identify
16      specifically the number of voters who voted in the
17      2020 election in Georgia who have a disability that
18      would make it impossible for them to vote on a
19      hand-marked paper ballot?             Where can I find that
20      number?
21              A    That number is not in my declaration.                 And
22      where in Dr. Appel's rebuttal does he give the
23      specific number of people who use the machine who
24      had a proclaimed disability who did not need it?                       Is
25      that number documented by Dr. Appel?

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1               Q    You don't think it's misleading to suggest
2       that all voters who identify as disabled have to
3       vote on a BMD?
4                    MR. MILLER:        Objection.        Asked and
5       answered.
6                    THE WITNESS:         I do not think it's
7       misleading to say that.            I'd say it is correct to
8       say that all voters with a disability have the right
9       to a private vote, and the BMD gives them that
10      ability.
11                   For example -- here's another scenario I
12      will give you that Dr. Appel would miss, and I
13      suspect many of your experts.               There are people with
14      cognitive disabilities.            Those individuals voting on
15      paper is much more of a challenge or impossible for
16      some of them.
17                   We use Prime III, our open source voting
18      system, with a group, an organization, that
19      represents people with cognitive disabilities.
20                   So I'm fully aware that this is the
21      scenario, meaning there are individuals who appear
22      to not need this type of engagement, but they do.
23      BY MR. CROSS:
24              Q    Again, you understand Dr. Appel, in
25      responding to you, specifically said that voters

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1       with disabilities should be allowed to vote by BMD
2       if that's what they need or choose.
3                    There's no disagreement between you and
4       him on that, right?
5               A    Voters -- there's no disagreement that
6       voters with disabilities have that access.                     There's
7       no disagreement on that.
8               Q    In terms of the accuracy of what you're
9       saying about disabilities, Dr. Gilbert, I will tell
10      you, I was born without a left hand.                   I am disabled.
11                   Would you include me among your voters who
12      has to have a BMD, who cannot vote on a hand-marked
13      paper ballot?
14              A    I don't include anyone.              That's a judgment
15      to the voter who would be doing that.
16              Q    In fact, you include everyone.                 You
17      include everyone who identifies as disabled in
18      paragraph 14 of your report, which is misleading,
19      isn't it, sir?
20                   MR. MILLER:        Objection.
21                   THE WITNESS:         No, it's not misleading,
22      because all of them may -- we don't -- you can't --
23      you asked me the question, where in my report did I
24      document the number that needed it.                  So I posed a
25      question, where in those numbers can you identify

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1       those that do not?          How do you know that all of them
2       did not need it?
3       BY MR. CROSS:
4                Q   But you understand in an election system
5       that allows hand-marked paper ballots as one option,
6       BMDs as another option, that anyone who has a
7       disability that needs a BMD would have that
8       available to them as a choice, right?
9                A   That's the presumed assumption.                  And in my
10      declaration, I clearly said when those scenarios
11      happen, what's called a separate but equal
12      connotation, that doesn't play out well, and I
13      explain that in my declaration.                I can elaborate on
14      that if necessary.
15               Q   You understand that many jurisdictions, in
16      fact most jurisdictions in the country that use
17      BMDs, use them in the way I just described for
18      people with disabilities and most voters vote on
19      hand-marked paper ballots; you're aware of that,
20      right?
21               A   Yes, I'm aware of that.
22               Q   Can you point to any situation where votes
23      have been stolen, altered, or election outcomes have
24      been altered in those jurisdictions?
25               A   I am not aware of any situation that is

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1       evident of votes being stolen, altered, by a BMD in
2       the United States of America.
3               Q    Given your view that BMDs, even as they
4       are right now, are sufficiently reliable, then how
5       does it hurt people with disabilities who vote on
6       BMDs to continue to do that in a world where other
7       voters vote on hand-marked paper ballots since you
8       say the BMDs are just as reliable, if not more so?
9                    MR. MILLER:        Objection to form.
10                   THE WITNESS:         Because when you go to the
11      polling, this is documented.               When people -- when
12      the disability go to a polling place, the accessible
13      voting machine is set aside, and it's not set up in
14      a lot of cases because it would get infrequent use
15      in some places.        That's scenario one.
16                   Scenario two, if you believe in
17      Dr. Halderman and others that the machines could be
18      compromised, if I'm an adversary, I definitely want
19      to try and target them now because, again, the
20      margins of victory could be small enough such that
21      it's easy to target a person who can't read a ballot
22      at all and have them produce a paper ballot.
23                   So by having a diversity of people using
24      that same approach, you at least have the chance, as
25      I mentioned earlier, to have someone identify and

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1       say, "No, no, this is misbehaving," whereas if it's
2       only people with a disability using it, your chances
3       of success of an attack are increased.
4       BY MR. CROSS:
5               Q    I'm getting confused here, Dr. Gilbert.
6                    You're saying that there were hundreds of
7       thousands of disabled Georgians who voted in 2020
8       where you suggest some significant number or maybe
9       all of them need a BMD, but you say in a world where
10      they have the choice of hand-marked paper ballots or
11      BMDs, BMDs are infrequently used.
12                   Why are BMDs infrequently used when
13      there's a choice if there are hundreds of thousands
14      of voters who need them?
15              A    It depends on the precinct.
16              Q    The reality is that we have -- in
17      jurisdictions that allow both BMDs and hand-marked
18      paper ballots, as you rightly point out, there is
19      infrequent use of the BMDs because there actually is
20      a very small number of voters who need them and
21      choose to use them when they have the choice; right,
22      sir?
23                   MR. MILLER:        Objection to form.
24                   THE WITNESS:         I don't agree with that.             It
25      depends on the precinct.             It varies.

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1       BY MR. CROSS:
2                Q   And that is true for most precincts.
3       That's literally the concern you just testified to,
4       is the infrequent use of them when there's a choice,
5       right?
6                A   No, no.      That's -- no, you're putting
7       words in my mouth.
8                    What I said, there are -- it depends on
9       the precinct.       There are precincts that get low
10      utilization, but there are others that would get
11      higher utilization.
12               Q   Where can I find that data in your
13      declaration?
14               A   It's not in my declaration, but the
15      reference is there to Rutgers.                That's the source.
16                   So if you needed that, I would go to
17      Rutgers and get that.           I would gather to say, in
18      particular -- Rutgers is in the city -- I bet you
19      they -- the cities in particular would have higher
20      turnouts and uses of this equipment.
21                   So it varies.         There's a variance
22      depending on where you are.
23               Q   So it's your opinion that every
24      jurisdiction in the country that has hand-marked
25      paper ballots as the primary option and BMDs as an

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1       option for those who need them as a disability or
2       otherwise choose to use them, those jurisdictions
3       should not be handling elections in that way; that's
4       your opinion; is that fair?
5                     MR. MILLER:        Objection.        Misstates
6       testimony.
7                     THE WITNESS:         My opinion, I would prefer a
8       uniform BMD approach.            That would be my
9       recommendation.
10      BY MR. CROSS:
11              Q     We talked earlier about -- I think I may
12      have gotten the math wrong so I want to come back to
13      this.
14                    I gave you an election situation where the
15      differential was 20,000 votes.                 Candidate A wins
16      20,000 votes over Candidate B.                 And I said to flip
17      that you'd have to alter over 10,000 votes.
18                    Do you remember this discussion?
19              A     Yes.
20              Q     But actually using the hack that you've
21      described with hand-marked paper ballots where
22      you're affecting an undervote or overvote, you
23      actually would have to flip more than 20,000 --
24      you'd have to alter more than 20,000 ballots, right?
25      Because it's not a situation where you're changing a

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1       vote, right?
2               A    It depends on which attack.                If it's the
3       undervote attack, then you've got to fill in the
4       oval for 20,000.
5               Q    We talked a lot about ballot design
6       issues, and you've given examples where, like in
7       Florida, they were able to look at the ballot design
8       and conclude that the design itself led to some
9       confusion with voters; is that right?
10              A    Not only confusion, but it led to them
11      making an inappropriate selection.
12              Q    And a ballot design problem like that is
13      assessed by looking at the ballot, looking at the
14      design.
15                   Do I understand that right?
16              A    That's one aspect of it.               And then you
17      could test it with particular voters or users.                     Yes.
18              Q    And you referred to that in your
19      terminology of hacking as a type of hack, right?
20              A    Yes, I call that a hack.
21              Q    Now, a hack that includes malware embedded
22      in computer election equipment, like a BMD, that's
23      not something that a poll worker or an election
24      worker, election official, could evaluate just by
25      looking at a ballot or a machine, right?

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1               A    I don't understand your question.
2               Q    If there's malware embedded in an election
3       in a BMD that's flipping votes, okay, changing the
4       QR codes, for example --
5               A    Okay.
6               Q    -- you couldn't identify that hack by just
7       looking at the face of the ballot in the way that
8       you can with a ballot design problem, right?
9               A    Can you identify by -- so what you're
10      saying is there's malware on a BMD, and it printed a
11      ballot with a QR code.            Could you look at that
12      ballot that it printed and determine that malware is
13      on the BMD?
14              Q    Yes.
15              A    That's your question?
16              Q    Yes.
17              A    Yes, you can.
18              Q    And how would you do that?
19              A    If the QR code does not match the
20      human-readable text, there you go.
21              Q    But you couldn't do that by looking at the
22      face of the ballot.          You'd actually have to run the
23      ballot through a tabulator, then look at what was
24      tabulated on the scanner, and then go back and read
25      the human-readable portion and compare the two,

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1       right?
2                A   Yes.     You have to compare -- you have to
3       scan it and compare.
4                Q   Okay.     I guess this is something we talked
5       about earlier.        I want to make sure we're on the
6       same page.
7                    Do you understand that the auditing that
8       Georgia has done to date is what's called a ballot
9       polling audit?
10               A   Okay.
11               Q   Are you familiar with ballot polling
12      audits?
13               A   No, not -- I've heard the term, so you
14      could refresh my memory.
15                   Again, I'm not an expert in audits so this
16      wouldn't be something that I would have in my
17      memory.
18               Q   Let me ask it this way:              Do you understand
19      that the way Georgia has done audits, including for
20      the presidential election in 2020, it does not
21      compare the printed paper ballot to the cast ballot
22      record that's reflected in the tabulation data?
23               A   I don't know.         I mentioned I'm not an
24      expert in audit.         That's not my area.            I can't speak
25      to -- to audit.        That's just not what I do.

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1               Q      You don't know whether that's done in
2       Georgia or not?
3               A      I don't know.
4               Q      I asked you earlier about whether an audit
5       could determine whether a specific ballot was cast
6       as the voter intended.             Can an audit do that, or you
7       just don't know one way or the other?
8                      MR. MILLER:       Objection.
9                      THE WITNESS:        Can an audit determine if a
10      specific ballot was cast as the voter intended?
11                     I'm not following what that means.                   That
12      doesn't make sense to me.
13      BY MR. CROSS:
14              Q      Okay.
15              A      A proper audit should -- should result in
16      looking at a ballot where the voter intent is clear.
17                     Now, with hand-marked paper ballots, we
18      know you can have stray marks and other things, and
19      the determination of what the intent is is
20      determined by the auditor.
21                     That doesn't happen in a ballot-marking
22      device where you have a ballot summary.                     If you're
23      looking at the human-readable portion, I have yet to
24      see anyone declare that there's ambiguity about that
25      mark.       And the only ambiguity that happens is the

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1       claim that, "Well, we don't know if they verified
2       it."
3                    So I would challenge anyone to say, "Okay.
4       Now I've created a technology that I can give you
5       the verification.         Now tell me how that's
6       ambiguous."      Whereas hand-marked paper ballots, I
7       could show you examples of ambiguity where it's
8       determined by the auditor.
9               Q    But you understand that the human-readable
10      portion of a BMD ballot also can be changed by
11      malware, for example, that then it does not reflect
12      the intended selections of the voter, right?
13              A    How?
14              Q    Well, in any of the ways that
15      Dr. Halderman identifies in his report.
16              A    Oh, okay.       If -- again, if it's malware
17      that changes it, and the voter verifies it, and then
18      they spoil it and do it over and get it right, there
19      is no ambiguity.         We have 100 percent confidence
20      that there's no -- it's an unambiguous result when
21      it's verified.        That's the statement I'm making.
22      Maybe that will help.
23                   Ballot summaries from ballot-marking
24      devices yield an unambiguous result, whereas
25      hand-marked paper ballots can result in ambiguous

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1       results that have to be interpreted by an auditor or
2       third party.
3                Q   Again, we know from studies like the Rice
4       study and the Michigan study and the study
5       commissioned by the Georgia Secretary of State that
6       the vast majority of voters do not actually verify
7       their ballots before they cast them from a BMD,
8       right?
9                    MR. MILLER:        Objection.        Asked and
10      answered.
11                   THE WITNESS:         The studies speak for
12      themselves.
13      BY MR. CROSS:
14               Q   You don't dispute what I just said; right,
15      sir?
16                   MR. MILLER:        Same objection.
17                   THE WITNESS:         I don't dispute what you
18      said, but I dispute what the outcomes are and the
19      resolutions to those.
20                   So in other words, we talked about trying
21      to implement interventions, and then we also
22      discussed that people who would notice would not
23      ignore.
24                   I mentioned earlier the Hawthorne effect
25      that exists in studies.

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1       BY MR. CROSS:
2               Q    The audit that was done on the
3       presidential election in Georgia in 2020, do you
4       understand that they read the human-readable
5       portions of the ballots?
6               A    I guess so.        My understanding was that in
7       Georgia, they had multiple recounts which required
8       them to manually read all of them.                  But okay.
9               Q    Are you aware of any steps the state or
10      any county took to test whether the QR code on any
11      specific ballot matched the human-readable language
12      on that ballot?
13              A    No, I am not aware of that.
14              Q    You understand that malware that flips the
15      QR code on a significant number of ballots, say
16      1,000 ballots, so that those ballots aren't counted
17      the way those voters intended, and the voters did
18      not have any ability to catch it because it's in the
19      QR code, an audit would still get to the same
20      election outcome, but those voters would be
21      disenfranchised on their individual ballots, right?
22              A    No.    If you change the QR code but the
23      human-readable portion of the text is correct and
24      you do an RLA, you would detect that.
25              Q    How would you detect that on those ballots

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1       if you're not comparing the QR code to the
2       human-readable portion on any given ballot?
3               A    Okay.     So I will -- let me explain it this
4       way:    If the QR code has an improper selection in it
5       but the human-readable portion is correct, that
6       means the tally or scanner is going to give you the
7       wrong result, okay?           Do we agree on that?
8               Q    Hold on.       I lost you for a second.               Let me
9       just look at what you said so you don't have to
10      repeat it.
11                   Yes.     Okay.
12              A    Okay.     So if you do an RLA on a
13      human-readable portion, that will catch that the
14      scanner had the wrong outcome.
15                   Now, if I'm incorrect -- I know you have
16      Dr. Stark on your team -- I would pose this question
17      to him:     Please tell me the distinction between
18      hand-marked paper ballots that go through the
19      scanner with the correct choices on them but the
20      scanner gives you the wrong number, whereas a
21      scanner that has a QR code that's giving you the
22      wrong number, there is no distinction between them.
23      And I would love to have a debate with him or anyone
24      else to show me where there's a distinction.
25                   And if he says that you cannot get to the

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1       right result of the election with a scanner that is
2       correct and a QR code that is wrong and the
3       human-readable portion is the RLA, then he has a
4       flaw in the risk-limiting audit.                 And I'd be happy
5       to have that conversation.              I think he's way -- I
6       think he's very smart, and I think he's right about
7       the RLA, so I defer to Dr. Stark that the RLA would
8       catch this.      If I'm wrong, he's wrong.
9                Q   You understand that the way the RLA
10      typically works is, it takes a statistical sample of
11      the ballots that are cast.              It doesn't look at every
12      single ballot in the ordinary course of an RLA,
13      right?
14               A   That is correct, but I would add to that.
15                   I don't need to understand how the RLA
16      operationally works.           What I know is Dr. Philip
17      Stark has said on many occasions if you have
18      hand-marked paper ballots and they go through a
19      scanner and the scanner gives you the wrong result,
20      the RLA will give you the correct outcome.
21                   If Dr. Stark is wrong, then you're right.
22      The QR code could not be corrected, and Dr. Stark is
23      wrong.
24               Q   You think he's wrong because the -- you
25      consider the hand-marked paper ballot less reliable

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1       than the BMD because voters make mistakes on them?
2               A    No.     I'm saying Dr. Stark is right in the
3       sense that an RLA will catch a scanner that gives
4       you the wrong result.
5               Q    Okay.
6               A    And what I'm saying, the scenario that
7       you're giving me that the QR code is wrong but the
8       human-readable portion is right is no different than
9       the scanner giving you the wrong result.                    It's the
10      scanner giving you the wrong result.                   It's the exact
11      same thing.
12              Q    So let's -- let's back up for a second.                    I
13      want to make sure we're on the same page.
14                   In the ordinary course, an RLA uses a
15      statistical sample of votes -- of the ballots cast.
16      It doesn't look at every ballot, right?
17              A    Yes.     And let me just say, before you go
18      on to that, the protocol for the RLA I'm going to
19      say is not the point here.              I'm not disputing the
20      protocol.
21                   What I'm saying is -- and I don't know how
22      to get you to understand this -- is that the scanner
23      gave me a wrong result with hand-marked paper
24      ballots.     Dr. Stark says the RLA will correct that.
25                   I don't dispute that.             He is right.        He

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1       knows his stuff.         Our committees agree with that.                    I
2       agree with that.
3                    Now, what I'm saying is, your scenario of
4       a QR code that has a wrong result, but
5       human-readable portion that's used in the RLA is
6       scanned, I mean read, there's no difference between
7       that and a hand-marked paper ballot with a bad
8       scanner.     There is no -- those are identical
9       scenarios.
10                   So if you're going to tell me that, "No,
11      no, no, no.      The RLA will not find -- get you a
12      correct result if the QR codes are wrong and the
13      human-readable portion is right," and that's what
14      you're using for the RLA, then Dr. Stark made a huge
15      error with the RLAs.
16                   So I ask you, is Dr. Stark wrong?                     Did we
17      get it wrong in the National Academies?                    I'm not an
18      expert in this area.           I believe what my colleagues
19      were saying and what Dr. Stark said.
20              Q    Okay.     It's remarkable to me that we're
21      having this conversation, but let me see if we can
22      do this.
23                   Do you understand that in a world where
24      there are hand-marked paper ballots, and there's --
25      and there is a problem with -- well, strike that.

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1       Let me figure out how to explain this.
2                    In a world where the QR codes are used,
3       and malware flips the QR codes on thousands of votes
4       across the state, okay, and actually flips the
5       election outcome, that can be done by malware,
6       right?
7                A   Um-hum.      Um-hum.
8                Q   Okay.     Yes?
9                A   Yes.     Exactly.       Exactly.
10               Q   And what you're talking about on the
11      hand-marked paper ballots, are you suggesting that
12      those are also miscounted by malware in the scanner?
13               A   Exactly.       Exactly.
14               Q   Right.      But a hand-marked paper ballot
15      system eliminates -- it reduces the vector points by
16      which the election can be hacked because you can't
17      get malware into a BMD or a printer; we're agreed on
18      that, right?
19               A   Wait.     Wait.      So hand-marked paper
20      ballots, the malware -- if you're injecting malware,
21      it will be in the scanner.
22               Q   Right.      So the hand-marked -- with the
23      hand-marked paper ballot system, there are fewer
24      vector points or entry points for malware because
25      you don't have two pieces of computer equipment that

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1       are used with BMDs, both the BMD and the printer,
2       right?
3                A      Technically, there are fewer points of
4       computing devices as it relates to a hand-marked
5       paper ballot versus a BMD.
6                Q      Right.    Now let's come back to where we
7       were.        I'm trying to get to a simple point.
8                       An RLA is designed to confirm election
9       outcomes.        It is not designed or capable of
10      confirming that an individual ballot counted the way
11      it was intended, right?
12               A      I'm fine with that.          Again, I -- go ahead.
13      I'm trying to understand your point.
14                      I don't think you're understanding my
15      point about the RLA as it relates to hand-marked
16      paper -- the scanner giving you the wrong number
17      because it was hand-marked or if it gave you the
18      wrong number because of the QR code.                    No matter
19      what, it gave you the wrong number.
20                      And again, Dr. Stark, who is very well
21      respected when it comes to these areas, and our
22      committee acknowledged that, and I find it hard to
23      believe that he would be wrong about this.                      I don't
24      think he's wrong.
25               Q      I understand what you're saying.                We're

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1       getting at different points, but I understand what
2       you're saying.
3                    I asked you earlier, in a scenario where
4       an RLA finds a different election outcome than the
5       one that was reported, and I said, "Doesn't that
6       mean that those voters who had their votes altered
7       were disenfranchised?"
8                    You said, "No, because the RLA has caught
9       the problem."
10                   But again, in the State of Georgia, there
11      is no legal authority that allows that election to
12      be rerun.     The mere fact that the RLA got to a
13      different result doesn't mean that those voters are
14      not disenfranchised, right?
15                   MR. MILLER:        Objection.        Calls for a legal
16      conclusion.
17                   THE WITNESS:         I have no comment on that.
18      I don't -- again, I -- I'm not an expert in Georgia
19      election law and protocol.              That's not what I do.
20      I'm sorry.
21      BY MR. CROSS:
22              Q    Right.      So you're not offering an opinion
23      in this case that RLAs can ensure that any voter
24      avoids being disenfranchised by a compromise of the
25      election system in Georgia, right?

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1               A      I don't understand that question.
2                      If we had 100 percent hand-marked paper
3       ballots and you did an RLA and you got a different
4       result than the scanner, according to what you're
5       saying, the State of Georgia would not allow the new
6       result.       Is that correct?
7               Q      I really need you to focus on what I'm
8       asking you here, Dr. Gilbert.                At some point we may
9       just have to call the judge.                I'm trying to avoid
10      that.       I need you to focus.          I get you want to talk
11      about your points and hand-marked paper ballots.
12      I'm asking you specific questions.
13                     My question is this:            Are you offering an
14      opinion that RLAs in the State of Georgia offer
15      voters assurance that they will not be
16      disenfranchised if the current election system is
17      hacked and their votes are changed?
18                     Is that an opinion you are offering in
19      this case?
20                     MR. MILLER:       Objection.        Calls for a legal
21      conclusion.
22                     THE WITNESS:        I still don't understand.            I
23      don't understand.          I don't understand.            Again, I
24      don't understand how to answer that question because
25      it just doesn't make any sense to me.                    I don't know

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1       what you're asking me.            It just doesn't make any
2       sense.
3                    I don't understand Georgia law, and I
4       can't say what Georgia law should be.                   I don't know.
5       I don't know how to answer that question.
6       BY MR. CROSS:
7                Q   Okay.     In response to the findings that
8       Dr. Halderman has in his July 1 report, haven't you
9       said that some of the precautions that the state
10      could and should adopt -- I think you identified two
11      things earlier.        One was prompting voters to verify
12      their ballots before they're tabulated, and two are
13      audits, right?
14               A   Yes.
15               Q   Okay.     So what I'm asking you is, isn't it
16      a fact that an audit does not actually remedy or
17      protect the vote of any voter against any of the
18      hacks that Dr. Halderman identifies?                   Because the
19      audit is not going to -- even if the audit gets to a
20      different election outcome, there's no mechanism in
21      Georgia law to reverse the outcome of that election.
22                   MR. MILLER:        Same objection.
23                   THE WITNESS:         Is that a question?
24      BY MR. CROSS:
25               Q   Yes.

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1               A    Again, I don't know how to answer that.
2                    I think what you're saying is, if an
3       election happens in Georgia and you get a result
4       from the machines, and then you do an audit and you
5       get a different result, you cannot change the
6       outcome of the election.
7                    Is that what you're saying?
8               Q    I'm asking, are you aware of a mechanism
9       in Georgia law that would allow the outcome of the
10      election to be changed in that scenario?
11                   MR. MILLER:        Same objection.
12                   THE WITNESS:         I am not aware of anything
13      in Georgia law that relates to that.                   No.     As I have
14      said several times before, my expertise is not in
15      Georgia law.       It's not in election law.                 That's not
16      what I do.
17      BY MR. CROSS:
18              Q    So then what is the basis for your opinion
19      that running audits in Georgia would prevent voters
20      from being disenfranchised if the audit finds a
21      different election result than the one that was
22      reported?
23              A    That's not what I said.
24                   MR. MILLER:        Objection.
25                   THE WITNESS:         I said I recommend audits as

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1       part of the National Academies report as something
2       we recommend as a best practice, the best way to
3       secure elections.         That's what we said from our
4       report.
5       BY MR. CROSS:
6                Q   Okay.     So you are not offering an opinion
7       that audits can keep voters from being
8       disenfranchised when their votes have been altered
9       by a hacking of the system?
10                   MR. MILLER:        Objection.        Calls for a legal
11      conclusion.
12      BY MR. CROSS:
13               Q   That's not an opinion you're offering,
14      right?
15               A   I'm not talking to -- still, I don't know
16      what you're -- I think what you're saying is, if it
17      turns out that the scanners give you the wrong
18      number and you do an audit, you cannot change the
19      election.
20                   I don't have -- I don't know that about
21      Georgia law.       I don't have a recommendation.                  That's
22      not what I do.
23               Q   Okay.
24               A   I can recommended some political
25      scientists here at the University of Florida who are

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1       experts in that area if you need.                 That's not my
2       expertise to recommend that.
3                    I'm giving you a recommendation that came
4       from a National Academies committee; that we took
5       the time to do this evaluation, and we recommended
6       the audit.
7                    And I'm sticking to that recommendation
8       that was grounded in work on a risk-limiting audit
9       created by Dr. Philip Stark who I, again, trust that
10      he had it right.         And if that's incorrect, I'm
11      sorry, but that's the recommendation that came out
12      of our report, and that's what I'm giving you.
13                   (Exhibit 5 was marked for identification
14              and is attached hereto.)
15      BY MR. CROSS:
16              Q    All right.        Dr. Gilbert, grab Exhibit 5,
17      which is Dr. Halderman's sealed report.
18                   And I don't want you to read anything out
19      loud from this.        I just want you to go to a specific
20      page that has something public.
21                   So once you've got it, let me know, and
22      I'll tell you where to go.
23              A    All right.        Found it.
24                   MR. MILLER:        David, I presume, by the way
25      you phrased that, you're aware of this, but I just

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1       want to make sure, there are people on the line
2       other than --
3                    MR. CROSS:        Yeah.
4                    MR. MILLER:        Okay.
5                    THE WITNESS:         I have it.
6       BY MR. CROSS:
7               Q    Okay.     Go page to page 15, and you'll see
8       a copy of the Fayette County official ballot.
9               A    15?
10              Q    Page 15, and you'll see an image of --
11              A    Okay.     I got it.
12              Q    You have that in front of you?
13              A    Yes.
14              Q    Okay.     How many of the election selections
15      on that ballot are not Republican selections for the
16      candidates?
17              A    Wait.     Say that again.           I didn't --
18              Q    How many of the selections made on that
19      ballot are not Republican candidates that were
20      selected?
21              A    Are not Republican?            So count everyone
22      who's not a Republican?
23              Q    Correct.
24              A    I counted six.
25              Q    And point out the ones that you're

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1       identifying.
2               A    Okay.     Number one, Nathan Wilson.
3               Q    Okay.
4               A    Chris Pigors.
5               Q    Okay.
6               A    Yes, no, no, no.
7               Q    The other four are not candidate
8       selections, they're issue voting on a yes or no
9       basis; is that right?
10              A    Yeah.     They are not Republicans.                 That's
11      correct.     They are not Republicans.
12              Q    Well, they're not any party.                They're a
13      selection of an issue, yes are no?
14              A    Well, you asked me to count the number of
15      not Republicans, and that's what I did.                    Not
16      Republicans.
17              Q    Right.      I just want to make sure we're
18      talking about the same four things.                  You're talking
19      about the four things that are at the end of the
20      third column, right?
21              A    Yes.
22              Q    So it's two constitutional amendments.
23      One is a statewide referendum, and one is Fayette
24      County School District homestead exemption.
25                   Those are the four things you're talking

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1       about?
2                A    That is correct.
3                     MR. CROSS:        Okay.     All right.        While we
4       have this up, anyone who does not have access to AEO
5       information needs to drop off, and I think that's
6       just Marilyn.
7                     MR. MILLER:        David, how long do you think
8       you're going to go on this section of questioning?
9                     MR. CROSS:        Do you want to take a break?
10                    MR. MILLER:        Yeah.      If you're going to be
11      on it for a while, if you don't mind, just a
12      five-minute break.
13                    MR. CROSS:        Sure, that's fine.
14                    THE VIDEO OPERATOR:            Okay.      Going off the
15      record at 2:43.
16                    (Recess, 2:43 p.m. - 2:52 p.m.)
17                    THE VIDEO OPERATOR:            Back on the record at
18      2:52.
19      BY MR. CROSS:
20               Q    Dr. Gilbert, do you still have
21      Dr. Halderman's July 1 report in front of you?
22               A    Yes.
23               Q    Do you still have that Fayette County
24      ballot on page 15 up?
25               A    Yes, I do.

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1                Q   In your opinion, is that a well-designed
2       ballot?
3                A   Did somebody say something?
4                    MR. MILLER:        I think we just had a
5       momentary interruption.
6                    THE WITNESS:         I would not have designed it
7       this way.     It can be done better.
8       BY MR. CROSS:
9                Q   How would you design it better?
10               A   It has a ballot summary, but I wouldn't
11      have put it in three columns, as an example.
12               Q   Why not?
13               A   It does make it harder to identify
14      discrepancies if you have the three-column format
15      like this.
16               Q   How so?
17               A   Because it doesn't allow you to scan all
18      at once.     You have to do multiple scans, either left
19      to right multiple times, or top to bottom multiple
20      times.
21               Q   And just so we're clear, when you say
22      "scan," you mean the human scanning, not the
23      electronic tabulator?
24               A   Exactly.       Yeah.     The human read.
25               Q   And then fair to say that you -- as you

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1       sit here, you don't have any way of knowing whether
2       the QR code in that ballot matches the individual
3       selections below, right?
4               A    No, I do not.
5               Q    The election equipment from Fulton County
6       that Dr. Halderman has examined, would you recommend
7       putting that equipment back into use in Georgia
8       elections after an independent expert has tested it?
9               A    I would -- I would recommend using it
10      again, but I would recommend consideration to
11      addressing issues where they can be addressed.
12                   Again, one of the recommendations is
13      focusing on voter verification, as an example.
14              Q    So let me be more specific because I may
15      not have been clear.
16                   I don't mean equipment of that type.                  What
17      I'm saying is the specific equipment, the machines
18      that Dr. Halderman did his testing on, would you
19      recommend putting those machines back into service
20      in Georgia elections after an independent expert
21      evaluates them?
22              A    I think you can put those back.                  Again,
23      even -- even if -- even if they have been
24      compromised, but if we had 100 percent voter
25      verification, we would be in a good place.

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1               Q      Are there any steps that you would
2       recommend be taken with those machines before they
3       go back into service?
4               A      I haven't given that thought.                That's not
5       something I've thought about.                Sorry.
6               Q      That's okay.
7                      All right.       Take a look at -- go to the
8       beginning --
9                      Let me just make sure we're all good here.
10      Yeah.       All right.     As far as I can tell, everyone on
11      has access to AEO information.                 I don't see
12      Ms. Marks, but Carey, let me know if you've got a
13      different --
14                     MR. MILLER:       I think it was -- I think
15      that's right.
16      BY MR. CROSS:
17              Q      Dr. Gilbert, go to the first page of
18      Dr. Halderman's report, if you would, and the
19      heading is "
20              A      Hold on here.        Let me get there.           You said
21      the heading is -- the contents page?
22              Q      No, no.     Sorry.      It's the first
23      substantive page.          It's the heading "
24              A      Okay.
25              Q      It's page 5 of the blue pagination at the

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1       top.
2               A    I got it.       I got it.        I'm on that page
3       now.
4               Q    Okay.     If you come down below, do you see
5       the third paragraph where Dr. Halderman wrote, "
6
7
8
9
10                  "?
11                   Do you see that?
12              A    I do see that.
13              Q    Were you asked, for the purpose of your
14      engagement, to conduct the same type of analysis or
15      were you asked to do something different?
16              A    I was not asked to do that.                No, I was
17      not.
18              Q    If you come down below, you'll see the
19      next heading is "                                 ."
20                   Do you see that?
21              A    Yes, I do.
22              Q    And then at the bottom, you'll see, just
23      before the number 1 paragraph, it reads, "
24
25

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1                      Do you see that?
2               A      I do.
3               Q      And in your declaration, you don't dispute
4       that any of the number of vulnerabilities that he
5       has in paragraphs 1 through 7 are present in the
6       election equipment used in Georgia, right?
7                      MR. MILLER:      Object to form.
8                      THE WITNESS:       Number one,
9                   that -- I trust that he was able to do that,
10      so I don't dispute that.
11                     I would say, you know, given access and
12      time that he was given, I think these -- I don't
13      question him being able to accomplish any of these.
14      BY MR. CROSS:
15              Q      Come to the -- it's page 7 of 97.                   Near
16      the top it says, "                         in bold.
17              A      Got it.
18              Q      Do you see here -- do you see the
19      sentence, it's the second sentence that begins,
20      "However"?
21              A      Yes.
22              Q      And Dr. Halderman wrote, "
23
24                                                     ."
25                     Do you see that?

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1                A     I do.
2                Q     In your declaration, you don't disagree
3       with that opinion, right?
4                A     I don't agree -- I don't know that I agree
5       or disagree with it as far as what he -- what he's
6       constituting as patching.             I don't know what that
7       means.       Merely patching, I'm not sure what the
8       context is, what that means.
9                Q     You didn't undertake any analysis into
10      what kind of patching could be adopted to mitigate
11      the vulnerabilities he identifies in his report,
12      right?
13               A     No, I did not.        And I would say that -- I
14      would like -- it would be interesting for
15      Dr. Halderman to say what patching he's referring
16      to.
17                     In addition to that, I go back to our
18      previous discussion about this.                When he says the
19      patching, is that referencing reliably secure?                     Is
20      that the same thing or not?
21               Q     All right.      If you come down, do you see
22      below that, it says, "                                 "?   It's
23      Section 1.2?
24               A     Yes, I do.
25               Q     And then he's got a number of paragraphs

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1       set off by bullets.
2                     Do you see that?
3               A     Yes.
4               Q     And in your declaration, you don't dispute
5       any of the technical findings that he has listed
6       there, right?
7               A     The                        , I do not agree with
8       that.
9               Q     What paragraph are you at?
10              A     The second bullet.
11              Q     Where in your declaration do you dispute
12      that?
13              A     I don't -- I don't know if I spoke
14      directly to this in my declaration or not, but I --
15      you know, this particular notion that
16                             , I -- I don't agree with that.
17              Q     Do you see -- I'm sorry.               I didn't mean to
18      cut you off.
19              A     You asked me, do I disagree with any of
20      the points, and I'm telling you that I disagree, for
21      example, with that point immediately.                    I can look at
22      the others, but I can tell you, just looking at it,
23      I saw DRE and I saw that comment, I can immediately
24      tell you I do not agree with that.
25              Q     My question was actually more precise

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1       about whether you disagree in your declaration,
2       because my focus is on the opinion you've put in
3       this case.      But I understand your testimony.
4                    Looking at this particular piece or this
5       particular point about the DREs, do you see where
6       his writes in the second sentence of that paragraph,
7       "
8
9
10
11                         "?
12                   Do you see that?
13              A    Yeah, I see that.
14              Q    And he goes on, "
15
16
17
18                                     ."
19                   Do you see that?
20              A    I see that.
21              Q    And in your declaration responding to this
22      report, you don't dispute his opinions in either of
23      those sentences, right?
24              A    I don't recall.          Let me pull up my
25      declaration.       I can look.

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1                    But if I didn't dispute them, I'm telling
2       you now I do dispute it.             It may have not appeared
3       in my declaration, but I do not agree that the BMD
4       is at the same level in any comparison as the DRE.
5                    Because just as he did a study on voters
6       verifying their ballots, in a real election
7       scenario, in the scenario where some people are
8       actually worried about votes flipping, and they're
9       all verifying their ballots, you're going to tell me
10      that somehow you're going to change the outcome of
11      an election with this -- with everyone verifying?                       I
12      don't believe that.          Whereas the DRE, you could
13      easily do that because it's impossible to verify.
14      Here, you can verify.           DRE, you cannot.           So I think
15      that's disingenuous to compare the two at that
16      level.
17               Q   Where does Dr. Halderman say here that
18      what he's looking at has anything to do with
19      changing election outcomes?
20               A   That's the whole intent of the hack.
21               Q   Okay.     That's your understanding of what
22      he's saying here?
23               A   My understanding of Dr. Halderman's
24      overall objective is to change the outcome of the
25      election undetected and where it can't be corrected.

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1               Q    You don't have an understanding that
2       Dr. Halderman is looking at whether individual
3       voters can be disenfranchised by having their
4       individual votes altered even if the election
5       outcome is not altered?            You don't understand that
6       part of his analysis?
7               A    I've never heard him say that, and I don't
8       see that as his analysis.             That's not how I'm
9       interpreting anything he's written.                  No.
10              Q    So you -- in responding to his report
11      here, his July 1 report, your understanding was that
12      what he was talking about was only about whether
13      these hacks can result in changes to the election
14      outcomes as opposed to simply changing individual
15      votes that may not rise to the level of changing
16      outcomes?
17              A    I think the -- the context that I read his
18      work and his declaration is the ability to change
19      the outcome of the election, changing both so that
20      it's undetectable and can't be corrected.
21              Q    And in this paragraph we're looking at
22      where he is comparing the ICX BMDs to the AccuVote
23      TS and TS-X DREs, you understand that what he's
24      comparing there are specific cybersecurity
25      vulnerabilities within the computer equipment,

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1       right?
2                A    Well, in the next sentence where he talks
3       about
4                     , those are things he's referencing.                    From
5       that perspective, that's what he's referencing.                        I
6       see that.
7                Q    There are these bulleted technical
8       findings that we're looking at under his main
9       conclusions.        Are there any others that you dispute
10      in your declaration?
11               A    I don't recall directly disputing -- I
12      don't know -- it goes to my declaration.                     I have
13      to -- I need to pull out my declaration and go point
14      by point down my declaration and see -- look at each
15      one of these points and then go back and see if I
16      reference that or talk about it in my declaration.
17                    Do you want me to do that exercise?
18               Q    Unfortunately I have to have you do that
19      exercise because I need to know whether you're
20      talking a position that your declaration refutes any
21      of these points.
22               A    Okay.     So point 1, "
23                                               " -- okay.       Point 1 is
24      not specific.
25                    I already addressed point 2.

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1                    Point 3, "
2             " -- all right.          So Point 3, he's saying that
3
4                                                         , which you were
5       asking, do I understand the context.                   That's exactly
6       what he just said here.
7                    Let's see.
8               Q    Let's just pause there so we're on the
9       same page.
10                   He says the
11
12                                                                             .
13                   That's what he wrote there, right?
14              A    Those are different things?
15              Q    You don't understand that individual votes
16      are distinct from election outcomes?                   You consider
17      them the same?
18              A    Election outcomes are based on individual
19      votes, are they not?
20              Q    But you understand that a voter can be
21      disenfranchised when their vote does not count even
22      if the election outcome is not altered by the
23      failure to count their vote, right?
24                   MR. MILLER:        Objection.        Calls for a legal
25      conclusion.

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1                     THE WITNESS:         Can you point to me in this
2       declaration that we're looking at for Dr. Halderman
3       where he says that?           I may have missed it.             I'm
4       sorry.
5       BY MR. CROSS:
6                Q    You mean where he writes, "
7
8
9                               "?
10                    Are you asking for something other than
11      what he wrote there?
12               A    You're saying that the disenfran- -- how
13      did you say -- disenfranchisement of an individual
14      vote and not changing the outcome of an election?
15               Q    Do you understand that a voter --
16               A    Wait.     Wait.      Before you ask me that, I'm
17      asking you, can you point to me in the document
18      where he said that?
19               Q    I'm not -- Dr. Gilbert, I'm not the
20      witness, and I'm not representing you about language
21      of disenfranchisement, okay?
22                    You asked me to show you where he talks
23      about evaluating the impact on individual votes and
24      on election outcomes.            We're reading a sentence
25      here.

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1                    If you'd like to go through it and find
2       others, we can do that.            I'm trying to make sure I
3       understand your view here.
4                    Do you understand that a voter can cast a
5       vote in an election, have that vote not count
6       because it is altered in some way, it's lost, any
7       variety of things could happen, and yet that does
8       not alter the election outcome?                Are we agreed that
9       that is a scenario that can happen?
10              A    Yes, I agree that's a scenario that can
11      happen.
12              Q    And in that scenario, that individual
13      voter has been harmed by not having their vote
14      counted.
15                   MR. MILLER:        Objection.        Legal conclusion.
16      BY MR. CROSS:
17              Q    I mean, do you dispute that, that every
18      voter wants their vote to count?
19              A    No, I don't dispute that.
20              Q    Okay.
21              A    I guess the point that I'm making is, if
22      individual votes change -- outcomes are determined
23      by individual votes.           So I was trying to understand
24      where you were going, but I see your point.
25                   You're talking about disenfranchisement of

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1       individual voters, which I would also say I would
2       agree with that.         Just as I stated earlier, people
3       with disabilities are individual voters, and they
4       want the right to a private ballot and a fair ballot
5       as well.     Shouldn't their votes be counted and not
6       be disenfranchised either?
7                    So yes, I completely agree with that.
8       Yes.    You're right.        Individual voters, every one,
9       including those with disabilities.
10              Q    I will say, Dr. Gilbert, that we have
11      found something that we're in violent agreement on,
12      particularly for voters with disabilities.
13              A    Okay.     So he's talking -- the third one is
14      about QR codes.        Let's see.        In my -- let's see.
15      Let me look for QR codes.             Do I talk about QR codes
16      in here?
17                   In my declaration, paragraph 12, I talk
18      about QR codes.
19              Q    Just so we're clear, you don't dispute
20      that -- strike that.
21                   You don't dispute Dr. Halderman's finding
22      that the
23                                                                  that's
24      used in Georgia; you don't dispute that, right?
25              A    I do not dispute that, given time and

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1       access, that you can
2                                                                           .
3       I do not dispute that.
4               Q     And you haven't undertaken any analysis to
5       determine how much time it would take for a hacker
6       to do that if they wanted to do it, right?
7               A     No, I have not done that.               As I mentioned
8       earlier, I don't hack systems.                 That's not my
9       expertise, so I wouldn't have done that.
10                    That's a great question to ask
11      Dr. Halderman, how long does it take to do such an
12      exercise.
13                    MR. CROSS:        You might want to write that
14      down, Carey.
15                    THE WITNESS:         And with that, as far as the
16      time it takes, again, that's not my area, but I
17      think it would be interesting to find the answer to
18      that.
19                    And I'd be interested -- again, in the
20      same spirit that I mentioned earlier about
21      Dr. Halderman hacking a system and giving it to a
22      third party, the same thing could be true where
23      Dr. Halderman is given a system and then put on the
24      clock to determine how long it takes him to hack it,
25      not one that he's seen for 12 months.

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1       BY MR. CROSS:
2               Q    Are you aware that there are individuals
3       that are claiming to have released proprietary
4       election management software from Dominion like that
5       used in Georgia?
6               A    I am not aware of that, but I am not
7       surprised that -- whether it's true or not, the
8       allegation would be out there is not a surprise to
9       me.
10              Q    Why not?
11              A    It's the climate we live in.                Just
12      misinformation, disinformation.                Just, I'm not
13      surprised.
14              Q    Would you be concerned if that allegation
15      is true that proprietary election software from
16      Dominion was leaked, for example, by a clerk who had
17      access to it in one of the election challenge
18      proceedings in a state like Arizona?
19                   MR. MILLER:        Object to form.
20                   THE WITNESS:         I wouldn't be severely
21      concerned.
22                   Again, I think the verification piece is
23      more important to me.           So I would -- you know, and
24      I'm willing -- I'd be willing to consider this.
25      That was another piece.

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1                    If people are verifying their ballots and
2       it's wrong, they correct them, and that would tell
3       you things, so you would get it right.
4                    So even if you did hack it, if people were
5       verifying it, you'd get it right.
6       BY MR. CROSS:
7               Q    Isn't one of the challenges with voter
8       verification is that even if you're right that
9       voters can reliably identify when their votes are
10      being altered from what they cast, that only occurs
11      once the election is underway, right?
12              A    Right.
13              Q    So shouldn't you, as an election security
14      expert -- don't you agree that rather than the
15      mechanism for securing an election being one that
16      has to play out when the election is already
17      underway, there should be measures that are taken
18      before the election even begins to make the election
19      as secure as it can reasonably be?
20              A    I think that's a good approach, and I hope
21      that Dr. Halderman and others will -- I hope you
22      will communicate to them to relay publicly what is
23      reasonable security so that we can implement those,
24      and those standards can be used if they are willing
25      to accept what they are.

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1                    So yes.      What you just said is a reference
2       to reasonable security implementation for these
3       systems which none of them, to my knowledge, have
4       ever said.      But if they can do that recommendation,
5       I appreciate it.         And again, I said I'm working on
6       things in this area, which I look forward to
7       engaging them on in '22.
8                Q   You've testified in your declaration and
9       here today that voter verification is one of the
10      primary ways to protect against the particular hacks
11      that Dr. Halderman identifies in his July 1 report,
12      right?
13               A   Right.
14               Q   As an election security expert, don't you
15      think that the better approach would be to actually
16      remedy the hack, to take measures that prevent the
17      hacking in the first place, rather than leaving it
18      to voters to discover it on their ballots in the
19      middle of an election?
20               A   That's -- to me, that's an ideal scenario.
21      But I would say that my colleagues, Dr. Halderman
22      and Dr. Appel, et cetera, would say there is no way
23      to secure a machine, given time and access,
24      100 percent.       The verification is the one thing we
25      can secure independent of the hacks that they

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1       implement.
2                    So again, I'm going back to the reference
3       of reasonably secure.           I suspect that doesn't exist
4       because I don't think they can live with themselves
5       saying that there's a way -- a computer system that
6       would be acceptable in voting because their job is
7       to break things.
8                    But if they were to announce that and say
9       that, that would be a remarkable thing we could all
10      agree upon and move forward in a positive direction
11      upon if there is such a reasonable secure standard.
12              Q    You keep talking about Dr. Halderman and
13      Dr. Appel, but -- and I understand that you perceive
14      a disagreement among you.
15                   I'm really focusing right now on your
16      position.     Your position, as I understand it, is
17      that BMDs can be reliably used.
18                   And my question to you is, rather than
19      relying on voter verification to catch a hack or a
20      glitch in the system once an election is already
21      underway, don't you agree as an election security
22      expert that those who are responsible for these
23      machines and for elections should take reasonable
24      measures to prevent the hacking in the first place,
25      for example, taking measures to mitigate what

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1       Dr. Halderman has found with these machines?
2                    MR. MILLER:        Objection.        Vague, asked and
3       answered.
4                    THE WITNESS:         Well, I would say I agree
5       with reasonable measures.             You and I agree on that,
6       and I hope Dr. Halderman and them -- I'm so excited
7       to hear this, and I am eager to see what comes out
8       of this.
9                    But yeah, reasonable measures.                 See, to
10      me, the question is, what is reasonable?                    And I want
11      to hear what reasonable is.
12                   You're using the term, and I'm -- I'm
13      using the term, and hopefully we are on the same
14      page what that actually was going to look like.
15                   But yeah, I think that's true.                 Reasonable
16      security, that makes sense to me.
17      BY MR. CROSS:
18              Q    As an election security expert, why would
19      it be sensible to use an election system that
20      possesses all of the vulnerabilities that
21      Dr. Halderman has identified in Georgia and leave it
22      to voters to identify a hack by carefully reviewing
23      their ballots, including ballots like the one you
24      just looked at, from an actual election in Georgia,
25      rather than taking necessary measures on the front

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1       end to mitigate those vulnerabilities?
2                A     I think you could take necessary measures
3       to make it reasonable, as you said.                  But again, even
4       in a hand-marked paper ballot scenario, I gave you
5       an example where voters don't verify those and you
6       have issues.
7                      So the burden is on the voter either way
8       to actually verify the ballot.                Even hand-marked
9       paper ballots have to be verified.
10               Q     Right.    But what we've established is, I
11      thought, that the burden on the voter is much higher
12      with BMDs because the BMD allows a hack that can
13      change votes on a large scale the voters may not
14      even be able to detect on their ballot such as a
15      change in the QR code, right?
16               A     A change in the QR code cannot be detected
17      by the voter.       I think we all agree on that.
18               Q     And the type -- sorry.
19               A     What I'm saying is, in the case of the
20      hand-marked paper ballots, I gave you examples where
21      large-scale votes were changed.                Large-scale votes.
22      Large.       So you can't minimize the impact either way
23      of voter verification.            There's -- the burden is
24      there in both scenarios.
25               Q     Just be precise.         You've not given a

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1       situation where large-scale votes were changed in a
2       hand-marked paper ballot.             You're testifying about
3       the situation in Florida where the vote they cast
4       was not the vote they intended.                But their vote
5       wasn't changed from the way it was cast on the
6       ballot, right?
7                A     It wasn't changed the way they cast, but
8       they cast it -- the design caused them to cast it
9       the wrong way.         I don't see a distinction either
10      way.
11               Q     I didn't want to cut you off when you were
12      looking at the main conclusions.
13                     Are there any other -- any findings here
14      that you dispute?
15               A     Okay.    I talk about QR codes.             I talk
16      about using BMDs for only with people with
17      disabilities.
18               Q     Which bullet are you on?
19               A     The second-to-the-last bullet, using
20      vulnerable -- and it talks about all in-person
21      voters.
22                     Okay.    So I know I talk about those things
23      in my declaration.
24               Q     All right.      Go to page 19 of 97, if you
25      would.       And the heading is "4.2                                   ."

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1               A    Got it.
2               Q    Do you see in the third paragraph down
3       that begins "                        "?
4               A    Yes.
5               Q    And here Dr. Halderman writes, "
6
7                                                                              ,
8
9                                                                   ."
10                   Do you see that?
11              A    Yes.
12              Q    And you don't dispute in your declaration
13      that the printer that's used with the BMD system in
14      Georgia is, in fact, an off-the-shelf printer like
15      the one that Dr. Halderman used, right?
16              A    No, I do not dispute that.                I don't have
17      access to the actual printer being used, but I
18      didn't dispute that at all.
19              Q    And then if you come down, do you see the
20      paragraph that begins, "                            " on the same
21      page, a couple below where we were?
22              A    Let's see.
23              Q    Two paragraphs --
24              A    I got it.       I see it.
25              Q    Here Dr. Halderman wrote, "

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1
2
3
4
5
6                    Do you see that?
7               A    Yes.
8               Q    He goes on to talk about the election
9       packages that he received.
10                   Do you see that?
11              A    Yes.
12              Q    You don't address that data in your
13      declaration, right?
14              A    No, I do not.
15              Q    Do I understand, is that not something
16      you've analyzed?
17              A    No, I have not analyzed that.
18              Q    If you come to the next paragraph, do you
19      see where it reads, "                                              "?
20              A    Yes.
21              Q    He writes, "
22
23
24                                         ."
25                   He goes on to say, "

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                                                                    Page 208

1
2
3
4                                                   ."
5                    Do you see that?
6               A    Yes.
7               Q    And you don't dispute his opinion there on
8       what that indicates in your declaration, right?
9               A    I do not discuss that in my declaration.
10              Q    You previously testified in this case that
11      your understanding is that the BMD election system
12      is air-gapped, right?
13              A    Yes.
14              Q    I think you testified before that you're
15      assuming that to be true based on some materials you
16      looked at describing how the system is supposed to
17      operate and be set up; is that right?
18              A    Correct.
19              Q    You've not yourself confirmed that any
20      aspect of Georgia's election system is, in fact,
21      air-gapped, right?
22              A    I have not had a Georgia system in my
23      possession to do any evaluation.
24              Q    And you did not undertake any analysis or
25      investigation with your client in this case to

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1       determine whether the election system is in any way
2       air-gapped, right?
3               A    No.     I use -- I cited in my previous
4       declarations what I used.             Those documents were
5       referenced in my declaration.
6               Q    You did not undertake any analysis or
7       investigation to determine whether any equipment or
8       devices that were used with the old DRE system have
9       also been used with the new BMD system, right?
10              A    All I had was what I put in my
11      declaration, the documents that I referenced.                      I
12      didn't have access to an old DRE, I did not have
13      access to the new BMD or any election system.                      I
14      have not had access to any election system from the
15      State of Georgia ever.
16                   MR. CROSS:        Oh, why did it do that?             Hold
17      on.   Sorry.       I was just pulling up a new exhibit.
18      It's going to be Exhibit 6.              Give me one second.
19                   (Exhibit 6 was marked for identification
20              and is attached hereto.)
21      BY MR. CROSS:
22              Q    All right.        Pull up Exhibit 6, if you
23      would, please, Dr. Gilbert.              Just let me know when
24      you have it.
25                   Hold on.       Sorry.      It's Exhibit -- it's

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1       Exhibit 5.
2                A     Exhibit 5, you said?
3                Q     Yes.
4                A     I think there's -- we already had 5,
5       right?
6                Q     I'm not sure what just happened here.
7       Sorry.       I just introduced a new exhibit, but --
8                      MR. MILLER:       Yeah, I noticed the same
9       thing.       I think it -- somehow they got switched.
10      I'm not exactly sure how.
11                     MR. CROSS:       All right.        Hold on.      Hold on.
12                     MR. MILLER:       Do you want to go off the
13      record?
14                     MR. CROSS:       Yeah, yeah.        Let's go off the
15      record.
16                     THE VIDEO OPERATOR:           Okay.      Going off the
17      record at 3:30.
18                     (Recess, 3:30 p.m. - 3:32 p.m.)
19                     THE VIDEO OPERATOR:           Back on the record at
20      3:32.
21      BY MR. CROSS:
22               Q     Dr. Gilbert, do you have Exhibit 6 open in
23      front of you?
24               A     I do.    The Tab 6 Dominion thing?
25               Q     Yes.

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1               A     Okay.
2               Q     Is this a document that you've seen
3       before?
4               A     I don't recognize this off the top of my
5       head.
6               Q     Do you see at the top there's an e-mail
7       from Michael Barnes to Scott Tucker?
8               A     Yes, I do.
9               Q     Do you know who Michael Barnes is?
10              A     No, I do not.
11              Q     Do you understand he's one of the election
12      officials that works for the Secretary of State's
13      office?
14              A     If you say so.          Like I say, I don't know
15      who that is.
16              Q     You see the e-mail thread begins with an
17      e-mail between two individuals at Dominion Voting,
18      Dedrick Smith and Scott Tucker?
19              A     Okay.
20              Q     And those are -- that e-mail is sent on
21      January 15, 2020, right?
22              A     Yes.
23              Q     And Mr. Smith writes to Mr. Tucker, "I was
24      wondering if you could ask the state if there is a
25      special USB they are supposed to be sending out to

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1       the counties to submit their L&A exports and the
2       exports for election day."
3                    Do you see that?
4               A    I see something, but it doesn't say
5       "special USB."        It says, "Is the state providing new
6       USB drives?"
7                    That's what I have here in front of me.
8               Q    No, no.      Come down to the first e-mail in
9       the thread from Mr. Smith to Mr. Tucker, bottom of
10      the page.
11              A    Okay.     Bottom of the page.             I'm there.      I
12      see it now.      "Special USB," I see it.
13              Q    You understand L&A here refers to logic
14      and accuracy testing, right?
15              A    Correct.       Yes.
16              Q    And then Mr. Smith goes on, "They have a
17      USB that they normally send the export files on, but
18      they are old.        So we need to know if they can use
19      those or if the state will be sending new USBs out."
20                   Do you see that?
21              A    Yes.
22              Q    Mr. Tucker forwards this e-mail on to
23      Michael Barnes.        You can see his e-mail indicates
24      that he is with the Secretary of State's office in
25      Georgia.

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1                    Do you see that?
2               A    Yes, I see that.
3               Q    Mr. Tucker writes, "Michael, is the state
4       providing new USB drives for the counties to send
5       their L&A exports and E-Day exports to you on or
6       should they use the USB drive they have from the
7       previous system?"
8                    Do you see that?
9               A    Yes.
10              Q    Do you understand that January of 2020 is
11      in the time frame of when Georgia was rolling out
12      the new BMD system, switching from the DREs to the
13      Dominion system?
14              A    Okay.
15              Q    Do you recall one way or the other whether
16      that's right?
17              A    I don't recall when they -- when they did
18      that, but --
19              Q    Okay.
20              A    -- okay.
21              Q    And then Mr. Barnes responds same day
22      saying, "The counties can use the USB that the state
23      has previously provided."
24                   Do you see that?
25              A    Yes, I do.

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1               Q     Are you aware that this is an exhibit that
2       we introduced during the hearing in September of
3       last year in which you also testified?
4               A     Like I said, I don't remember this, but
5       okay.
6               Q     There's no indication in your declaration
7       that you've had any -- conducted any investigation
8       into what's being discussed here and whether USB
9       drives that were used with the DRE system have also
10      been used with the new BMD system.                   That's not
11      something you've looked into, correct?
12                    MR. MILLER:        Objection.        Relevance.
13                    THE WITNESS:         No, I have not.
14      BY MR. CROSS:
15              Q     And you previously testified in this case
16      that the new BMD system is completely separate and
17      unconnected to the old DRE system, right?
18              A     Yes, I did.
19              Q     But if the counties were using USB drives
20      with the new Dominion system that they previously
21      had used with the DRE system, that certainly would
22      raise the possibility for an exchange of data
23      between those two systems, right?
24                    MR. MILLER:        Objection.        Relevance.
25                    THE WITNESS:         I think you said it

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1       correctly.      Possibility.
2                    So it's possible that these drives could
3       have been completely wiped and reformatted.                        It's
4       possible that they could have been tainted.                        So it's
5       possible a lot of different things based on what you
6       are saying.
7       BY MR. CROSS:
8               Q    You didn't think that it was relevant for
9       your opinions in this case to determine whether the
10      counties or the state are using USB drives with the
11      new system that were previously used with the DRE
12      system without wiping them, without securing them,
13      without ensuring that they're not compromised?
14              A    I did not ask that question.
15              Q    Do you think that that's a relevant
16      question for evaluating the security of the new
17      election system?
18              A    I think that is a relevant question, and
19      it should be asked.
20                   I think the protocol of what's obviously
21      exchanged -- anything connected to the voting system
22      should be evaluated, obviously.
23              Q    Evaluated how?
24              A    All kinds of ways.            It depends on what
25      you're connecting to it.

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1               Q    I'm sorry.        Can you explain what you mean?
2               A    For example, if you're connecting a USB to
3       the system, it should be wiped.                That's a clean -- a
4       way to clean the -- keep the system clean, avoid
5       issues.     Standard protocol in many places in shops
6       that have technology.
7                    So evaluating what is connected, what's
8       the data on there, those questions are things that
9       have to be looked at.
10              Q    Why didn't you look at that on behalf of
11      the state with respect to things like the USB drives
12      that we see being discussed here for your work?
13              A    I was -- I was focused on what was
14      given -- I was not given USB drives.                   I was not
15      given any technology.
16                   My focus, again, was on Dr. Halderman and
17      Appel's analysis.         That's where my focus was on.                I
18      don't have any equipment, never have received any
19      equipment, technology, from the State of Georgia.
20              Q    If you come back to Dr. Halderman's
21      report, the July 1 report, the page we were on
22      before, page 19 of 97 --
23              A    Okay.
24              Q    -- at the bottom, do you see where it
25      says, Section 4.3, "                              "?

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1                A   Yes, I do.
2                Q   You don't offer an opinion in this case
3       that Dr. Halderman's methodology for his analysis in
4       his report was in any way improper or unsound,
5       right?
6                A   I do not.
7                Q   Come to page 22 of 97.              You'll see there's
8       a heading in the middle of the page, Section 5.2,
9       "                                              ."
10               A   Yes.
11               Q   And here he writes, "
12
13
14
15                   Do you see that?
16               A   Yes.
17               Q   You don't dispute in your declaration that
18      ICX QR codes are not protected against replay
19      attacks, right?
20               A   I do not.
21               Q   If you come down to page 24 of 97, do you
22      see where it says, "                                "?
23               A   Yes.
24               Q   And here he wrote, "
25

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1
2
3                     ," and he refers to Section 11.1.                    He
4       says, "
5                             ."
6                    Do you see that?
7                A   I do see that.
8                Q   And you don't dispute in your declaration
9       his finding on the ability to copy the ballots,
10      right?
11               A   I do not.
12               Q   Next, he refers again to the
13
14                   Do you see that?
15               A   Yes.
16               Q   Come to page 29 of 97.
17               A   Okay.
18               Q   Do you see there's a picture at the top
19      of -- it looks like access cards?
20               A   Yep.
21               Q   Do you see where it says, "
22                    "?
23               A   Yes.
24               Q   And then he writes, "
25

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                                                                    Page 219

1                                                                               ."
2                    Do you see that?
3               A    Yes, I do.
4               Q    He goes on to say at the end, "
5
6                                                  ."
7                    Do you see that?
8               A    I do.
9               Q    You don't dispute that finding in your
10      declaration, right?
11              A    I do not.
12              Q    If you come down to the heading 6.1 on the
13      same page --
14              A    Yep.
15              Q    -- it reads, "
16                                     ."
17                   Do you see that?
18              A    I do.
19              Q    Here he writes, "
20
21
22                                                                         ."
23                   Do you see that?
24              A    I do.
25              Q    And you don't dispute that finding in your

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1       declaration, right?
2               A    I do not.
3               Q    All right.        Come to the next page, heading
4       6.2.
5               A    Yes.
6               Q    It says, "
7                                            ."
8                    Do you see that?
9               A    I do.
10              Q    And here he writes, "
11
12
13
14                           ."
15                   Do you see that?
16              A    I do.
17              Q    And you don't dispute that finding in your
18      declaration, right?
19              A    No, I do not.
20              Q    Come down to the next page, please,
21      heading 6.3.
22              A    Got it.
23              Q    Here it reads, "
24
25                   Do you see that?

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                                                                    Page 221

1               A    Yes.
2               Q    He writes, "
3
4
5
6                    Do you see that?
7               A    I do.
8               Q    You don't dispute that finding in your
9       declaration, correct?
10              A    I do not.
11              Q    Come to the next page, 33 of 97,
12      heading 7.
13              A    Page 33, you said?
14              Q    Yes, sir.       Heading 7.
15              A    I'm there.
16              Q    Okay.     Come down to heading 7.1.
17                   Do you see that?
18              A    Yeah, I'm there.
19              Q    He writes, "
20
21                                                       ."
22                   Do you see that?
23              A    Yes.
24              Q    You don't dispute that finding in your
25      declaration, correct?

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1               A    I do not.
2               Q    Come to the next page, please,
3       heading 7.2.
4               A    Yes.
5               Q    Here he writes -- the heading is
6       "                               ."    And he writes,
7                                                                              ,
8                                                   ."
9                    Do you see that?
10              A    Yes.
11              Q    You don't dispute that finding in your
12      declaration, correct?
13              A    I do not.
14              Q    Go on page 36 of 97, please.
15              A    Okay.
16              Q    He has heading 7.5, "
17
18                   Do you see that?
19              A    I do.
20              Q    He writes, "
21
22
23                            ."
24                   Do you see that?
25              A    I do.

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1               Q    You don't dispute that finding in your
2       declaration, correct?
3               A    I don't think I dispute this.                 No, I do
4       not.
5               Q    And then he goes on to refer to defeating
6       logic and accuracy testing.
7                    Do you see that?
8               A    I do.
9               Q    And he -- at the end of that paragraph, he
10      concludes, "
11
12                   Do you see that?
13              A    At the end of that paragraph?                 I don't see
14      it.
15              Q    Do you see the short paragraph that has
16      the bolded language, "
17
18              A    Yeah, I do.
19              Q    If you come to the end of that short
20      paragraph, the last sentence reads, "
21                                                 ."
22              A    I don't see that anywhere.                I see
23      "                              " --
24              Q    You're too far down.               I'm sorry.     Come up
25      above -- just below the heading 7.5, the bolded

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1       language, "                                                        ."
2               A     Okay.    I'm there.
3               Q     So stay in that same short paragraph.
4               A     I see it.      I see it.        "
5                                       ."    I see it now.         The last
6       sentence in that paragraph.              Okay.
7               Q     Yes.    And you don't dispute that finding
8       in your declaration, right?
9               A     I did not dispute that in my declaration.
10              Q     Okay.    If you come down to where you were
11      looking at a moment ago, the bolded language at the
12      bottom of that page that reads, "
13                  ," do you see that?
14              A     Yes.
15              Q     At the end of that paragraph, still on the
16      same page, he concludes,
17                     ."
18                    Do you see that?
19              A     Yes.
20              Q     You did not dispute that finding in your
21      declaration, correct?
22              A     No, I did not.
23              Q     Okay.    Come to the next page, please.
24              A     Okay.
25              Q     Do you see at the bottom of the next page

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1       there's a bold heading, "
2
3               A        Yes.
4               Q        If you come down just three or four lines,
5       the sentence that begins "However"?
6               A        Yes.
7               Q        He writes, "
8
9
10                                      "
11                       Do you see that?
12              A        Yes.
13              Q        You don't dispute that finding in your
14      declaration, right?
15              A        I did not.
16              Q        If you come to the next page --
17              A        Yes.
18              Q        -- at the top he writes, "
19                                      ."
20                       Do you see that?
21              A        Yes.
22              Q        Come to the beginning of the very next
23      paragraph.         Do you see where it begins, "
24                  "?
25              A        Yes.

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1               Q    And he writes, "
2
3                                                                          ."
4                    Do you see that?
5               A    I do.
6               Q    You don't dispute that finding in your
7       declaration, right?
8               A    I do not.
9               Q    Come to the next bold heading on the same
10      page that reads, "
11
12                   Do you see that?
13              A    Yes.
14              Q    He writes, "
15                                                     ," right?
16              A    Right.
17              Q    And we're agreed on that, right?
18              A    Yes.     To my knowledge, I don't know how
19      they would verify it.           The only way I've seen
20      that -- and I don't -- I haven't seen this.                        But I
21      know other systems -- and when we designed -- we
22      designed this many years ago -- take the ballot and
23      stick it in another machine to get a summary
24      display, or have the tally, the scanner, give you
25      a -- I guess a ballot summary, and you can compare

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1       it to the ballot summary that's on there.
2                    But I -- other than that, people cannot
3       read the QR code itself.
4               Q    One of the things you suggested in an
5       earlier declaration in this case is that the state
6       should do parallel testing of a single BMD during an
7       election.
8                    Do you recall suggesting that?
9               A    Yes.
10              Q    Do you think that testing a single BMD out
11      of over 30,000 that are used across the state
12      provides a meaningful test of the security and
13      reliability of those BMDs as a whole?
14              A    That's not what I recommended.                 But to
15      answer your question, no, that would not.                     You have
16      all those, and you're just testing one?                    No, that
17      wouldn't make a difference.              But if you test one in
18      every precinct, that's different.
19              Q    Okay.     So it's your recommendation to test
20      one in every precinct during the election in
21      parallel testing?
22              A    That is something I have recommended.                    It
23      has pros and cons.          But that's way better than just
24      picking one particular BMD in the State of Georgia
25      and parallel testing it.             Yeah, that wouldn't make

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1       much sense.
2               Q    Okay.     Come to page 40 of 97 in
3       Dr. Halderman's report, section heading 8.1.
4               A    Got it.
5               Q    You see it reads,
6                    "?
7               A    Yes.
8               Q    And he writes,
9
10
11                                                                         ."
12                   Do you see that?
13              A    I do.
14              Q    You don't dispute that finding in your
15      declaration, correct?
16              A    I do not.
17              Q    Come down to the next page under the
18      pictures.
19              A    Okay.
20              Q    Do you see where it says, "Figure 9"?
21              A    Yes.
22              Q    And here it reads, "
23                                                 ."
24                   Do you see that?
25              A    I do.

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                                                                    Page 229

1               Q    Dr. Halderman writes, "
2                                                                              .
3
4
5
6
7                                                      ."
8                    Do you see that?
9               A    I do.
10              Q    And you don't dispute that finding in your
11      declaration, correct?
12              A    I do not.
13              Q    Come to the top of the next page, please.
14              A    Okay.
15              Q    You see there's a picture, and below that
16      it says, "Figure 10"?
17              A    Yes.
18              Q    And then it reads, "
19                                                    ."
20                   Do you see that?
21              A    I do.
22              Q    And here Dr. Halderman writes, "
23
24
25

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                                                                    Page 230

1
2
3
4                                                   "
5                    Do you see that?
6               A    I do.
7               Q    And you do not dispute that finding in
8       your declaration, correct?
9               A    I do not.
10              Q    Go to section heading 8.2.
11              A    Okay.
12              Q    It reads
13                   Are you with me?
14              A    Yes, I am.
15              Q    And then Dr. Halderman writes, "
16
17
18
19                                                                         ."
20                   Do you see that?
21              A    I do.
22              Q    And you don't dispute that finding in your
23      declaration, right?
24              A    I do not.
25              Q    If you stay in that same section, do you

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1       see the very next paragraph begins, "
2                       "?
3               A    Yes, I see it.
4               Q    Dr. Halderman writes, "
5
6
7
8                                    ."
9                    Do you see that?
10              A    Yes.
11              Q    In the next paragraph he writes, "
12
13
14
15
16                                                               ."
17                   Do you see that?
18              A    I see that.
19              Q    You don't dispute that finding in your
20      declaration, correct?
21              A    I do not.
22              Q    If you stay on that same page, the
23      paragraph we just read, do you still have that in
24      front of you?
25              A    I do.

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1               Q    If you come above, do you see where
2       Dr. Halderman indicates that he previously drew an
3       analogy to the Boeing 737 MAX aircraft, where a
4       small, last-minute change to correct a single
5       problem inadvertently created a much more dangerous
6       failure mode that reportedly led to two fatal
7       crashes?
8                    Do you see that?
9               A    I do.
10              Q    Are you familiar with that situation with
11      Boeing?
12              A    I am not.
13              Q    Come to page 44 of 97, if you would.
14              A    Real quick, the Boeing example that you
15      gave, just to make a note, I'm not familiar with
16      that, but that's an example of what cybersecurity
17      people would be very well aware of.
18              Q    Got it.      Understood.
19              A    Where do you want me to go?
20              Q    Sorry.      Page 44 of 97.
21              A    Okay.     I'm there.
22              Q    Do you see the heading 8.3?
23              A    Yes.     Got it.
24              Q    And it reads, "
25                                                  ."

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                                                                    Page 233

1                    Do you see that?
2               A    I do.
3               Q    And then Dr. Halderman writes, "
4
5
6                                                                          ."
7                    Do you see that?
8               A    Yes.
9               Q    You don't dispute that finding in your
10      declaration, correct?
11              A    I do not.
12              Q    All right.        Come to the next page, please,
13      under heading 8.5.
14              A    Okay.
15              Q    And here it reads, "
16                           right?
17              A    Yes.
18              Q    And Dr. Halderman writes, "
19                                                    " -- I'm sorry.           Let
20      me try that again.
21                   Here Dr. Halderman writes, "
22
23
24
25

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                                                                    Page 234

1
2                                                                     ."
3                    Do you see that?
4               A    Yes.
5               Q    And you don't dispute that finding in your
6       declaration, correct?
7               A    I do not.
8               Q    Come to page 47 of 97, please.
9               A    Okay.
10              Q    Actually, go up one page -- sorry -- to
11      page 45 of 97 just so you see the heading 8.6 at the
12      bottom.
13              A    Got it.
14              Q    It reads, "
15                                                 ."
16                   Do you see that?
17              A    I do.
18              Q    If you come to the top of the next page,
19      do you see at the very top of that page
20      Dr. Halderman writes, "
21
22
23
24
25

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                                                                     Page 235

1                    Do you see that?
2               A    I do.
3               Q    You don't dispute that finding in your
4       declaration, correct?
5               A    I do not.
6               Q    All right.        Come down to the next section,
7       please, 8.7.
8               A    Okay.
9               Q    Here it reads, "
10                                   ."
11                   Are you with me?
12              A    Yes.
13              Q    Here Dr. Halderman writes, "
14
15                                                              ."
16                   Do you see that?
17              A    Yes.
18              Q    You don't dispute that finding in your
19      declaration, correct?
20              A    I do not.
21              Q    Come to page 50 of 97, please.
22              A    Okay.
23              Q    Do you see at the top there's what looks
24      to be some computer code and then it says, "
25      underneath?

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                                                                    Page 236

1               A    Yep.
2               Q    And here Dr. Halderman writes, "
3                                                                              ,
4
5
6                                                           ."
7                    Do you see that?
8               A    I do.
9               Q    You do not dispute that finding in your
10      declaration, correct?
11              A    I do not.
12              Q    Then if you come down one paragraph, do
13      you see the heading that reads "
14                            "?
15              A    I do.
16              Q    If you come down to the second paragraph
17      under that heading, do you see where it reads --
18      it's just two sentences -- two lines -- it reads,
19      "                                  "?
20              A    I do.
21              Q    In there Dr. Halderman writes, "
22
23
24                   and he identifies two examples, one at the
25      county level, one at Dominion.

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                                                                    Page 237

1                    Do you see that?
2               A    I do.
3               Q    You don't dispute that finding in your
4       declaration, correct?
5               A    I do not.
6               Q    Come to the next -- top of the next page,
7       please.
8               A    Okay.
9               Q    Do you see section 9.2, "
10                                      "?
11              A    I do.
12              Q    Here Dr. Halderman writes, "
13
14
15
16
17                   Do you see that?
18              A    I do.
19              Q    You don't dispute that finding in your
20      declaration, correct?
21              A    I do not.
22              Q    Come down to the next section, please,
23      9.3.
24              A    Okay.
25              Q    It reads, "

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                                                                    Page 238

1
2                    Do you see that?
3               A    I do.
4               Q    Here Dr. Halderman writes, "
5
6
7
8
9                                      ."
10                   Do you see that?
11              A    I do.
12              Q    You do not dispute that finding in your
13      declaration, correct?
14              A    I do not.
15              Q    Come to page 54 of 97, please.
16              A    I'm there.
17              Q    Do you see the heading 9.6, "
18              A    I do.
19              Q    Do you see the second paragraph that
20      begins, "                           "?
21              A    Yes.
22              Q    Here Dr. Halderman writes,
23
24                                                                         ,
25

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                                                                    Page 239

1                                                                   ."
2                    Do you see that?
3               A    I see it.
4               Q    You don't disagree with that statement in
5       your declaration, correct?
6               A    I do not.
7               Q    You see he goes on to explain --
8       Dr. Halderman does -- "
9
10
11                  ."
12                   Do you see that?
13              A    Yes.
14              Q    Do you recall that vulnerability that was
15      discovered?
16              A    I do not.
17              Q    Dr. Halderman explains, "                             ,
18
19
20
21                   Dr. Halderman concludes, "
22                                                                             ."
23                   Do you see that?
24              A    I see it.
25              Q    And you don't dispute that finding in your

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1       declaration that
2                              , right?
3                A     I do not dispute it in my declaration, but
4       I do not agree with it.
5                Q     And what's the basis for disagreeing with
6       that when you've not examined the security -- the
7       cybersecurity of the equipment at issue here?
8                A     I don't need to examine it to make this
9       statement.
10                     The DRE does not have a paper trail.                If
11      there's a vulnerability on the BMD and voters verify
12      it, you can catch it.           In other words, you can
13      prevent it.       He can hack it and change it all he
14      wants.       But if they are verifying it, he can't
15      change the outcome of the election.                  He can't
16      disenfranchise people.            The DRE, you can change it
17      and it's impossible to know.
18                     So Dr. Shamos is right in the context of
19      the DRE, but that doesn't apply to a BMD the same
20      way.     It is not the same.
21               Q     Voter verification does not prevent any of
22      the hacks that Dr. Halderman has identified from
23      occurring, right?
24               A     Voter verification would not prevent the
25      hack from occurring.           It would prevent the hack from

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1       being successful.
2               Q    When you say, "Voter verification will
3       prevent the hack from being successful," you mean if
4       a voter has the time and the ability to reliably
5       verify every selection on their ballot before it's
6       tabulated, correct?
7               A    Yes.
8               Q    Come to page 55 of 97, please.
9               A    Okay.
10              Q    Actually, we should be more precise.
11                   When you say -- when you say, "Voter
12      verification will prevent the hack from changing a
13      vote or an election outcome," that's only if the
14      voter has the time and the ability to verify each of
15      the selections on their bullet, and they actually do
16      that for each selection, right?
17              A    If they actually do it for each selection,
18      yes.    It has to be a verification for those
19      selections.      Yes.
20              Q    All right.        I'm sorry.        Take a look at
21      page 55 of 97.
22              A    Page 55, I'm there.
23              Q    Sorry.      I'm just thinking about the
24      question I just asked you.
25                   There's also an additional step that's

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1       needed to protect the voter, which is there also has
2       to be an audit, right?            A reliable audit?
3               A    It depends on the -- on the technology and
4       how it all fits together.
5                    But we recommended for the NASEM report
6       that if you're going to have a scanner, then you
7       need to have an audit because the scanner could be
8       compromised.
9               Q    All right.        I'm sorry.        Take a look at
10      page 55 of 97 now, heading 10.1.
11              A    Got it.
12              Q    Here you have the heading "
13                          ."
14                   Do you see that?
15              A    I do.
16              Q    And Dr. Halderman writes, "
17
18
19                                              ."
20                   Do you see that?
21              A    Yes.
22              Q    You don't dispute that finding in your
23      declaration, correct?
24              A    I do not.
25              Q    He then goes on in the same section, "

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                                                                    Page 243

1
2                                                     ."
3                    Do you see that?
4               A    I do.
5               Q    You don't dispute that finding in your
6       declaration, correct?
7               A    I do not.
8               Q    Come to the page 57 of 97, please.
9               A    I'm there.
10              Q    Do you see the heading 11.1, "
11                                            "?
12              A    Yes.
13              Q    Here Dr. Halderman writes,
14
15
16                                                         ."
17                   Do you see that?
18              A    I do.
19              Q    You did not dispute that finding in your
20      declaration, correct?
21              A    I did not.
22              Q    Do you see the next heading, 11.2, on the
23      same page?
24              A    I do.
25              Q    Here it reads, "

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                                                                     Page 244

1
2                               ."
3                     Do you see that?
4               A     I see it.
5               Q     Dr. Halderman writes, "
6
7
8                     Do you see that?
9               A     I do.
10              Q     You do not dispute that finding in your
11      declaration, correct?
12              A     I do not.
13              Q     Dr. Halderman goes on here to write, "
14
15                   ."
16                    Do you see that?
17              A     I do.
18              Q     You do not dispute that finding in your
19      declaration, correct?
20              A     I do not.
21              Q     Come to the next page, please, Section
22      11.3.
23              A     Okay.
24              Q     The report itself is not 97 pages long, so
25      we're getting towards the end.                 I imagine this is

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1       getting monotonous.
2                    Take a look at Section 11.3.                Do you see
3       where it reads, "
4                                       "?
5               A    Yes.
6               Q    Here Dr. Halderman writes, "
7                                                                      ,
8                                                           ."
9                    Do you see that?
10              A    I do.
11              Q    You do not dispute that finding in your
12      declaration, correct?
13              A    I do not.
14              Q    He then goes on in the same section to
15      write, "
16
17
18                   Do you see that?
19              A    I do.
20              Q    You did not dispute that finding in your
21      declaration, correct?
22              A    Did not.
23              Q    Come to page 62 of 97, please.                 There's a
24      heading, "
25              A    Got it.

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1                Q     Did you study any of the references that
2       Dr. Halderman cites in preparing your response to
3       this report?
4                A     Did I study any of the references?                  I read
5       some of these, not all of them.
6                Q     Do you recall which ones you read for your
7       report?
8                A     Okay.   Do you want me to go through each
9       one and tell you which ones?
10               Q     That would be great.
11               A     Okay.   Let's walk through.             So they are
12      numbered, so I will refer to numbers.                   Is that okay?
13               Q     That's perfect.
14               A     Let's see.      Number 7, I've read that.
15      That was a while ago.           Number 9.        I believe
16      Number 10, I've read that.              Number -- I remember
17      Number 11, but I can't recall if I read it.
18      Number 12.       Let's see.       I think Number 14.           I think
19      Number 26, but I'm vague on that one, too.                     I
20      believe Number 31, but that was a while ago.
21      Obviously declarations.            43, I think I've read that
22      one.     That looks familiar, that Washington Post
23      story.       48, 54, 57, obviously 58, 59, maybe 64.                  I
24      believe I read 80.          That looks familiar.            86, the
25      VVSG, 87.

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1                     Okay.     I think that's it.
2                     MR. CROSS:        Let's go off the record in
3       case Ms. Marks wants to come back in, because I'm
4       done with this exhibit.
5                     THE VIDEO OPERATOR:            Okay.      Going off the
6       record at 4:14.
7                     (Recess, 4:14 p.m. - 4:25 p.m.)
8                     THE VIDEO OPERATOR:            Back on the record at
9       4:25.
10      BY MR. CROSS:
11               Q    Dr. Gilbert, you talk about the risk of
12      insiders manipulating hand-marked paper ballots,
13      right?
14               A    Yes.
15               Q    And by "insider," you mean someone who has
16      legitimate access to the ballots like a poll worker
17      or election worker of some kind; is that what you
18      mean?
19               A    That's one area.           It's someone on the
20      inside where the ballots are, more generally
21      speaking.
22               Q    You have not undertaken any investigation
23      of whether there are any such insiders in Georgia
24      already who are capable of exploiting any of the
25      hacks that Dr. Halderman identifies in his report

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1       with the current system, right?
2                      MR. MILLER:       Object to form.
3                      THE WITNESS:        I don't understand.              Have I
4       done an investigation to determine if there's
5       someone in Georgia who can do his hack?                     Is that the
6       question?
7       BY MR. CROSS:
8                Q     Right, who is an insider in the way that
9       you use that term.
10               A     I have not had the opportunity to subpoena
11      or question every poll worker or election official
12      in the State of Georgia to determine if they had the
13      technology, capability to do what Dr. Halderman has
14      done.
15               Q     You're not aware of any investigation in
16      the State of Georgia into that by the Secretary of
17      State or anyone else, right?
18                     MR. MILLER:       Objection.        Relevance.
19                     THE WITNESS:        I thought -- I'm sorry.
20      Maybe it's a terminology thing.
21                     My understanding, in order for there to be
22      an investigation, there has to be an allegation or
23      crime.       I was not aware that there was an allegation
24      or a crime that BMDs were hacked by an insider, so
25      to my knowledge, no, and I was not aware that that

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1       was a case that existed.              I was not aware of that.
2       BY MR. CROSS:
3               Q     Aren't you saying that BMDs -- you prefer
4       them over hand-marked paper ballots because an
5       insider can hack paper ballots?
6               A     No.    That's part of it, but it's more than
7       that.
8               Q     But that's part of it, right?
9               A     Yes.
10              Q     So don't you think that those who are
11      responsible for administering elections should take
12      reasonable precautions to make sure that there are
13      not insiders within their ranks who can exploit
14      hacks of the election system like those that
15      Dr. Halderman has identified?
16              A     My expertise is in election security.                   I'm
17      not in law enforcement to determine how to make that
18      investigation or how that would happen.                     I'm not
19      familiar with the protocol to do that.                    I think
20      that's outside of my bounds of expertise to say how
21      the state would go about that.
22              Q     I know we've been over this before, but
23      just to lay the groundwork for a question that I
24      want to ask, we're agreed that voters cannot verify
25      what's actually tabulated in Georgia elections with

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1       the QR code, right?
2               A     Georgians cannot -- to my knowledge, no
3       human being can look at a QR code and determine
4       what's in it, to my knowledge.                 I have not seen
5       that.
6               Q     So a voter with a ballot in Georgia has no
7       greater ability to verify what's going to get
8       tabulated and stored in the election data as the
9       cast ballot in Georgia, they have no greater ability
10      to do that than they did with the old DREs, right?
11              A     That I don't know because what's stored in
12      the -- in the tally machine, I'm not aware of any
13      scenario where a voter can verify that, even with
14      hand-marked paper ballots.               They cannot go to that
15      machine and verify that it stored their vote as they
16      marked on the ballot.            That does not exist in any
17      election system, to my knowledge.
18              Q     But a voter with a hand-marked paper
19      ballot that's going to be scanned at the poll, that
20      they're feeding into the scan, they have the ability
21      to verify that the selections on that ballot are as
22      exactly what they marked before it's scanned, right?
23                    MR. MILLER:        Objection.
24                    THE WITNESS:         They have the ability to
25      verify that the marks on that ballot are the marks

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1       that they made.
2                    That doesn't mean that the marks on the
3       ballot are accurate.           That doesn't mean that the
4       marks on the ballot will be translated the way they
5       marked it.      Their intent is not guaranteed to be
6       captured by the scanner.
7       BY MR. CROSS:
8               Q    But if the scanner is operating as it
9       should and they have carefully verified each of the
10      selections on their hand-marked paper ballot, then
11      they can have reasonable confidence that it's going
12      to be tabulated, at the moment it goes into the
13      scanner, correctly, right?
14                   MR. MILLER:        Object to form.
15                   THE WITNESS:         It goes back to
16      "reasonable."       I don't know to what extent.                   But
17      hopefully they have complete confidence.                    Because if
18      they don't, we have an issue with our elections.
19      But there is a level of reasonableness there that's
20      variable.
21      BY MR. CROSS:
22              Q    But with a QR code, the voter has no
23      ability -- no matter how carefully they review the
24      ballot, they have no ability to verify that what's
25      going to get tabulated as their vote when it goes

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1       into the scanner is accurate even if the scanner is
2       working exactly as it should, right?
3                    MR. MILLER:        Objection.        Asked and
4       answered.
5                    THE WITNESS:         There's no way for a human
6       being to look at a QR code, to my knowledge, and
7       determine what's in it.            So by that definition, you
8       cannot -- you don't know what's in it.                   You can't
9       read the QR code with your eyes.
10      BY MR. CROSS:
11              Q    And that's the same way with the old DREs
12      in Georgia, right?          The moment the voter casts their
13      ballot, casts their ballot on the DRE, they have no
14      way to know whether it's going to be counted as they
15      intended because they don't know whether the DRE is
16      working properly, right?
17                   MR. MILLER:        Objection.        Asked and
18      answered.
19                   THE WITNESS:         The DRE -- there's no way to
20      know if it's even stored, if it's stored as
21      intended, if it's modified.              You have no idea of
22      anything.
23                   With the QR code, you knew it was
24      successfully scanned.           You do have that
25      determination.        Just like you do with a hand-marked

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1       paper ballot, you know that it was scanned, but you
2       don't know that it read it correctly or even stored
3       it.   You don't know that it didn't change your vote.
4       You have no idea what it did in the tally.
5       BY MR. CROSS:
6                Q   As an election security expert, do you
7       believe that an election system can be so unsecured
8       that it should not be used?
9                    MR. MILLER:        Objection.
10                   THE WITNESS:         Yes.
11      BY MR. CROSS:
12               Q   You've prepared something you called a
13      ballot-marking verification protocol, right?
14               A   Yes.
15               Q   And the conclusion you included in that,
16      you wrote, "Don't trust the BMD.                 Audit it with the
17      BMVP."
18                   Do you recall writing that?
19               A   Yes.
20               Q   And why did you write that?
21               A   Because whenever you use a computing
22      device to do the tally, you cannot trust it.                       You
23      have to do the audit, which was the conclusion of
24      the National Academies report.                That's why we do the
25      audit.

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1                     If you have hand-marked paper ballots, you
2       have to do the audit because the scanner could lie
3       to you.      You can hack the scanner.
4                Q    You testified in a case captioned National
5       Federation of the Blind versus Linda Lamone; is that
6       right?
7                A    Yes.
8                Q    And that was in 2014; is that right?
9                A    I don't know the year.
10               Q    Do I understand correctly that you
11      testified on behalf of the plaintiffs that were
12      challenging the election system in that case?
13               A    No, I don't recall which side I was on.                   I
14      have to go back and look at my notes.                    It's been a
15      long time, and I've served on several cases since
16      then.
17               Q    You don't recall that you testified on
18      behalf of the National Federation of the Blind?
19               A    I do recall that.           So were they the
20      plaintiffs?
21               Q    Yes.
22               A    Whoever they were, that's who I -- what
23      side I was on.         Does that help?
24               Q    Yes.     Yes.     Okay.     What was the thrust of
25      your opinions in that case on behalf of the National

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1       Federation of the Blind?
2               A    That was a remote-accessible
3       ballot-marking case, giving people the ability to
4       pull up a ballot online, use their home equipment to
5       mark it and print it and send it back.
6               Q    Why did you testify on behalf of the
7       National Federation of the Blind in that case?
8               A    Because they asked me to, and I have
9       expertise in the area.
10              Q    Did you support the relief that they were
11      seeking in that case?
12              A    Yes.
13              Q    What was that relief?
14              A    To allow an option for remote-accessible
15      believe ballot marking.
16              Q    Why?
17              A    To give accessibility for absentee voting
18      for people with disabilities.               In this case,
19      specifically visual impairment.
20              Q    And that relief would have -- would have
21      helped whom, exactly?
22              A    People with disabilities who wanted to
23      participate in absentee voting.
24              Q    Do you know about how many voters there
25      are in the State of Maryland that fall into that

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1       category?
2               A    I do not.
3               Q    Do you have a rough estimate?
4               A    I do not.
5               Q    Would you say it's many or few?
6               A    I do not know.          I have no idea.          I live in
7       the State of Florida, and I don't even know those
8       numbers for Florida.           That is something I do not
9       memorize.
10                   If I needed that data, I'd go to my
11      colleagues at Rutgers University who's in my
12      declaration, and I would say, "Can you tell me these
13      numbers?"
14                   And they have that data in a database, and
15      they usually can get it to me.                So it's not
16      something I have in my memory.
17                   MR. MILLER:        David, did we lose you?
18                   THE VIDEO OPERATOR:            We lost him.           I'm
19      going to go off the record just in case.
20                   MR. MILLER:        There he is.
21                   THE VIDEO OPERATOR:            We're still on the
22      record.
23                   MR. CROSS:        Sorry about that.           I don't
24      know what just happened.
25              Q    Sorry, Dr. Gilbert.            Can you --

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1                A     I hear you.
2                Q     Okay.
3                      Do I understand correctly that in that
4       case, the court ordered the relief that the National
5       Federation of the Blind was seeking in the form of
6       an injunction?
7                A     I believe so, yes.           I think that's the
8       outcome.
9                Q     And in your view, that relief remedied the
10      harm that all the disabled voters who were affected
11      by the particular election system at issue, it
12      remedied that harm for them?
13                     MR. MILLER:       Objection.        Calls for a legal
14      conclusion.
15                     THE WITNESS:        I don't know what that
16      means.       I don't understand that terminology.
17      BY MR. CROSS:
18               Q     That's a fair point.
19                     You were testifying on behalf of the
20      National Federation of the Blind to help certain
21      disabled voters protect their right to vote; is that
22      fair?
23               A     Yes.
24               Q     And the relief that was awarded in that
25      case that you were seeking on behalf of them and

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1       supporting, do I understand correctly that in your
2       view, that helped protect their right to vote?
3               A    Yes.     It gave them access that others had
4       who do not have a disability.
5               Q    You have a Twitter account, right?
6               A    Yes, I do.
7               Q    Do you recall re-tweeting a tweet from
8       Matthew Masterson on September 28 of this year
9       concerning CISA's access to Dr. Halderman's sealed
10      report?
11              A    I probably did.          Matt Masterson and I are
12      colleagues, and I promote things that he puts out so
13      other people just know what's going on.                    So he's a
14      colleague of mine.
15              Q    And Mr. Masterson was in a former senior
16      position at CISA, right?
17              A    I think it was CISA.             I don't know.        He
18      was at the EAC, then he left, and he was -- I forget
19      where he went directly.            Department of Defense or
20      something.      So he's had a couple positions, so I
21      kind of got lost in the mix of that.
22              Q    Why did you think it was important for
23      people to read Mr. Masterson's tweet when you
24      re-tweeted it about CISA getting access to
25      Dr. Halderman's sealed report?

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1                     MR. MILLER:        Objection.        Relevance.
2                     THE WITNESS:         I didn't take the time to
3       contemplate that it would be important.                     Matt put it
4       out and it popped up at the top of my Twitter feed.
5       So coming from him, I said, "Oh, let me get this
6       out."
7                     So I'm respectful of what he puts out, and
8       I'm respectful of what Alex does, Dr. Halderman.
9       BY MR. CROSS:
10              Q     Do you oppose CISA getting access to
11      Dr. Halderman's report?
12                    MR. MILLER:        Objection.        Relevance.
13                    THE WITNESS:         To be honest, I hadn't
14      thought about it.          It's not something I contemplated
15      at all.
16      BY MR. CROSS:
17              Q     As you sit here today, do you have any
18      reason to object to that?
19                    MR. MILLER:        Same objection.
20                    THE WITNESS:         So just to be clear, the
21      report that I have as part of this case, do I object
22      to CISA having access to that?
23      BY MR. CROSS:
24              Q     Yes.
25              A     I don't know.         It's hard to say whether I

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1       have an opinion on it or not.
2                     Again, I don't know the ground rules for
3       sharing that kind of information, whether or not --
4       I don't know.         I have to think about it and
5       understand more about CISA's role as it relates to
6       this particular case.            So the answer is I don't
7       know.
8                     (Exhibit 7 was marked for identification
9               and is attached hereto.)
10      BY MR. CROSS:
11              Q     Grab Exhibit 7, if you would, please.
12      We're almost done, Dr. Gilbert.
13              A     Exhibit 7?
14              Q     Yeah.
15              A     I found it.        Got it.
16              Q     You see this is the tweet that we were
17      talking about where you re-tweeted a tweet from
18      Matthew Masterson regarding CISA's access to
19      Dr. Halderman's report?
20              A     Okay.
21              Q     And Mr. Masterson wrote and what you
22      re-tweeted, "Just to be clear here, CISA is offering
23      to facilitate coordinated disclosure from a
24      researcher to impacted entities.                  This is something
25      they have a division whose job it is to do this and

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1       we did with elections fairly regularly."
2                       Do you see that?
3                A      I see it.
4                Q      When you re-tweeted this, you didn't
5       object or express any concern about CISA getting
6       this access, right?
7                       MR. MILLER:      Objection.        Relevance.
8                       THE WITNESS:       I didn't say anything.             I
9       just re-tweeted it.
10                      I think -- just to be clear, if I re-tweet
11      something, that is not an endorsement of it.                        It's
12      sharing information.            That's how I was doing this.
13      I was sharing information.
14                      I'm in the election community.               So is
15      Matt.        And Matt and I have a relationship for many
16      years.        And so I feel that just sharing information
17      and putting it out there so others can make their
18      own determination, that's how I see this.                      It's not
19      an endorsement on my behalf or otherwise.
20      BY MR. CROSS:
21               Q      Dr. Gilbert, you don't indicate in your
22      declaration whether there has been any hack or
23      compromise of Georgia's election system, right?
24               A      Correct.
25               Q      And that's not something you undertook to

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1       investigate, right?
2               A    Something I -- I don't understand.                    I
3       don't -- I wouldn't think I had the authority to
4       start an investigation to say Georgia's election
5       system had been hacked for the 2020 election.
6                    If there was such a hack, I think it would
7       have made national media, or an accusation of such a
8       hack would have made national media.                   But I don't
9       see myself as the authority to go in and declare a
10      hack was done.        No.
11              Q    Do you understand that the state has
12      represented in this case that they are not aware of
13      any hacking of any elections in Georgia?
14              A    I'm not surprised by that.                Again, if
15      there was any accusation, that would have made
16      national media.
17              Q    But in your role as an election security
18      expert retained by the state addressing the security
19      of and reliability of the election system, you
20      didn't conduct any investigation of your own into
21      whether there has been any hacking that's occurred
22      in the state with any election.                You just didn't
23      look into it, right?
24                   MR. MILLER:        Asked and answered.
25                   THE WITNESS:         I'm struggling with this.

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1       It seems by that question it gives me the impression
2       that I have the authority to look into -- and I
3       don't know of any allegation of election hacking in
4       the State of Florida -- I mean, Georgia.                     And what
5       you're saying is I had that capability to do that.
6                     I'm not aware that I had that, so that
7       would be news to me that I can do that.
8       BY MR. CROSS:
9               Q     It never occurred to you to just ask your
10      client, "Hey, are you aware of any instance where
11      there's been unauthorized access to any component of
12      the election system in Georgia?"
13              A     Absolutely not, because of the last
14      election being highly contentious, if there was even
15      an allegation, it would have made national media.
16              Q     Dr. Gilbert, you've been retained in this
17      case since November of 2019, right?
18              A     I guess.       I don't remember the exact start
19      date.
20              Q     Well, you testified in a hearing last
21      September that predates the controversy in Georgia
22      regarding the November election, right?
23              A     Yes.
24              Q     So at no point prior to the controversy
25      you just mentioned about elections in Georgia, it

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1       never occurred to you to ask your client, "Hey, are
2       you aware of whether there's ever been unauthorized
3       access to election equipment or software or data in
4       Georgia?"
5                    MR. MILLER:        Objection.        Asked and
6       answered.
7                    THE WITNESS:         No.    I'm sorry.        But you
8       just asked a totally different question.
9       BY MR. CROSS:
10              Q    I didn't mean to.
11              A    Which question are we dealing with?
12      You've asked two different questions, and I want to
13      know -- so ask me the exact question you want an
14      answer to, because you just asked two different
15      questions that are not the same.                 So please be clear
16      in what you're asking.
17              Q    So from the time that you were engaged in
18      this case in November of 2019 until at least the
19      September hearing of last year, it never occurred to
20      you to ask your client whether they were aware of
21      any unauthorized access to any components of the
22      Georgia election system with the current system; you
23      never asked that, right?
24                   MR. MILLER:        Objection.        Asked and
25      answered.

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1                    THE WITNESS:         I did not ask that question.
2       BY MR. CROSS:
3                Q   And you did not ask that question
4       regarding the prior DRE system, correct?
5                A   I did not ask that question.                The answer
6       to that was no.
7                Q   In what way?
8                A   There was an article, Kennesaw State and
9       the files.      Are you familiar with what I'm talking
10      about?
11               Q   Tell me what you mean.
12               A   The previous DRE system was managed by
13      Kennesaw State, statewide, and there was a report --
14      I don't remember the exact details, but there was a
15      report of a breach or something with files and the
16      DRE.     So I remember that report.
17                   Therefore, it was not a question for me to
18      ask, knowing that it was in the public already.
19               Q   You didn't undertake any investigation to
20      determine whether that breach of the old DRE system
21      has, in any way, infected the new BMD system in
22      Georgia, correct?
23               A   I did not.        As I mentioned in my previous
24      declaration that the BMD is air-gapped, and this is
25      an independent entity, independent system.                     It's not

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1       even the same manufacturer.
2                Q   Right.      But you're assuming that it's
3       air-gapped because you've never confirmed that it
4       is, right?      I thought we established that.
5                    MR. MILLER:        Asked and answered.
6       BY MR. CROSS:
7                Q   You're assuming it's air-gapped, right?
8                A   No, I was using the documents that were
9       provided to me that the machine was air-gapped.
10               Q   I thought we established earlier you don't
11      actually know whether any aspect of the system is
12      actually air-gapped because you haven't looked,
13      right?
14                   MR. MILLER:        Same objection.
15                   THE WITNESS:         If the standard is that
16      you -- any written documentation could be false, and
17      the only way to determine if the technology is what
18      it's documented as, then I have not evaluated it to
19      make that determination.
20                   So I think what you're saying, it's
21      possible that the documents that were provided to me
22      were incorrect.
23      BY MR. CROSS:
24               Q   Are you aware that there was a hearing in
25      this case in 2018 involving the prior election

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1       system?
2               A    I -- I don't know.            You have to give me
3       details, and then I could tell you if I heard about
4       it.   I've been involved in many cases and I read a
5       lot of this information.             So to just ask me that
6       question, it's a tough one for me to say yes.
7                    Again, I live in Florida, not Georgia.                    If
8       I was in Georgia, I'd probably be able to answer
9       that question easily.
10              Q    Are you aware that in 2018, the state
11      represented, including under oath, that the DRE
12      system was air-gapped, and it came to light during
13      the course of a hearing, where their witnesses were
14      cross-examined, that, in fact, it was not
15      air-gapped, that there were connections to the
16      Internet or to devices that are connected to the
17      Internet?
18                   Is that something you reviewed and
19      considered for your opinions in this case?
20                   MR. MILLER:        Objection.
21                   THE WITNESS:         I was not aware of that.
22      BY MR. CROSS:
23              Q    Don't you think that that is relevant
24      information in determining whether you can rely on
25      documentation or representations from the state on

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1       whether the new system is, in fact, air-gapped?
2                    MR. MILLER:        Objection.        Relevance.
3                    THE WITNESS:         That's information.              I don't
4       know -- so the information -- so there's a scenario
5       where that information -- I don't know the source of
6       the information that provided the false information
7       about the DRE.        It may not be the same source that
8       provided the information about the BMD.
9                    In other words, in essence, based on the
10      questioning here, if someone ever was dishonest,
11      then that assumes all people are dishonest, and I
12      don't believe that.
13      BY MR. CROSS:
14              Q    To be clear, Dr. Gilbert, I'm not
15      suggesting -- I'm not opining on anybody's intent.
16      People can believe that something is air-gapped and
17      be wrong about that for any manner of reasons.
18                   All I'm asking you is, for the opinions
19      you've offered in this case, you didn't think it was
20      relevant to go back and examine the reliability of
21      documentation and representations that had been made
22      about the air-gapping of the system in light of
23      those representations coming to light as unreliable
24      in the past?
25              A    As I said, I was not aware of the

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1       representations that you just presented as
2       unreliable in the past.             I'll say it again.              I was
3       not aware of them.
4                      This is news, the first time I'm hearing
5       it, number one.         The documents that were provided to
6       me, again, are cited in my declaration, and they,
7       from my interpretation, are official documents.
8                      But if they are unofficial or if they're
9       false, that would be good information for me to be
10      aware of.
11              Q      Are you aware that the Secretary of
12      State's office engaged a company called
13      Forless (phonetic) to do some cybersecurity
14      assessments on behalf of the state?
15              A      That does not ring a bell.               I don't -- I'm
16      not familiar with that company.
17              Q      So in formulating your opinions in this
18      case, you haven't reviewed or considered any reports
19      by Forless that were prepared on behalf of the
20      Secretary of State's office; is that right?
21              A      I don't think so.          That doesn't ring a
22      bell.       The name -- that name doesn't resonate with
23      me right now.
24                     MR. CROSS:       All right.        Let's go off the
25      record.

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1                     THE VIDEO OPERATOR:            Going off the record
2       at 4:56.
3                     (Recess, 4:56 p.m. - 5:10 p.m.)
4                     THE VIDEO OPERATOR:            We are back on the
5       record at 5:10.
6                     (Exhibit 8 was marked for identification
7               and is attached hereto.)
8       BY MR. CROSS:
9               Q     Dr. Gilbert, can you grab Exhibit 8,
10      please?
11              A     All right.        I got it.
12              Q     Do you recognize Exhibit 8 as a copy of
13      your engagement letter on behalf of the state in
14      this case?
15              A     I guess so.        This looks familiar.               Okay.
16      Yeah.
17              Q     If you come to page 3, do you see your
18      signature and the date November 12, 2019?
19              A     Yes.
20              Q     Do you recall that the first declaration
21      you issued in this case on behalf of the state was
22      dated November 13, 2019, the very next day?
23              A     I don't recall the date.
24              Q     Do you recall how much time you put into
25      preparing your declaration?

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1                A   I'd have to go look at records or
2       something, but I don't recall.
3                Q   Approximately how many hours have you
4       worked on behalf of the state in this case?
5                A   I don't know if I have a record of that.
6       Let me see.
7                Q   Just your best estimate.               I don't need you
8       to look it up, Dr. Gilbert.
9                A   That's hard for me.            I'm only tracking
10      since the last one.          So I would say -- I don't
11      know -- 40 hours or -- I don't even know.                     I'd have
12      to -- I'd really have to go and analyze and look at
13      invoices and all of that.
14               Q   How much have you been paid for your work
15      in this case?
16               A   That I don't know, either.                Probably on
17      the order of, my best guess, probably like 5- -- 4-
18      or 5,000, if that maybe.
19               Q   Do you anticipate offering any opinions
20      at any future date in this case that are not
21      reflected in your declaration or in your testimony
22      today?
23               A   I don't know.
24               Q   So as you sit here in this moment, are
25      there any opinions that you have in mind that you

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1       would anticipate offering that you've not
2       already shared with us through written or oral
3       testimony?
4               A    I don't anticipate anything at this time.
5               Q    How many times have you been engaged as a
6       consultant or expert to address election security
7       issues?
8               A    Several.       Off the top of my head, probably
9       six.
10              Q    Can you describe each of those?
11              A    This case, the Maryland case, then there
12      was another Maryland case.              I've been on New York,
13      New Hampshire, Pennsylvania.               And I think I've
14      discussed -- I didn't get -- go all in with
15      something in California maybe, but those are the six
16      off the top of my head.
17              Q    You said the Maryland case.                Were you
18      talking about the one for the National Federation of
19      the Blind that we looked at earlier as one of the
20      Maryland cases?
21              A    Yes, that's one of them.
22              Q    And what did the other one involve?
23              A    The other Maryland case, I think that's
24      another ballot-marking case, BMD case.
25              Q    When were you involved in that case?

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1               A     Maybe last year.
2               Q     Did you submit any testimony, written or
3       oral?
4               A     I believe so.         I'd have to go back and
5       look at all those records.
6               Q     What was the thrust of your opinions in
7       that case?
8               A     If it's the right case, that the
9       ballot-marking device was acceptable for use
10      throughout the state.            I believe that was the
11      Maryland -- the second Maryland case.                    But again,
12      I'd have to go look all these cases up.                     They're
13      blurry to me because there were so many.
14                    Some were remote ballot-marking cases, so
15      there's a variation in what the cases were about,
16      and I just -- I'd have to go look and see case to
17      case what it was, and what -- oh, and Virginia.
18      There was one in Virginia as well.
19                    So I'd have to go look and verify these
20      things.
21              Q     Dr. Gilbert, to make it easy on you,
22      rather than to walk through each of these and test
23      your memory, we would ask that you would send us a
24      disclosure statement that identifies each
25      engagement in which you have been retained

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1       on related to election security issues so that we
2       can see what those engagements were and what the
3       thrust of your role or opinions were and the
4       timing.
5                      I just want to ask, are you willing to do
6       that?       If you're not, we're going to have to go case
7       by case right now.           I'm trying to save you some
8       time.       I need to know whether you're willing to do
9       that or whether Mr. Miller is going to object.
10                     MR. MILLER:       David, we'll provide it to
11      you.    Yeah.
12                     MR. CROSS:       Okay.
13                     MR. MILLER:       If that's the request.
14                     MR. CROSS:       Yeah.     Thank you.        It will
15      make it a lot faster for you, Dr. Gilbert.                      We
16      appreciate that.
17                     (Exhibit 9 was marked for identification
18              and is attached hereto.)
19      BY MR. CROSS:
20              Q      All right.       Take a look at -- and I
21      promise, we're almost done.
22                     Take a look at Exhibit 9, please, just
23      briefly on this.          Let me know when you have it.
24              A      Okay.    Got it.
25              Q      Do you see here, this is a portion of a

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1       transcript in a case, Assemblyman Reed Gusciora, and
2       it's in -- as one of the plaintiffs, and it's in
3       Superior Court of New Jersey.
4                     Do you see that?
5               A     Okay.     At the top?         Yes.
6               Q     And you see, if you look in the middle
7       where it says, "Place:             Mercer County Courthouse,"
8       the date, March 24, 2009.
9                     Do you see that?
10              A     Yes.
11              Q     And if you look at the bottom right
12      corner, do you see where it says,
13      "STATE-DEFENDANTS," and then there's a number?
14              A     Bottom right corner?             Yes, I do.       I do.
15              Q     And I will tell you, what that indicates
16      is this is a document that was produced to us by the
17      state defendants in this case.                 That's how we got
18      this.
19                    I wanted to ask you, if you look at -- go
20      to the bottom of the first page of the testimony,
21      page 81, line 23.
22                    Do you see that?
23              A     Page 81, line 23.           Yes.
24              Q     And actually -- I'm sorry.                To give you a
25      little more context, look at the top of page 81,

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1       line 6.
2                    Do you see that?
3               A    Yes.
4               Q    And you see it says, "But, Dr. Shamos,
5       haven't you stated."
6                    Do you see that line?
7               A    Yes.
8               Q    Do you understand that this is an
9       examination of Dr. Shamos in this case?
10              A    Okay.
11              Q    Now, if you come down to line 23 on that
12      same page, the question to Dr. Shamos, "So do you
13      believe that DREs are better without a paper trail
14      than with one?"
15                   Do you see that?
16              A    I see that.
17              Q    His answer was, according to this
18      transcript, "I believe that DREs are better without
19      the currently available paper trail mechanisms.                    I
20      don't rule out the possibility that somebody could
21      design a better paper trail mechanism, that would be
22      perfectly fine."
23                   Do you see that?
24              A    I see that.
25              Q    I just have one question for you because

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1       it directly relates to you.
2                    If you come to page 83, line 17 -- and let
3       me know when you have that.
4               A    Page 83, line 17.           I'm there.
5               Q    And the question was, "So you're saying
6       that other people agree with your position?
7                    "Answer:       Yes.
8                    "Question:        Who else?
9                    "Answer:       Ted Selker, for example, of MIT.
10      Juan Gilbert of Auburn University."
11                   Do you see that?
12              A    I see it.
13              Q    And then if you come to the top of 84 --
14      are you there?
15              A    I'm there.
16              Q    -- at line 4, the questioner continues,
17      "If we were to call Professor Selker, and you said,
18      Juan Gilbert as rebuttal witnesses, it's your
19      position that they would get on the stand and state
20      that they believe that paperless DREs are better as
21      they exist than DREs with paper -- with paper as
22      they exist now?        Is that your testimony?
23                   "Answer:       Well, that's my belief.                I don't
24      know what they would actually say under oath.
25      Nobody knows what they would say under oath."

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1                     Do you see that?
2                A    I see it.
3                Q    Does Dr. Shamos characterize your position
4       accurately on this issue here?
5                     MR. MILLER:        Objection.        Relevance.
6                     THE WITNESS:         No.    What year was this?
7       BY MR. CROSS:
8                Q    It looks like 2009, according to the
9       transcript.
10               A    No.    That's not -- that is not my
11      position.      And you can find probably videos of me --
12      in fact, the presentation I did at Princeton, I
13      was clear in saying what my position was, that you
14      had to have a paper ballot.               There's no way to
15      secure a digital ballot.              There's no known way to do
16      that.
17                    I'm on the record saying that several
18      times in the EAC, all over the place.
19               Q    You were at one point a proponent of DREs,
20      right?
21                    MR. MILLER:        Objection.        Relevance.
22                    THE WITNESS:         I was a proponent of
23      accessible DREs with a paper trail.                   We have to go
24      back and look at the record.
25                    We may have been the first to actually do

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1       this when we did -- back in 2000, I know we were the
2       first to create the universally designed voting
3       machine because we did that in 2002, 2003, when no
4       one believed you could have one machine that
5       everyone could vote on.            So we'd been doing that.
6                    But I said that accessibility at the time
7       was -- DREs gave accessibility, but, yeah, the
8       security aspect, you just don't know because you
9       can't verify.
10      BY MR. CROSS:
11              Q    But you no longer support DREs as a
12      reliable election mechanism in the U.S., right?
13              A    Correct.
14                   MR. MILLER:        Objection.        Relevance and
15      misstatement.
16      BY MR. CROSS:
17              Q    And, I'm sorry, did you say "correct"?
18              A    Yes.     DREs, again, there's no way to
19      secure a digital ballot.
20              Q    Given you were once a proponent of DREs
21      and you now agree that DREs are not reliably secure,
22      do you allow for the possibility that you are wrong
23      about the reliability of BMDs in your stance in
24      supporting them today?
25                   MR. MILLER:        Object to form and relevance.

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1                    THE WITNESS:         I do not.       I think it's
2       interesting that -- that is a good question to ask
3       in light of the new development, in particular,
4       transparent voting machine that broke
5       Dr. Halderman's, I guess, hack or whatever you
6       want to call it, that voter verification.                     Now we
7       solved that problem.           Solved.      Solution.       There it
8       is.
9                    I do know that voting through the BMD, as
10      I stated in my declaration, has advantages over
11      hand-marked paper ballots, and I still believe
12      they -- there's a much better option than
13      hand-marked paper ballots.              I believe that is a
14      better option for providing equity, security,
15      usability, accessibility.             The BMD or a form of a
16      BMD is the way to go.
17      BY MR. CROSS:
18              Q    I'm sorry.        Did you say the new
19      transparent voting machine BMD prototype you have
20      broke Dr. Halderman's hack?
21              A    Yes.
22              Q    And you say that's because this new
23      prototype that you have allows a greater ability of
24      voter verification; is that right?
25              A    Yes.     Not only allows.           I guarantee voter

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1       verification.        You'd have to try not to verify,
2       especially -- again, that was the first version that
3       I posted.     The next version is even better.
4                    So at a time when Dr. Halderman and others
5       said, "Well, there's no -- people can't verify,
6       people won't verify," I created a solution that
7       gives that, and now you can have accessibility at
8       the same time.
9                    So there you go.           Again, I don't break
10      these things.        I fix them and make them work.                But
11      I'm glad he exists because he keeps me busy.
12               Q   And to be clear, when you say you broke
13      his hack, your new prototype doesn't prevent any of
14      the hacks that Dr. Halderman has identified with the
15      election system in Georgia, correct?
16               A   We'll find out in 2022.              As I mentioned
17      earlier, I hope Dr. Halderman would be open to
18      exploring that option to see.               We'll see.
19               Q   Let me make sure we're understanding each
20      other.
21               A   Yeah.
22               Q   Your position is that your new prototype
23      BMD protects against the types of hacks that
24      Dr. Halderman has identified in his report in this
25      case; is that fair?

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1               A    I'm saying that I'm working on a new
2       extension of that prototype that I will have go
3       public within 2022 that either prevents
4       Dr. Halderman from hacking it or eliminates his
5       hacks and makes them irrelevant.
6                    And again, if -- I hope that he is open to
7       exploring that, and we'll find out.                  I hope that's
8       the case.
9               Q    That prototype is not used in the State of
10      Georgia today, correct?
11              A    The prototype is a prototype that's not
12      being used anywhere in the world.
13              Q    And -- so that prototype does not offer
14      any protection to Georgia voters using the current
15      system today with respect to the hacks that
16      Dr. Halderman has identified, correct?
17              A    No.    It is not offered -- it's a
18      prototype.      It has not gone to a certification.                It
19      has not been produced as a product.                  It is not a
20      product.
21              Q    Even with respect to that prototype, do I
22      understand correctly there's nothing in that
23      prototype that prevents the hacks that Dr. Halderman
24      has identified from occurring; what you're saying is
25      that the greater level of voter verification

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1       increases the odds that voters will catch the hack
2       and then prevent the hack from having an impact on
3       their votes or election outcomes?                  Do I have that
4       fair?
5               A     No.    Only half.
6                     It does give you verification; therefore,
7       you cannot have a scenario where votes are swapped
8       undetected, number one.
9                     Number two, I believe it will prevent the
10      hacks that he specializes in or make them
11      irrelevant.
12              Q     How does your prototype prevent the hacks
13      from even occurring?
14                    Again, I'm not talking about whether they
15      have an impact because of voter verification.                       But
16      what is it about your prototype that would prevent
17      Dr. Halderman from even implementing the hack in
18      the first instance if he had access to the
19      equipment?
20              A     I haven't released that information yet,
21      and I don't know that it's pertinent to this case.
22                    Carey, is that something I have to
23      reveal?
24              Q     It's fine.
25                    MR. MILLER:        David, I'll instruct him on

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1       privilege if you need to me to, but otherwise --
2                     MR. CROSS:        That's not a privilege issue.
3       I don't think an instruction would be proper because
4       there's no privilege issue.
5               Q     But I'm not going to ask you to disclose
6       it, Dr. Gilbert.
7                     Just so I understand, are you saying that
8       you have in development right now with your
9       prototype some measures that you believe would
10      prevent someone like Dr. Halderman from even
11      implementing on that prototype the sort of hacks
12      that he's identified in his sealed report?                      Is that
13      fair?
14              A     That's fair.
15              Q     Okay.     But those measures are still under
16      development; do I understand that right?
17              A     Yes.     I need to implement them into a
18      hardware.      And once I have that done, then I'm ready
19      to go public.
20                    And Dr. Halderman, Dr. Appel, I have a
21      list of people who I'm going to reach out to first
22      and make sure they're aware.
23                    And I'm planning to offer, in particular,
24      Dr. Halderman to send him a machine and let him hack
25      it and have him send it back, and we will do an

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1       experiment to see if he can hack it, and if we can
2       determine if he hacked it and if we can correct it.
3       We will document the whole process.
4               Q     Do you believe that other makers of
5       election equipment like Dominion should subject
6       their voting equipment to a similar robust testing
7       as you've just described for yours?
8                     MR. MILLER:        Objection.        Relevance.
9                     THE WITNESS:         I don't know that they can.
10      I'm not a vendor.          Therefore, I'm working in a
11      totally different space where I can do things --
12      and I don't know what this means for people like
13      that.
14                    For example, if I send Dr. Halderman my
15      technology and he's successful, I don't lose
16      anything.      It's not -- you know, I go back to the
17      drawing board and start over.                I don't know if the
18      implications are the same for a vendor.
19                    So it's a different thing.                I have a
20      different level of freedom to be able to do these
21      things.
22      BY MR. CROSS:
23              Q     Because you don't have a commercial
24      interest in the product, you mean?
25              A     Yes.     I'm not a -- yeah.            Again, I'm not a

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1       vendor.
2                     And remember, when I first did this, it
3       was open source so anyone could have it.                     It was
4       free.
5                     MR. CROSS:        I do not have any further
6       questions for you, Dr. Gilbert, and I appreciate
7       your time.
8                     THE WITNESS:         Thank you.
9                     MR. MILLER:        Before we go off the record,
10      I'm just going to reserve signature for Dr. Gilbert.
11      I'm not going to ask questions here today.
12                    THE REPORTER:         Before we go off, this is
13      the reporter --
14                    MR. CROSS:        I think we're done.            Thank you
15      again, Dr. Gilbert.
16                    MR. MILLER:        I think our court reporter is
17      speaking to us.
18                    THE REPORTER:         I'm sorry.        Mr. Miller, a
19      copy of the transcript?
20                    MR. MILLER:        Yes, please.         Rough when it's
21      available.       And then a week or so on the final, if
22      that's all right.
23                    THE REPORTER:         Okay.      And Mr. Lowman, a
24      copy for you?
25                    MR. LOWMAN:        Yes.     We do not need a rough,

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1       though.
2                     THE REPORTER:         Okay.      Thank you.       Did you
3       want your copy rushed, or is the regular --
4                     MR. LOWMAN:        No.
5                     MR. CROSS:        Carla, do you want to go off
6       the video?
7                     THE REPORTER:         Sure.      That's fine.
8                     THE VIDEO OPERATOR:            Okay.      Going off the
9       record on October 29th, 2021, at 5:31 p.m. Eastern
10      Time.
11                          (TIME NOTED:         5:31 p.m.)
12                                      --o0o--
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1      Carey Miller, Esquire

2      carey.miller@robbinsfirm.com

3                                     November 5, 2021

4      RE:       Curling, Donna       v. Raffensperger, Brad

5            10/29/2021, Juan Gilbert, Ph.D. (#4871592)

6            The above-referenced transcript is available for

7      review.

8            Within the applicable timeframe, the witness should

9      read the testimony to verify its accuracy. If there are

10     any changes, the witness should note those with the

11     reason, on the attached Errata Sheet.

12           The witness should sign the Acknowledgment of

13     Deponent and Errata and return to the deposing attorney.

14     Copies should be sent to all counsel, and to Veritext at

15     erratas-cs@veritext.com

16

17      Return completed errata within 30 days from

18   receipt of transcript.

19       If the witness fails to do so within the time

20   allotted, the transcript may be used as if signed.

21

22                         Yours,

23                         Veritext Legal Solutions

24

25

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2      Juan Gilbert, Ph.D. (#4871592)
3                              E R R A T A         S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
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23     ________________________________                   _______________
24     Juan Gilbert, Ph.D.                                      Date
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1      Curling, Donna      v. Raffensperger, Brad

2      Juan Gilbert, Ph.D. (#4871592)

3                        ACKNOWLEDGEMENT OF DEPONENT

4          I, Juan Gilbert, Ph.D., do hereby declare that I

5      have read the foregoing transcript, I have made any

6      corrections, additions, or changes I deemed necessary as

7      noted above to be appended hereto, and that the same is

8      a true, correct and complete transcript of the testimony

9      given by me.

10

11     ______________________________              ________________

12     Juan Gilbert, Ph.D.                               Date

13     *If notary is required

14                           SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                           ______ DAY OF ________________, 20___.

16

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18                           __________________________

19                           NOTARY PUBLIC

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